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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


COALITION FOR GOOD
GOVERNANCE, ADAM SHIRLEY,
ERNESTINE THOMAS-CLARK,
ANTWAN LANG, PATRICIA
PULLAR, JUDY MCNICHOLS,
JACKSON COUNTY DEMOCRATIC
COMMITTEE, GEORGIA
ADVANCING PROGRESS
POLITICAL ACTION COMMITTEE,
RYAN GRAHAM, RHONDA
MARTIN, JEANNE DUFORT,
AILEEN NAKAMURA, ELIZABETH
THROOP, and BRADLEY
FRIEDMAN,

Plaintiffs,                                 Civil Action No. 21-cv-02070-JPB

v.

BRIAN KEMP, in his official capacity
as Governor of the State of Georgia,
BRAD RAFFENSPERGER, in his
official capacities as Secretary of State
and member of the Georgia State
Elections Board, REBECCA N.
SULLIVAN, ANH LE, MATTHEW
MASHBURN, and SARA GHAZAL, in
their respective official capacities as
members of the Georgia State Election
Board,

Defendants.


                         AMENDED COMPLAINT
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      This Amended Complaint is filed as a matter of right before any responsive

pleading has been filed. See Fed. R. Civ. P. 15(a); Miller v. R. L. Conway, 331 F.

App’x 664, 665 (11th Cir. 2009). The only changes that this Amended Complaint

makes to the Complaint are as follows: Governor Kemp is added as a defendant;

Sarah Ghazal is substituted as a defendant for David Worley; the references to the

Estimating Bans, defined below, are changed to include O.C.G.A. § 21-2-

386(a)(2)(A); incorrect paragraph numbering after original page number 98 are

corrected; and minor typographical errors are corrected.

I.    INTRODUCTION


             When we consider the nature and the theory of our
             institutions of government, the principles upon which
             they are supposed to rest, and review the history of their
             development, we are constrained to conclude that they do
             not mean to leave room for the play and action of purely
             personal and arbitrary power.

Yick Wo v. Hopkins, 118 U.S. 356, 369–70 (1886).

      This civil action, brought to obtain prospective declaratory and injunctive

relief, seeks the aid of this Court to restore the sovereignty of the people of

Georgia over their own elections. With the adoption of Senate Bill 202 (Act 9), the

government of the State of Georgia has not only imposed burdens on the

constitutional rights of individual voters, but it has also subordinated a previously

accountable system of election administration by local officials to the arbitrary



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powers of a single state agency, the State Election Board (the “SEB”)—an agency

that is both newly empowered to intervene in and take over the local conduct of

elections and (what is worse) newly insulated, by statutory design, from any

effective external source of timely oversight capable of constraining its abuses.

      Liberty requires at least three essential things—an unfettered right to vote,

freedom of speech, and the meaningful separation of powers. This lawsuit is

necessary to preserve individual constitutional rights, and constitutional

government, against the attacks that SB202 makes on these three pillars of liberty.

First, the right to vote has long been recognized as a fundamental political right

because voting is “preservative of all rights.” Id. at 370. Voting is a civil right

whose exercise excuses the coercion that is inherent in all governance by granting

to government the legitimacy of being a true agent of the people, selected by the

people, “by whom and for whom all government exists and acts.” Id. Voting also

serves as the most reliable mechanism for checking and reversing abuses by

government and for imposing accountability.

      But voting does not occur in a vacuum. Elections are organized events that

permit the right to vote to be exercised within “reasonable and uniform regulations,

in regard to the time and mode of exercising that right, which are designed to

secure and facilitate the exercise of such right, in a prompt, orderly, and convenient

manner.” Id. at 371. When the administration of elections is made susceptible to



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arbitrary and unaccountable intrusions that can be accomplished by the State

Election Board without it according any of the constitutionally required minima of

procedural due process, the individual right to vote is degraded and the legitimacy

of the government that elections produce is inevitably diminished. Senate Bill 202

imposes unjustified—and constitutionally unjustifiable—burdens on voters’ right

to vote, and on local officials’ rights to procedural due process, that must be

enjoined.

      Second, the freedom of speech is not only is an individual liberty, but also

an essential requirement for any system of elections that is designed to produce a

government that represents the people and purports to operate with the consent of

the governed.

             Whatever differences may exist about interpretations of
             the First Amendment, there is practically universal
             agreement that a major purpose of that Amendment was
             to protect the free discussion of governmental affairs.
             This of course includes discussions of candidates,
             structures and forms of government, the manner in which
             government is operated or should be operated, and all
             such matters relating to political processes.

Mills v. Alabama, 384 U.S. 214, 218–19 (1966). Senate Bill 202 burdens activities

protected by the First Amendment freedoms of speech and association with the

specter of potential criminal prosecution in ways that cannot be justified. “It is not

merely the sporadic abuse of power by the censor but the pervasive threat inherent

in its very existence that constitutes the danger to freedom of discussion.”


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Thornhill v. Alabama, 310 U.S. 88, 97 (1940). These burdens must not be allowed

to stand if the individual rights of the plaintiffs, and of other Georgians, are to be

respected and if Georgia’s elections are to be called fair and free.

      Finally, the essential role of separation of powers in protecting the people’s

sovereignty over their government has been recognized since the founding of the

Nation. As James Madison noted in Federalist No. 51,

             In framing a government which is to be administered by
             men over men, the great difficulty lies in this: you must
             first enable the government to control the governed; and
             in the next place oblige it to control itself. A dependence
             on the people is, no doubt, the primary control on the
             government; but experience has taught mankind the
             necessity of auxiliary precautions.

Madison further observed that, “[T]he great security against a gradual

concentration of the several powers in the same department, consists in giving to

those who administer each department the necessary constitutional means and

personal motives to resist encroachments of the others.”

      In Georgia, in the context of elections, the separation of powers has, until

now, been manifested in the local control of elections and in state constitutional

prohibitions on a single body simultaneously exercising more than one of the

legislative, judicial, and executive powers. Ga. Const. Art. I, § II, Para. III. Senate

Bill 202 destroys these components of the State’s regime of separated powers by

eliminating them as safeguards for the administration of Georgia’s elections. The



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offensive provisions of the law that accomplish this destruction of the

constitutional order must be enjoined to preserve accountability and transparency

in Georgia’s elections.

      Specifically, the following provisions of SB202 are challenged in this action

and require relief from this Court:

   • Provisions of SB202 that allow the SEB to remove county boards of

      elections and to take complete control of county election management by

      appointing an individual superintendent selected by the SEB. These

      “Takeover Provisions” are being challenged because (a) per COUNT I, they

      violate the Plaintiff Board Members’ procedural due process rights under the

      Fourteenth Amendment, (b) per COUNT II, they violate the Separation of

      Powers Clause of the Georgia Constitution and the Georgia Constitution’s

      requirement that the General Assembly provide by law for the registration of

      all eligible voters, and hence constitute a violation of the Due Process Clause

      of the Fourteenth Amendment, and (c) per COUNT III, they constitute a

      burden on voting that is not justified by any sufficiently weighty government

      interest in violation of the Due Process Clause of the Fourteenth

      Amendment;

   • O.C.G.A. § 21-2-568.1 (the “Elector Observation Felony”) which makes it a

      felony to “intentionally observe an elector while casting a ballot in a manner


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   that would allow such person to see for whom or what the elector is voting.”

   This provision violates the Due Process Clause of the Fourteenth

   Amendment because (a) per COUNT IV, it is void for vagueness, (b) per

   COUNT V, it constitutes a burden on voting that is not justified by any

   sufficiently weighty government interest, and (c) per COUNT VI, it

   constitutes unlawful intimidation in violation of 52 U.S.C. § 10307;

• The Gag Rule, O.C.G.A. § 21-2-386(a)(2)(B)(vii), which makes it a

   misdemeanor for “monitors and observers” to communicate, among other

   things, “any information that they see while monitoring the processing and

   scanning of absentee ballots.” Per COUNT VII, this provision violates the

   First Amendment by criminalizing constitutionally protected speech;

• The Estimating Bans, O.C.G.A. § 21-2-386(a)(2)(A) & (B)(vii), which make

   it a misdemeanor for “monitors and observers” to, among other things, tally,

   tabulate, estimate or attempt to tally, tabulate, or estimate any votes on the

   absentee ballots cast. Per COUNT VIII, this provision violates the Due

   Process Clause of the Fourteenth Amendment as it is void for vagueness;

• The Photography Ban, O.C.G.A. § 21-2-568.2 (2)(B), which makes it a

   misdemeanor to “[p]hotograph or record the face of an electronic ballot

   marker while a ballot is being voted or while an elector’s votes are displayed

   on such electronic market,” or to “[p]hotograph or record a voted ballot.”


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   This provision is being challenged because (a) per COUNT IX, it violates

   the First Amendment because it criminalizes constitutionally protected

   speech and (b) per COUNT X, it violates the Due Process Clause of the

   Fourteenth Amendment as void for vagueness;

• O.C.G.A. § 21-2-381(a)(1)(C)(i), the “Relaxed Voter ID Rule,” which

   changes the identification that voters must provide to be issued an absentee

   ballot from a verifiable signature to the voter’s name, date of birth, address,

   and voter’s Georgia driver’s license or identification number – all

   information that is publicly available. This provision is challenged because,

   per COUNT XI, the new identification requirements and relaxed security

   processes invite massive fraud and vote dilution as well as identity theft, and

   hence constitute a burden on the right to vote that is not justified by any

   sufficiently weighty government interest in violation of the Due Process

   Clause of the Fourteenth Amendment; and

• O.C.G.A. § 21-2-381(a)(1)(A), the “Impractical Application Deadline

   Provision,” which narrows the time within which a voter may apply for an

   absentee ballot to a period ranging only from 78 to 11 days prior to election

   day, rendering absentee voting impossible for many run-off elections, and

   restricts the actual application time further because there is currently no

   secure electronic transmission method as required by SB202. The


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       imposition of this deadline for obtaining an absentee ballot is being

       challenged (a) because, per COUNT XII, it constitutes a burden on the right

       to vote that is not justified by any sufficiently weighty government interest

       in violation of the Due Process Clause of the Fourteenth Amendment, and

       (b) because, per COUNTS XIII AND XIV, it treats identified classes of

       voters differently than other, similarly situated votes, and therefore

       constitutes a violation of the Equal Protection Clause of the Fourteenth

       Amendment.

       The foregoing offensive provisions of SB202 should and must be enjoined

by this Court individually and collectively to ensure that three essential pillars of

liberty—the fundamental right to vote, freedom of speech, association and press,

and separation of powers—together with the sovereignty of the people of Georgia

over their government, continue to be preserved in the State of Georgia.

II.    PARTIES

       A.     Plaintiffs


       1.     Plaintiffs include non-profit organizations, county election board

members, members of political parties, voters, election volunteers, advocates and

journalists. Each of the Plaintiffs is introduced below, with additional information

about each set forth in Part VI – Specific Allegations of Threatened Injury to

Plaintiffs.


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       2.    Plaintiff COALITION FOR GOOD GOVERNANCE (“CGG”) is a

non-profit corporation organized and existing under the laws of the State of

Colorado. Plaintiff CGG’s purpose is to preserve and advance the constitutional

liberties and individual civil rights of United States citizens, with an emphasis on

the civil rights of its members that are exercised through their participation in

public elections, and access to information about government activities through

public meetings and public records. Plaintiff CGG is a membership organization,

with a membership that consists of both individuals and other non-profit

organizations, residing in Georgia and other States.

       3.    Plaintiff ADAM SHIRLEY (“SHIRLEY”) is a resident of Athens-

Clarke County, Georgia, a member of the Athens-Clarke County Board of

Elections and Registration (the “Athens-Clarke County Board”), and a member of

CGG.

       4.    Plaintiff ANTWAN LANG (“LANG”) is a resident of Chatham

County, Georgia, a member of the Chatham County Board of Elections (the

“Chatham County Board”), and a member of CGG.

       5.    Plaintiff PATRICIA PULLAR (“PULLAR”) is a resident of Clayton

County, Georgia, a member of the Clayton County Board of Elections and

Registration (the “Clayton County Board”), and a member of CGG.




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       6.    Plaintiff ERNESTINE THOMAS-CLARK (“THOMAS-CLARK”) is

a resident of Coffee County, Georgia, and a member of the Board of Elections

and Registration of Coffee County (the “Coffee County Board”).

       7.    Plaintiff JUDY MCNICHOLS (“MCNICHOLS”) is a resident of

Jackson County, Georgia, a member of the Jackson County Board of Elections and

Voter Registration (the “Jackson County Board”), and a member of CGG.

       8.    Plaintiff JACKSON COUNTY DEMOCRATIC COMMITTEE

(“JCDC”) is a political party committee. Plaintiff JCDC nominates two members

for appointment to the Jackson County Board.

      9.     Plaintiff GEORGIA ADVANCING PROGRESS POLITICAL

ACTION COMMITTEE (“GAPPAC”) is a non-profit organization. Plaintiff

GAPPAC is a membership organization with the purpose of increasing the election

of Asian Americans and Pacific Islanders (“AAPI”) to public offices in Georgia and

advocating for the interests of AAPI voters.

       10.   Plaintiff RYAN GRAHAM (“GRAHAM”) is a resident of Fulton

County, Georgia. Plaintiff GRAHAM is Chair of the Libertarian Party of Georgia

(“LPG”).

       11.   Plaintiff RHONDA MARTIN (“MARTIN”) is a resident of Fulton

County, Georgia. Plaintiff MARTIN, a frequent poll watcher and mail ballot

monitor, is on the Board of CGG.



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      12.    Plaintiff JEANNE DUFORT (“DUFORT”) is a resident of Morgan

County, Georgia, a Vice-Chair of the Morgan County Democratic Committee

(“MCDC”), and a member of CGG. Plaintiff DUFORT is a frequent poll watcher,

mail ballot monitor, and vote review panelist.

      13.    Plaintiff AILEEN NAKAMURA (“NAKAMURA”) is a resident of

Fulton County, Georgia. Plaintiff NAKAMURA, a frequent poll watcher, is a

member of CGG and GAPPAC.

      14.    Plaintiff ELIZABETH THROOP (“THROOP”) is a resident of

DeKalb County, Georgia. Plaintiff THROOP, a frequent poll watcher and mail

ballot monitor, is a member of CGG.

      15.    Plaintiff BRADLEY FRIEDMAN (“FRIEDMAN”) is a radio

broadcaster, journalist, and blogger, and has reported on Georgia election integrity

and election security hundreds of times over the last almost twenty years. Plaintiff

FRIEDMAN publishes his blog, BradBlog.com (“The BRAD BLOG”), and hosts

his weekday nationally syndicated radio show, “The BradCast.”

      B.     Defendants—Members of the State Election Board

                   Voting Members of the State Election Board

      16.    Defendants SARAH GHAZAL, REBECCA N. SULLIVAN, ANH

LE, and MATTHEW MASHBURN are sued for prospective declaratory and

injunctive relief in their official capacities as voting members of Georgia’s State



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Election Board (the “SEB”). At the appropriate time, Plaintiffs will join as a

defendant the yet-unappointed Chair of Georgia’s State Election Board. Together

with any successors in office automatically substituted for any of them as

Defendants by operation of Fed. R. Civ. P. 25(d), Defendants GHAZAL,

SULLIVAN, LE, and MASHBURN are hereinafter collectively referred to as the

“SEB Voting Members.”

      17.    The SEB Voting Members collectively exercise the power vested in

the SEB to enforce compliance with the Georgia Election Code, including the

unconstitutional takeover provisions of SB202 that are challenged in this lawsuit.

See O.C.G.A. §§ 21-2-33.1, -32.

                    Governor Brian Kemp

      18.    Defendant BRIAN KEMP is the Governor of the State of Georgia.

Defendant KEMP is responsible for law enforcement in Georgia and has the chief

executive power of the state, Ga. Const. Art. 5, § 2. Defendant KEMP signed the

challenged statutes into law on March 25, 2021. Defendant KEMP, including any

successor in office automatically substituted for him as a defendant by operation of

Fed. R. Civ. P. 25(d), is sued in his official capacity as Governor.

                    Secretary of State Brad Raffensperger

      19.    Defendant BRAD RAFFENSPERGER (“RAFFENSPERGER”) is

Georgia’s Secretary of State. RAFFENSPERGER, including any successor in



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office automatically substituted for him as a Defendant by operation of Fed. R.

Civ. P. 25(d), is sued in his official capacities as Secretary of State and as a non-

voting member of the SEB for prospective declaratory and injunctive relief.

       20.   As Secretary of State, Defendant RAFFENSPERGER is a non-voting,

ex officio member of the SEB, O.C.G.A. § 21–2–30(d) (2021), and “shall, upon

request of the State Election Board, provide any and all necessary support and

assistance that the State Election Board, in its sole discretion, determines is

necessary to enforce [the Georgia Election Code] or to carry out or conduct any of

its duties,” O.C.G.A. § 21–2–33.1(h) (2021).

III.   JURISDICTION AND VENUE

       21.   Plaintiffs bring this action under 42 U.S.C. §§ 1983 and 1988 to

redress threatened deprivations, under color of state law, of rights secured by the

United States Constitution.

       22.   This Court has subject-matter jurisdiction over each of the prospective

claims for declaratory and injunctive relief raised in this action pursuant to 28

U.S.C. § 1331 (federal question jurisdiction), § 1343 (jurisdiction over civil rights

actions), § 1367 (supplemental jurisdiction), § 2201 (jurisdiction to grant

declaratory relief) and § 2202 (jurisdiction to grant relief ancillary to declaratory

judgment).




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       23.    Venue lies in the Northern District of Georgia pursuant to 28 U.S.C.

§ 1391(b) because multiple defendants reside in this judicial district and all

defendants are residents of Georgia and a substantial part of the events or

omissions giving rise to the Plaintiffs’ claims occurred or are threatened to occur in

this judicial district.

IV.    APPLICABLE LAW

       A.     United States Constitution

                      Due Process Clause

       24.    The Due Process Clause of the Fourteenth Amendment to the United

States Constitution provides that no State shall “deprive any person of life, liberty,

or property, without due process of law.”

                           Substantive Due Process / Fundamental Right to Vote

       25.    Fundamental rights such as the right to vote may not be unjustifiably

burdened or undermined without violating the substantive protections of the Due

Process Clause.

       26.    The right of all eligible citizens to vote in public elections is a

fundamental right of individuals.

       27.    “[S]tate laws and patterns of state action that systematically deny

equality in voting,” Burton v. Georgia, 953 F.2d 1266, 1269 (11th Cir. 1992), and

“state laws whose very design infringes on the rights of voters,” Curry v. Baker,

802 F.2d 1302, 1314 (11th Cir. 1986), violate substantive due process.

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      28.    In addition, “episodic events that, despite non-discriminatory laws

may result in the dilution of an individual’s vote” and which “go well beyond the

ordinary dispute over the counting and marking of ballots” also violate substantive

due process “if the election process itself reaches the point of patent and

fundamental unfairness.” Curry v. Baker, 802 F.2d 1302, 1314 (11th Cir. 1986).

      29.    Conditioning the right to vote on a voter’s consent to public disclosure

of sensitive personal information, i.e. “to consent to the possibility of a profound

invasion of privacy when exercising the fundamental right to vote,” substantially

burdens the fundamental right to vote in violation of substantive due process.

Greidinger v. Davis, 988 F.2d 1344, 1354 (4th Cir. 1993).

                          Substantive Due Process / Violation of State Law

      30.    Violations of state statutory or constitutional law implicating the very

integrity of the electoral process constitute a denial of substantive due process

under the Fourteenth Amendment to the U.S. Constitution. Gonzalez v. Governor

of Georgia, 978 F.3d 1266, 1271 (11th Cir. 2020); Duncan v. Poythress, 657 F.2d

691 (5th Cir. 1981).

                          Procedural Due Process

      31.    The Due Process Clause also protects individuals against the

deprivation or abrogation by a State of underlying substantive liberty and property




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interests without the use of procedures that satisfy “constitutionally mandated due

process minima.” McKinney v. Pate, 20 F.3d 1550, 1561 (11th Cir. 1994).

      32.    The liberty protected by the Fourteenth Amendment’s Due Process

Clause encompasses:

             the right of the individual to contract, to engage in any of
             the common occupations of life, to acquire useful
             knowledge, to marry, establish a home and bring up
             children, to worship God according to the dictates of his
             own conscience, and generally to enjoy those privileges
             long recognized at common law as essential to the
             orderly pursuit of happiness by free men.

Meyer v. Nebraska, 262 U.S. 390, 399 (1923). The right to seek a public office—

and to hold that office, once it has been obtained—is such a liberty interest. Becton

v. Thomas, 48 F. Supp. 2d 747, 757 (W.D. Tenn. 1999).

      33.    “The fundamental requirement of due process is the opportunity to be

heard and it is an ‘opportunity which must be granted at a meaningful time and in a

meaningful manner.’” Parratt v. Taylor, 451 U.S. 527, 540 (1981).

      34.    “It is axiomatic that, in general, the Constitution requires that the state

provide fair procedures and an impartial decisionmaker before infringing on a

person's interest in life, liberty, or property.” McKinney v. Pate, 20 F.3d 1550,

1561 (11th Cir. 1994).

      35.    Predeprivation procedures are fair for purposes of the Due Process

Clause if they “require predeprivation notice and hearing in order to serve as a



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check on the possibility that a wrongful deprivation would occur.” Parratt v.

Taylor, 451 U.S. at 538.

      36.    Where adequate predeprivation process is impossible or impracticable

for a State to provide, procedural due process may instead be satisfied by the State

affording individuals a postdeprivation “means of redress for property deprivations

satisfying the requirements of procedural due process.” Parratt v. Taylor, 451 U.S.

at 537.

      37.    The Fifth Amendment’s guarantee of procedural due process also

protects against laws that are “so vague that [the law] fails to give ordinary people

fair notice of the conduct it punishes, or so standardless that it invites arbitrary

enforcement.” United States v. Matchett, 837 F.3d 1118, 1140 (11th Cir. 2016)

(citing Johnson v. United States, 576 U.S. 591, 595 (2015)).

                           Due Process – Criminal Laws Void for Vagueness

      38.    Under the Due Process Clause of the Fourteenth Amendment, a state

penal statute must “define the criminal offense with sufficient definiteness that

ordinary people can understand what conduct is prohibited and in a manner that

does not encourage arbitrary and discriminatory enforcement.” Kolender v.

Lawson, 461 U.S. 352 (1983). “Where the legislature fails to provide such

minimal guidelines, a criminal statute may permit ‘a standardless sweep [that]




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allows policemen, prosecutors, and juries to pursue their personal predilections.’”

Id. (citation omitted).


                    Equal Protection Clause

      39.    The Equal Protection Clause of the Fourteenth Amendment to the

United States Constitution provides that, “[N]or shall any State . . . deny to any

person within its jurisdiction the equal protection of the laws.” U.S. Const.

Amend. XIV.

      40.    “The right to vote is protected in more than the initial allocation of the

franchise. Equal protection applies as well to the manner of its exercise. Having

once granted the right to vote on equal terms, the State may not, by later arbitrary

and disparate treatment, value one person’s vote over that of another.” Bush v.

Gore, 531 U.S. 98, 104-05 (2000).

      41.     The Equal Protection Clause is violated when similarly situated

people are treated differently without constitutionally adequate justification.

                    First Amendment

      42.    The First Amendment to the United States Constitution provides that,

“Congress shall make no law . . . abridging the freedom of speech . . . or the right

of the people . . . to petition the government for a redress of grievances.” U.S.

Const. Amend. I.




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                          Freedom of Speech and of the Press

      43.    To be constitutional, legislative restrictions on speech that “depend on

what is said” are “content-based restrictions” that “receive strict scrutiny” and must

be “narrowly tailored to serve compelling state interests.” Otto v. City of Boca

Raton, 981 F.3d 854, 861 (11th Cir. 2020). “Laws or regulations almost never

survive this demanding test . . . . Forbidding the government from choosing

favored and disfavored messages is at the core of the First Amendment's free-

speech guarantee.” Id. at 862.

      44.    “The freedom of speech and of the press guaranteed by the

Constitution embraces at the least the liberty to discuss publicly and truthfully all

matters of public concern without previous restraint or fear of

subsequent punishment.” Thornhill, 310 U.S. at 101–02.

                          Right to Petition the Government

      45.    “The First Amendment right to petition the government for a redress

of grievances includes a right of access to the courts.” DeMartini v. Town of Gulf

Stream, 942 F.3d 1277, 1288 (11th Cir. 2019); see also Bill Johnson’s Rests. v.

NLRB, 461 U.S. 731, 741 (1983).

      46.    Interfering with a person’s freedom to invoke the judicial process

violates the right of access to the courts. Robles v. Kane, 550 F. App'x 784, 787

(11th Cir. 2013).



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      B.    Federal Laws Providing Causes of Action

                    42 U.S.C. § 1983

      47.   Section 1983 provides in pertinent part that,

            Every person who, under color of any statute, ordinance,
            regulation, custom, or usage, of any State or Territory or
            the District of Columbia, subjects, or causes to be
            subjected, any citizen of the United States or other person
            within the jurisdiction thereof to the deprivation of any
            rights, privileges, or immunities secured by the
            Constitution and laws, shall be liable to the party injured
            in an action at law, suit in equity, or other proper
            proceeding for redress[.]

42 U.S.C. § 1983.

                    Voting Rights Act, 52 U.S.C. § 10307

      48.   Section 10307 provides:

            No person, whether acting under color of law or
            otherwise, shall intimidate, threaten, or coerce, or attempt
            to intimidate, threaten, or coerce any person for voting or
            attempting to vote. . . .


52 U.S.C. §10307.

                    Federal Declaratory Judgment Act, 28 U.S.C. § 2201

      49.   The Declaratory Judgment Act provides in pertinent part that,

            In a case of actual controversy within its jurisdiction, . . .
            any court of the United States, upon the filing of an
            appropriate pleading, may declare the rights and other
            legal relations of any interested party seeking such
            declaration, whether or not further relief is or could be
            sought. Any such declaration shall have the force and



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             effect of a final judgment or decree and shall be
             reviewable as such.

28 U.S.C. § 2201(a).

      C.     Georgia Constitution

      50.    The Georgia Constitution provides that, “Legislative acts in violation

of [the Georgia] Constitution or the Constitution of the United States are void, and

the judiciary shall so declare them.” Ga. Const. Art. I. § II, Para. V (2021).

                    Georgia’s Requirement of Absolute Ballot Secrecy

      51.     The Georgia Constitution provides: “Elections by the people shall be

by secret ballot.” Ga. Const. Art. II, § I, Para. 1.

                    Georgia’s Guarantee of Right to the Courts

      52.    The Georgia Constitution provides that, “No person shall be deprived

of the right to prosecute or defend, either in person or by an attorney, that person's

own cause in any of the courts of this state.” Ga. Const. Art. I, § I, Para. XII.

                    Separation of Powers

      53.    The Georgia Constitution provides that, “The legislative, judicial, and

executive powers shall forever remain separate and distinct; and no person

discharging the duties of one shall at the same time exercise the functions of either

of the others except as herein provided.” Ga. Const. Art. I, § II, Para. III.

      54.    “A statute will be held unconstitutional as an improper delegation of

legislative power if it is incomplete as legislation and authorizes an executive



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board to decide what shall and what shall not be an infringement of the law,

because any statute which leaves the authority to a ministerial officer to define the

thing to which the statute is to be applied is invalid.” Howell v. State, 237 Ga. 95,

95 (1976).

      D.        Georgia Election Code

                      Role of Superintendents

      55.       The General Assembly creates county boards of elections and boards

of election and registration by local Act. O.C.G.A. § 21–2–40. All such boards

must have at least three members. Id. Such boards conduct their duties in public

and operate under Georgia’s Open Meetings laws. O.C.G.A § 50-14-1.

      56.       Under the Georgia Election Code, elections in counties and

municipalities are conducted by “superintendents.” O.C.G.A § 21–2–70 to –77.

      57.       Under the Georgia Election Code, boards of registration conduct voter

registration and issue absentee ballots. O.C.G.A. §21-2-212. In most counties

(approximately 119), the duties of the election superintendent and the board of

registration are combined into one board with the duties of elections and

registration.

      58.       For counties, prior to the enactment of SB202, “superintendent”

meant, “Either the judge of the probate court of a county or the county board of

elections, the county board of elections and registration, the joint city-county board



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of elections, or the joint city-county board of elections and registration, if a county

has such.” O.C.G.A. § 21–2–2(35)(A) (2020).

      59.    Each board created by local Act to serve as a superintendent is an

authority created by state law and thus has a separate identity as an instrumentality

of the state and is a public corporation. See O.C.G.A. § 50–4–3(c).

      60.    For Georgia’s larger counties, a superintendent board typically

consists of a collection of individuals who are separately appointed to the board for

fixed terms by different stakeholders. The stakeholders typically include both

major political parties as well as the governing body of the county. In some

counties, a Superior Court judge must appoint one or more members of the county

board. The superintendent board is therefore generally not a creature of the

county’s elected governing authority.

      61.    In Athens-Clarke County, for example, the Board of Elections

consists of five individual board members, each of whom serves a four-year

term—one member appointed by the Athens-Clarke County Republican

Committee, one by the Athens-Clarke County Democratic Committee, and three

by the Athens-Clarke County Commission.1




1
 See Board of Elections Members, https://www.accgov.com/249/Board-of-
Elections-Members (last visited May 14, 2021).

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      62.       In Fulton County, the Fulton County Board of Registration and

Elections (“Fulton County Board”) consists of five individuals who are appointed

slightly differently: Republicans appoint two members, Democrats appoint two

members, and the Fulton County Board of Commissioners appoints one member,

who serves as the chair.

      63.       In Chatham County, the Chatham County Board of Elections

(“Chatham County Board”) consists of four elected members (two from each major

party), and the chair is appointed by the four elected members. The separate

Chatham County Board of Registrars, responsible for voter registration and

absentee ballot issuance, is a five-member non-partisan board nominated by a

grand jury and appointed by the Superior Court under O.C.G.A. § 21-2-212.

      64.       Boards of registrars conduct voter registration activities, update voter

records, accept and approve absentee ballot applications and issue absentee mail

ballots. As noted above, most counties combine the duties of registration and

election in a single board, while others (fewer than 40) maintain separate boards of

registration.

      65.       Georgia law does not provide a general mechanism to be used for the

removal of entire boards acting as election “superintendents” or registrars. Instead,

the local Acts that create these boards typically establish, on a jurisdiction-by-

jurisdiction basis, a mechanism for individual members of the board to be



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removed, generally only for cause, and after judicial review. For example, the

local Act establishing the Athens-Clarke County Board of Elections and

Registration provides that, “All members shall be subject to removal from the

board at any time for cause after notice and hearing, in the same manner and by the

same authority as provided for removal of registrars.” 1993 Ga. Act 216, § 5(c);

O.C.G.A. § 21–2–212(a) (member of the board of registration (“registrars”) can be

removed by a superior court judge “at any time for cause after notice and

hearing”). Similarly, the local Act establishing the Board of Elections and

Registration of Jackson County provides that, “Each member of the board . . . shall

be subject to removal from the board by the chief judge of the Superior Court of

Jackson County at any time, for cause, after notice and hearing.” 2011 Ga. Act 34,

§ 6. Elected Chatham County Board of Elections members can be removed only

for cause and after a jury trial. 1984 Ga. Law No. 1194 § 2(g) and O.C.G.A. 15-6-

82(c).

         66.   Both before and after the enactment of SB202, Georgia law provided

several ways for the SEB to compel superintendents to comply with the Georgia’s

Election Code, including by issuing orders, assessing fines, entering public

reprimands, requiring restitution, requiring superintendents and others to attend

training, and taxing a superintendents and others with the costs incurred by the

SEB as part of such enforcement actions. O.C.G.A. § 21–2–33.1(a) (2020).



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      67.    Where these measures are not sufficient, Georgia law also permits the

SEB to seek judicial relief against a superintendent in the superior court of any

county in which fraud or other illegal conduct has occurred or is likely to occur.

O.C.G.A. § 21–2–32(a) (2020). In such judicial actions brought or intervened in by

the SEB,

             If, in the opinion of the judge presiding over such cause,
             adequate relief cannot otherwise be granted to assure
             compliance with said laws, rules, and regulations, the
             judge may enter such order concerning the conduct of
             such election or primary which he or she shall deem
             necessary to assure compliance, including the right to
             require such election or primary to be held under the
             supervision of the State Election Board.

O.C.G.A. § 21–2–32(f) (2020).

                   Funding of Superintendents

      68.    Georgia law provides that,

             The governing authority of each county or municipality
             shall appropriate annually and from time to time, to the
             superintendent of such county or municipality, the funds
             that it shall deem necessary for the conduct of primaries
             and elections in such county or municipality and for the
             performance of his or her other duties under this
             chapter[.]

O.C.G.A. § 21–2–71.

                   Conduct of Absentee-by-Mail Voting—Pre-SB202

      69.    SB202 made changes to the Georgia Election Code’s provision

governing the conduct of absentee-by-mail voting.


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      70.      Prior to the enactment of SB202, Georgia voters could apply for an

absentee-by-mail ballot up to 180 days before the date of a primary, election, or

runoff, and no application deadline was specifically stated, having the effect of

permitting voters with unforeseen last-minute circumstances preventing them from

voting at the polling place to apply for absentee ballots. O.C.G.A. § 21–2–

381(a)(1)(A) (2020).

      71.      Prior to the enactment of SB202, a valid absentee ballot application

required “sufficient information for proper identification of the elector; the

permanent or temporary address of the elector to which the absentee ballot shall be

mailed; the identity of the primary, election, or runoff in which the elector wishes

to vote; and the name and relationship of the person requesting the ballot if other

than the elector” and the voter’s mark or signature. O.C.G.A. § 21–2–381(a)(1)(C)

(2020), (F).

      72.      Prior to the enactment of SB202, a voter’s eligibility to be issued an

absentee ballot required the registrar or absentee ballot clerk to compare “the

identifying information on the application with the information on file in the

registrar’s office and, if the application is signed by the elector, compare the

signature or mark of the elector on the application with the signature or mark of the

elector on the elector's voter registration card.” O.C.G.A. § 21–2–381(b)(1)

(2020). Prior to the enactment of SB202, absentee ballot applicants were not



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required to provide a Georgia driver license number or other state issued

identification number in combination with a full date of birth to be eligible to be

issued an absentee ballot, and the application was previously verified using the

voter’s individual signature or mark on file. Signatures are the long-accepted,

most secure standard for voter verification, used in at least 32 states, and three

more states require witness signatures.

      73.    Prior to the enactment of SB202, issued absentee ballots could be

mailed to voters by the registrars or absentee ballot clerk as late as two days prior

to election day. O.C.G.A. § 21–2–384(a)(2) (2020).

                    Conduct of In-Person Voting

      74.    Both before and after the enactment of SB202, Georgia law required

that the “equipment used for casting and counting votes in county, state, and

federal elections shall be the same in each county of this state and shall be

provided to each county by the state, as determined by the Secretary of State.”

O.C.G.A. § 21–2–300(a)(1) (2020). Electronic ballot marking devices are not

required for municipal elections.

      75.    The voting system furnished by the State must be “a uniform system

of electronic ballot markers and ballot scanners.” O.C.G.A. § 21–2–300(a)(3)

(2020).




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      76.    Such “electronic ballot marker” devices — or “BMDs”— are required

to be used by in-person voters on election day and by all absentee voters casting

their ballots in person prior to election day in county, state or federal elections.

O.C.G.A. § 21–2–300(a)(2) (2020); O.C.G.A. § 21–2–383(c) (2020).

      77.    O.C.G.A. § 21-2-379.22(5) provides: “No electronic ballot marker

shall be adopted or used” unless they “[p]ermit voting in absolute secrecy so that

no person can see or know any other elector’s votes.” Further, pursuant to

O.C.G.A. § 21-2-70(13), superintendents have a duty to “conduct all elections in

such manner as to guarantee the secrecy of the ballot.”

      78.    The BMDs chosen by the Secretary of State of Georgia and used

statewide are a model manufactured by Dominion Voting Systems. The system

includes a touchscreen that is so large that the electoral choices of any voter using

the BMD are plainly visible to any person with corrected eyesight within at least

twenty to thirty feet with a line of sight to the voting touchscreen, violating voters’

rights to vote in “absolute secrecy.” Because of the vulnerability of the BMD

system to hacking, and therefore the need for continual monitoring, curtains and

closed-door voting booths cannot be properly used as a privacy shield around

BMD voting stations. Wrap-around privacy shields provided by the Secretary of

State do not protect the secrecy of the voters’ choices.




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      79.      Figure 1 below is a true and correct copy of a photograph of voters

seen at a polling place at Varnell gymnasium on January 5, 2021, in Dalton,

Georgia, and typical of polling place setups across the state.




Figure 1. Dalton, Georgia

                    Georgia’s Open Meetings Act

      80.    Both before and after the enactment of SB202, superintendents were

“agencies” subject to the Georgia Open Meetings Act. O.C.G.A. § 50–14–1(a)(1)

(2020) (defining “agency” to mean, among other things, “Every . . . board, . . .

office, . . . or similar body of each such county, municipal corporation, or other

political subdivision of the state.”).

      81.    Agencies subject to the Open Meetings Law may only formulate,

present, discuss, or vote upon “any official business, policy, or public matter” at a


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“meeting,” which means “the gathering of a quorum of the governing body of an

agency” that is “open to the public” and that is held “after due notice of the

meeting and compliance with the posting and agenda requirements of this chapter.”

O.C.G.A. § 50–14–1(a)(3)(A) (2020), (b)(1).

      82.    “All votes at any meeting shall be taken in public after due notice of

the meeting and compliance with the posting and agenda requirements of this

chapter.” O.C.G.A. § 50–14–1(b)(1) (2020).

      83.    “Any resolution, rule, regulation, ordinance, or other official action of

an agency adopted, taken, or made at a meeting which is not open to the public as

required by [the Open Meetings Act] shall not be binding.” O.C.G.A. § 50–14–

1(b)(2) (2020).

      84.    “Any person who knowingly and willfully conduct[s] or participat[es]

in a meeting in violation of [the Open Meetings Act] shall be guilty of a

misdemeanor and upon conviction shall be punished by a fine not to exceed

$1,000.00.” O.C.G.A. § 50–14–6 (2020).

V.    GENERAL ALLEGATIONS

      A.     2020 Elections Prompted Legislative Backlash

      85.    SB202’s introductory Section 2 states that there was a loss of voter

confidence because of the manner in which 2020 elections were conducted,

prompting the enactment of the bill. Indeed, there may have been a loss of voter



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confidence resulting from end-to-end failures in election administrative processes,

from the State’s malfunctioning voter database and pollbooks to lapses in absentee

balloting protocols and voting system tabulation irregularities. Georgia’s 2020

election administration was heavily criticized in the press and remained a topic of

unflattering national headlines throughout most of the year.

      86.    However, rather than addressing the underlying systemic deficiencies

in election administration and the voting system, the General Assembly enacted

measures in SB202 to conceal ongoing problems, muzzling the press and poll

monitors by criminalizing long-accepted norms of citizen oversight of elections.

Further, the General Assembly granted powerful authority to the SEB to seize

unilateral partisan control of locally run election and voter registration

administrations and then authorizing these public functions, upon SEB takeover, to

be conducted behind closed doors.

      87.    Despite the proclamation of Section 2 (17) of SB202 that the new law

made “the changes required to Georgia’s election system to make it easy to vote

and hard to cheat,” widespread mail ballot fraud, never experienced in Georgia,

now becomes alarming easy. Yet, absentee mail ballot voting becomes impossible

for some voters because of excessively narrowed application deadlines. Most

alarming, however, is the severe curtailment of polling place voting that will be

caused by the intimidating prospect of voters being accused of a felony offense by



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merely glancing around the polling place when the touchscreen voting system is in

use. The challenged provisions have the opposite of the stated purpose; it is now

“hard to vote and easy to cheat” in Georgia.

      B.     Provisions of Georgia’s Senate Bill 202 Passed in 2021

      88.    On March 25, 2021, Governor Brian Kemp signed into law Senate

Bill 202 (Act 9) (“SB202”), which comprehensively revised the Georgia Election

Code. A true and correct copy of SB202, from Westlaw, is attached hereto as

Exhibit A.

                   SB202’s Election Takeover Provisions

      89.    SB202 empowers the State Election Board to “suspend2 county or

municipal superintendents and appoint an individual to serve as the temporary

superintendent in a jurisdiction.” O.C.G.A. 21–2–33.2(f) (2021). (As used herein,

the provisions that govern the SEB’s substitution of its own individual appointee as

a superintendent, or a board of registration, or a municipality’s superintendent, are

collectively referred to as SB202’s “Takeover Provisions.”)

      90.    SB202’s Takeover Provisions provide, in pertinent part, as follows:




2
  SB202 uses the terms “suspend” and “suspension,” O.C.G.A. §§ 21–2–33.2
(c),(e), as well as the term “removal,” which is used to describe the initial action
after a preliminary hearing, O.C.G.A. § 21–2-106(c), and the final removal of the
suspended superintendent, O.C.G.A. §§ 21–2–33.2(e).

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(a) The takeover of a local superintendent’s responsibilities by the SEB’s

   temporarily (or permanently) appointed individual superintendent is

   “extraordinary relief.” O.C.G.A. § 21–2–33.2(a) (2021).

Superintendent Removal Upon Petition and Performance Review

(b) The SEB may “pursue the extraordinary relief” of a takeover “following a

   recommendation based on an investigation by a performance review board.”

   O.C.G.A. § 21–2–33.2(a) (2021).

(c) Performance review board investigations occur either at the instigation of

   the SEB upon its own motion, O.C.G.A. § 21–2–107(a) (2021), or upon a

   request transmitted to the SEB by “the governing authority of the county or

   municipality, as applicable,” O.C.G.A. § 21–2–33.2(a) (2021), O.C.G.A. §

   21–2–106(a)(1) (2021), or by members of the jurisdiction’s state legislative

   delegation. O.C.G.A. § 21–2–106(a)(2)–(3) (2021).

(d) Following its investigation, a performance review board “shall issue a

   written report of its findings” that “shall include such evaluations,

   judgments, and recommendations as it deems appropriate.” O.C.G.A. §§

   21–2–106(b), –107(c) (2021).

   Superintendent Removal Upon SEB Motion

(e) The SEB may also “pursue the extraordinary relief” of a takeover “on its

   own motion.” O.C.G.A. § 21–2–33.2(a) (2021). This SEB action does not



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   require a performance review or even a new investigation. See O.C.G.A. §

   21–2–107(d) (“the findings of . . . any audit or investigation performed by the

   State Election Board may be grounds for removal of one or more local

   election officials pursuant to Code Section 21-2-33.2” (emphasis added).

(f) Once the SEB has moved itself to initiate takeover proceedings against a

   superintendent or received a petition from a performance review board

   recommending that the SEB do so, the SEB “shall conduct a preliminary

   investigation to determine if sufficient cause exists to proceed to a full

   hearing on the petition.” O.C.G.A. § 21–2–33.2(b) (2021).

(g) In the event that a petition for a performance review has been initiated by a

   third party via petition to the SEB, the SEB’s “preliminary investigation

   shall be followed by a preliminary hearing which shall take place not less

   than 30 days nor more than 90 days after the Secretary of State receives the

   petition.” O.C.G.A. § 21–2–33.2(b) (2021). There is no stated required

   notice period for a takeover action when initiated by the SEB.

(h) At the preliminary hearing, the SEB “shall determine if sufficient cause

   exists to proceed to a full hearing on the petition or if the petition should be

   dismissed.” O.C.G.A. § 21–2–33.2(b) (2021).

(i) “Following the preliminary hearing,” (but apparently without a “full

   hearing,” which the law mentions, id., but never provides for), the SEB



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       “may suspend a county or municipal superintendent if at least three members

       of the board find, after notice and hearing” that:

             (1) By a preponderance of the evidence, a county or
             municipal superintendent has committed at least three
             violations of this title or of State Election Board rules and
             regulations, in the last two general election cycles; and
             the county or municipal superintendent has not
             sufficiently remedied the violations; or

             (2) By clear and convincing evidence, the county or
             municipal superintendent has, for at least two elections
             within a two-year period, demonstrated nonfeasance,
             malfeasance, or gross negligence in the administration of
             the elections.

       O.C.G.A. § 21–2–33.2(c) (2021).

    (j) The SEB may rely on its own findings from “any audit or investigation,” it

       has conducted as grounds for removal of a “local election official.”

       O.C.G.A. § 21–2–107(d) and § 21-2-106(c)(emphasis added). Alternatively,

       instead of making its own findings under O.C.G.A. § 21–2–33.2(c), the SEB

       may simply rely upon the findings of a performance review board as

       “grounds for the removal” of “local election officials under Code Section

       21–2–33.2.” O.C.G.A. §§ 21–2–106(c), –107(d) (2021).3




3
 “Local election official” means a county board of elections or board of elections
and registration, a probate judge fulfilling the role of election superintendent, or a
municipal election superintendent. O.C.G.A. § 21–2–105 (2021).

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(k) “If the State Election Board makes a finding in accordance with” O.C.G.A. §

   21–2–33.2(c), then the SEB “may suspend the superintendent or board of

   registrars with pay and appoint an individual to serve as the temporary

   superintendent,” but there is no provision for the appointment of an

   individual to serve as the temporary board of registrars. O.C.G.A. § 21–2–

   33.2(e)(1)(2021).

(l) The individual appointed by the SEB need not possess the qualifications

   ordinarily required for an election superintendent. O.C.G.A. § 21–2–

   33.2(e)(1) (2021) (“The temporary superintendent who is appointed shall be

   otherwise qualified to serve or meet the necessary qualifications within three

   months of appointment.”).

(m)      The individual appointed by the SEB:

         shall exercise all the powers and duties of a
         superintendent as provided by law, including the
         authority to make all personnel decisions related to any
         employees of the jurisdiction who assist with carrying
         out the duties of the superintendent, including, but not
         limited to, the director of elections, the election
         supervisor, and all poll officers.

   O.C.G.A. § 21–2–33.1(f) (2021).

(n) “At no time shall the State Election Board suspend more than four county or

   municipal superintendents.” O.C.G.A. § 21–2–33.2(g) (2021).




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(o) Although SB202 refers in multiple places to the SEB’s appointee as the

   “temporary superintendent,” O.C.G.A. § 21–2–33.1(f) (2021), –33.2(e)(1), –

   33.2(e)(2), the law provides that, if the “suspended superintendent or

   registrar does not petition for reinstatement within the allotted time period,

   his or her suspension shall be converted into permanent removal,” at which

   point the “temporary superintendent shall become a permanent

   superintendent” by operation of law “subject to removal by the jurisdiction

   not less than nine months after his or her appointment.” O.C.G.A. § 21–2–

   33.2(e)(2)(2021).

(p) SB202 also implies that a mechanism exists for the “jurisdiction” to remove

   “the permanent superintendent” “after the expiration of the nine-month

   period following the appointment,” O.C.G.A. § 21–2–33.2(e)(3) (2021), but

   there is no “jurisdiction” that could exercise such and power and SB202

   creates no such mechanism.

(q) Moreover, no other provision of Georgia law establishes any process that

   could plausibly be invoked to remove an SEB-appointed superintendent.

   The existing provisions of law that address the removal of superintendent

   board members—i.e., the local Acts that preceded SB202—generally

   provide for removal only of individual members of a superintendent board,

   not the entire superintendent body itself, and these provisions further only



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      permit removals for cause, which is generally adjudicated by the superior

      court of the county.

   (r) SB202’s “permanent superintendent” thus appears to become literally a

      permanent superintendent if a suspended superintendent fails to achieve

      reinstatement, unless the SEB determines, “at any time after the expiration

      of the nine-month period following the appointment,” “that the jurisdiction

      no longer requires a superintendent appointed under this Code section,” in

      which case “any provisions of local or general law governing appointment of

      the superintendent shall govern the appointment of the superintendent.”

      O.C.G.A. § 21–2–33.2(e)(4) (2021).

   (s) The legal status of the “suspended board” is unclear given that the board is

      no longer the superintendent, and a suspended board has no authority in law

      to meet, make decisions, or to act.

                    SB202’s Election Takeover Provisions – Separately
                    Functioning Boards of Registration


      91.    As alleged above, some counties (like Chatham) have a board of

registration that is separate from the county’s board of election.

      92.    Unlike a board of election, or a combined board of election and

registration, a separate board of registration is not a “superintendent” under

Georgia law, O.C.G.A. § 21–2–2 (35) (2021), or a “local election official” under



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SB202. O.C.G.A. § 21–2–105 (2021). Thus, SB202 states that the SEB may

“suspend the superintendent or board of registrars.” O.C.G.A. § 21–2–33.2(e)

(2021) (emphasis added). Though SB202 explicitly allows for the removal of a

board of registrars, it does not provide for the replacement of the board of

registration with an appointee, as it does for the replacement of a “superintendent,”

leaving no one to perform a removed board of registration’s duties. Id.

      93.    The findings that the SEB must make to permit any suspension in the

first place apply only to superintendents. O.C.G.A. § 21–2–33.2(c) (2021).

Though SB202 gives the SEB the power to remove registrars, there are no

standards relating to registrars or their duties.

      94.    SB202 also makes no provision for the performance of duties or the

reinstatement of a board of registration that has been removed or suspended by the

SB202. Id.

                    SB202’s Superintendent-Reinstatement Provisions

      95.    SB202 provides that a “suspended superintendent” (but not a

suspended board of registration) may seek reinstatement as follows:

             Any superintendent suspended under this Code section
             may petition the State Election Board for reinstatement
             no earlier than 30 days following suspension and no later
             than 60 days following suspension. In the event that a
             suspended superintendent or registrar does not petition
             for reinstatement within the allotted time period, his or
             her suspension shall be converted into permanent
             removal, and the temporary superintendent shall become


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             a permanent superintendent subject to removal by the
             jurisdiction not less than nine months after his or her
             appointment.

O.C.G.A. § 21–2–33.2(e)(2) (2021).

      96.    If a suspended superintendent petition for reinstatement:

             the State Election Board shall conduct a hearing for the
             purpose of receiving evidence relative to whether the
             superintendent's continued service as superintendent is
             more likely than not to improve the ability of the
             jurisdiction to conduct elections in a manner that
             complies with this chapter.

O.C.G.A. § 21–2–33.2(f)(2021). When this provision is invoked, the

“superintendent” will be the SEB’s appointee. In other words, the standard for

reinstatement of a “suspended superintendent” looks not to the conduct of the

suspended superintendent while in office, but rather to the continued service of the

“superintendent,” which is the SEB’s appointee.

      97.    SB202 further provides that,

             The suspended superintendent shall be given at least 30
             days' notice prior to such hearing and such hearing shall
             be held no later than 90 days after the petition is filed in
             accordance with Chapter 13 of Title 50, the 'Georgia
             Administrative Procedure Act,' except that the State
             Election Board shall have the power to call witnesses and
             request documents on its own initiative.

O.C.G.A. § 21–2–33.2(f) (2021).

      98.    Finally, SB202 provides for judicial review of the SEB’s

reinstatement decision as follows,


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             If the State Election Board denies the petition, it shall be
             deemed a final agency decision under Chapter 13 of Title
             50, the ‘Georgia Administrative Procedure Act,’ and it
             may be appealed in a manner consistent with Code
             Section 50-13-19. The Attorney General or his or her
             designee shall represent the interests of the State Election
             Board in any such judicial review.

O.C.G.A. § 21–2–33.2(f) (2021).

      99.    Judicial review under the Georgia Administrative Procedure Act takes

place in the superior court, O.C.G.A. § 50–13–19(a)-(b). But judicial review will

be impossible as a practical matter, because the suspended board of elections will

no longer be able to function legally as a public body during its “suspension” or

after its “removal.” Further, as a non-natural corporate legal person, the suspended

superintendent may only appear through licensed legal counsel, O.C.G.A. § 15-

19-51(a)(1), which SB202 simultaneously frustrates by prohibiting the use of

public funds for litigation and also prohibiting superintendents from receiving

private funding.

                    SB202’s Restrictions on Superintendent Boards’ Access to
                    Counsel

      100. SB202 renders completely illusory any suspended superintendent

board’s or board of registration’s ability to contest its suspension, petition for

reinstatement, and appeal a denial of reinstatement by preventing corporate

superintendents and registrars from paying for or accepting donated services of

legal counsel.


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      101. SB202 prohibits any local government from expending “any public

funds for attorney fees or expenses of litigation relating to the proceedings initiated

pursuant to” the Takeover Provisions “except to the extent such fees and expenses

are incurred prior to and through the recommendation of the State Election Board

as provided in subsection (c) of this Code section[.]” O.C.G.A. § 21–2–33.2(g)

(2021).4 This language is confusing, at best, because O.C.G.A. § 21–2–33.2(c)

contains no reference to any “recommendation” of the SEB. The clear import of

SB202’s prohibition on a local government’s use of public funds for litigation

relating to proceedings initiated pursuant to the Takeover Provisions is to bar

counties and municipalities from paying for legal counsel to advise superintendents

or registrars about and actively litigate on behalf of superintendents and registrars

(or themselves) against an SEB “takeover” of a local election board.

      102. At the same time, SB202 also prohibits individual election board

members, pro bono attorneys, and outside organizations from paying for legal

work to oppose a SEB takeover by providing that, “No superintendent shall take or

accept any funding, grants, or gifts from any source other than from the governing

authority of the county or municipality, the State of Georgia, or the federal




4
  SB202 provides that nothing in this prohibition “shall be construed to prohibit an
insurance provider from covering attorneys’ fees or expenses of litigation under an
insurance policy.” O.C.G.A. § 21–2–33.2(g) (2021).

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government.” O.C.G.A. § 21–2–71(b) (2021). A similar SB202 provision bans

boards of registration from accepting such funding. O.C.G.A. §21-2-212(f) (2021)

      103. SB202 also prohibits counties and municipalities from using their

power of the purse to restrain or control the conduct of the SEB’s appointee. To

this end, SB202 provides that,

             When the State Election Board exercises its authority
             under subsection (f) of Code Section 21-2-33.1, the
             jurisdiction involved shall not diminish or reduce the
             funds already budgeted or appropriated by the
             jurisdiction pursuant to Code Section 21-2-71 and shall
             pay any necessary and reasonable funds over that
             amount, as determined by the temporary superintendent,
             to faithfully carry out their obligations under Code
             Section 21-2-70.

O.C.G.A. § 21–2–33.2(i) (2021).

                     SB202’s Criminalization of Observing an Elector While
                     Casting a Vote

      104. O.C.G.A. § 21–2–568.1 (2021), the Elector Observation Felony

provision, states:

             (a) Except while providing authorized assistance in
             voting under Code Section 21-2-409 and except for
             children authorized to be in the enclosed space under
             subsection (f) of Code Section 21-2-413, no person shall
             intentionally observe an elector while casting a ballot in a
             manner that would allow such person to see for whom or
             what the elector is voting.

             (b) Any person who violates the provisions of subsection
             (a) of this Code section shall be guilty of a felony.



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      105. Notably, long-standing Georgia law already makes it a felony to go

“into the voting compartment or voting machine booth while another is voting” or

to interfere “with any elector marking his or her ballot” or to disclose “to anyone

how another elector voted, without said elector’s consent.” O.C.G.A. § 21-2-568.

                   SB202’s Criminalization of Free Speech and Press

      106. SB202 also requires that the “processing and scanning of absentee

ballots” “shall be open to the view of the public,” O.C.G.A. § 21–2–386(a)(2)(B)

(2021), but then simultaneously prohibits “monitors and observers,” which would

include the press, under penalty of misdemeanor, O.C.G.A. § 21–2–598, from:

             (ii) Using or bringing into the room any photographic or other
             electronic monitoring or recording devices, cellular telephones, or
             computers;

             (vi) Tallying, tabulating, estimating, or attempting to
             tally, tabulate, or estimate, whether partial or otherwise,
             any of the votes on the absentee ballots cast; and

             (vii) Communicating any information that they see while
             monitoring the processing and scanning of the absentee
             ballots, whether intentionally or inadvertently, about any
             ballot, vote, or selection to anyone other than an election
             official who needs such information to lawfully carry out
             his or her official duties.

O.C.G.A. § 21–2–386(a)(2)(B) (2021). See also O.C.G.A. § 21–2–386(a)(2)(A)

(2021) (related estimating ban).




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          107. O.C.G.A. § 21–2–568.2 (2)(B) (2021) (the “Photography Ban”) also

criminalizes photography in certain ill-defined circumstances:

                (a) It shall be illegal for any person to use photographic
                or other electronic monitoring or recording devices,
                cameras, or cellular telephones, except as authorized by
                law, to:

                (1) Photograph or record the face of an electronic ballot
                marker while a ballot is being voted or while an elector’s
                votes are displayed on such electronic marker; or

                (2) Photograph or record a voted ballot.

                (b) Any person who violates subsection (a) of this Code
                section shall be guilty of a misdemeanor.


          108. The Photography Ban directly conflicts with another provision of

SB202, O.C.G.A. §50-18-71(k)(2021), which confirms that images of voted ballots

are public records under the Georgia Open Records Act. Thus, SB202 provides

that it is a crime to take a photograph of a document (an image of a voted ballot)

that is itself a public record under Georgia law.

          109. Figure 2 is a true and correct copy of a scanned, voted, hand-marked

absentee ballot and Figure 3 is a true and correct copy of a scanned, voted, BMD

ballot:




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Figure 2, Scanned Hand Marked Absentee Ballot Image




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Figure 3 Scanned BMD ballot

                    SB202’s Absentee Voter Identification Provisions (“Relaxed
                    Voter ID Rule”)

      110. Effective July 1, 2021, SB202 degrades the pre-existing identification

information that voters must provide to the government to be issued an absentee

ballot. The Relaxed Voter ID Rule, O.C.G.A. 21–2–381(a)(1)(C)(i) (2021),

mandates that the Secretary of State’s absentee-ballot request form “shall require

the elector to provide his or her name, date of birth, address as registered, address

where the elector wishes the ballot to be mailed, and the number of his or her

Georgia driver's license or identification card.”

      111. SB202 allows a registrar or absentee ballot clerk to “verify the

identity of the applicant” for an absentee ballot by comparing “the applicant’s



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name, date of birth, and number of his or her Georgia driver’s license or

identification card . . . on the application with the information on file in the

registrar’s office.” O.C.G.A. 21–2–381(b)(1) (2021).

      112. In the same bill section that added the Relaxed Voter ID Rule, SB202

eliminated the previous well-established requirements for a registrar or absentee

ballot clerk to verify the identity of the absentee ballot applicant by comparing the

signature or mark on the application with the signature or mark on the elector’s

voter registration card. See 2021 Ga. Act 9, SB202, lines 1063–65 (strikeouts).

      113. As a result of the Relaxed Voter ID Rule, any person who possesses a

voter’s name, birthdate, and driver license or identification card number, which are

easily available, can now submit a mailed or online application in the name of that

voter for an absentee ballot. The imposter applicant will be verified as that voter

based solely on the three items of information and will be issued the ballot that

belongs to that voter at whatever address the imposter specifies in the absentee

ballot request.

                    Shortened Period for Applying for Absentee Ballots
                    (“Impractical Application Deadline”)

      114. SB202 drastically shortens the period during which absentee-by-mail

ballots may be applied for. Under prior law, absentee ballots could be applied for

from 180 days before election day, with no specific application deadline. The

Impractical Application Deadline O.C.G.A. § 21–2–381(a)(1)(A) (2021), changed


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the law to provide a much narrower application window that opens only 78 days

prior to election day and that closes 11 days prior to election day.

      115. The shortened period for applications for absentee mail ballots creates

at least three categories of constitutional problems. First, voters who encounter

unforeseen emergencies within 11 days of Election Day will be disenfranchised

because there is no hardship waiver of the 11- day deadline. Examples of voters

who would be disenfranchised include voters who had serious accidents or

illnesses, were quarantined, bereaved, or called for National Guard duty,

emergency medical work, or unanticipated jury duty. The effective date of the

Impractical Application Deadline is July 1, 2021 and it will begin to disenfranchise

voters during the July 13, 2021 runoff elections.

      116. Second, runoffs for state offices are frequently determined and

announced on the same day as the Secretary of State’s deadline for certification of

the election, with such certification occurring 17 days after the election. O.C.G.A.

§21-2-499(b). Runoffs occur 28 days after Election Day, creating not even one day

to timely apply for an application for a ballot for a runoff announced on the

deadline for applying. Voters requiring absentee ballots will be disenfranchised by

the abbreviated deadline, beginning with the July 13 runoff elections.

      117. Third, to meet the 11-day deadline without submitting an application

by email, which must await the development of a secure transmission method as



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explained below, the voter must mail the application well ahead of the 11-day

deadline, causing an unnecessary burden on the voter, considerably reducing the

time available to apply for an absentee ballot.

      118. Virtually all other states have provisions for voters in such unforeseen

circumstances to obtain a mail ballot just as Governor Kemp did, indicating that

there is no compelling state interest in preventing voters in such circumstances

from voting.

      119.     Absentee ballot applications may be transmitted by voters to the

county registration officials in person or via electronic transmission, mail, or

facsimile. O.C.G.A §21-2-381(a)(1)(A). The General Assembly apparently

recognized the heightened risk of identity theft with the increased requirements of

transmitting extensive personal identifying information on the application and

required that the Secretary “develop a method to allow secure electronic

transmission of such form.” O.C.G.A. §21-2-381(a)(1)(C)(i).

      120. Although the provisions of the new ballot application procedures are

effective July 1, 2021, the development and implementation of a secure email or

other electronic transmission method of transmission are likely to require months

or years of development and implementation in 159 counties. Until then, the ballot

application time is significantly compressed as voters will need to mail or deliver

their applications in person to meet the 11-day deadline. Mailing the application



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could add several days to the voters’ application completion and submission date,

furthering the unreasonable burden on voters, particularly in the event of a runoff,

announced within about 11 or 12 days of the runoff election.

      C.     Context Within Which SB202 Takes Effect And Will Be Applied
             To Plaintiffs

      121. The recent history of Georgia elections present circumstances that

render the provisions of SB202 that are challenged herein unconstitutional as those

provisions will be applied to certain of the Plaintiffs.

                    Georgia’s Oversized Dominion BMD Touchscreens
                    Unavoidably Compromise Ballot Secrecy

      122. In April 2019, Georgia enacted HB316, a law that mandated the

adoption and implementation of a new uniform statewide voting system using

electronic touchscreen ballot marking devices (“BMDs”). HB316 also required that

BMDs provide “absolute secrecy” in voting. O.C.G.A. §21-2-379.22.

      123. The oversized Dominion BMD touchscreen displays voter selections

in such a way that they are clearly discernible to a person with normal vision who

has a line of sight to the screen from any distance at which other people are likely

to be located within a polling place. See Figures 4, 5 and 6, infra.

      124. Use of the Dominion BMD touchscreens in polling places after their

late 2019 adoption quickly demonstrated that the giant touchscreens destroy the

privacy of the voting experience for voters who use BMDs because those voters’



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electoral choices are clearly visible to election workers, poll watchers, the press,

public observers, and other voters in the polling place

      125. Recognizing the problem, the Secretary of State published

illustrations for how election workers should set up polling places to attempt to

decrease privacy violations. However, the Secretary’s illustrations proved to be

incapable of solving the problem caused by the giant BMD touchscreens and have

failed to preserve ballot secrecy for voters using the BMDs for in-person voting.

      126. More traditional methods for protecting secrecy of the ballot for BMD

voters, such as booths and privacy screens, cannot be used because of the

technological vulnerabilities of the Dominion BMD voting system. Booths and

privacy shields cannot be used, for example, because the machines have been

shown in litigation to be vulnerable to hacking exploits that can be accomplished

through the simple act of a surreptitious insertion of a USB stick into an open USB

port, either on the BMD or on its attached printer, during the act of voting. To

guard against this known vulnerability, the BMDs must remain fully visible to

election workers at all times to prevent the voting equipment from being

compromised. In fact, poll workers are required under Georgia’s election code to

monitor the machines for tampering, which requires watching the activity at the

machines. State Election Board Rule 183-1-12-.11(4).




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      127. During legislative hearings Senator Michael Dugan, a co-sponsor of

SB202, acknowledged that the large touchscreens violated voting privacy, but also

made clear his approval of making the observation of such displays a felony.5

      128. Not only will the loss of ballot secrecy have a chilling effect on voting

participation, but SB202 threatens voters and observers at the polling places with

being subjected arbitrarily to a felony charge for “intentionally observing” a

voter’s touchscreen display of votes, although the observation may be unavoidable.

                   Georgia’s Recent History of Voter Data Security Breaches

      129. From at the early 2000’s until at least December 31, 2017, the Center

for Election Services (“CES”) was housed at Kennesaw State University to

assisting the Secretary of State with managing Georgia’s election system. CES was

moved to the Secretary of State’s office in 2018.

      130. Acting under contract as the Secretary of State’s agents, CES at KSU

hosted an enormous assemblage of sensitive information critical to the safe and

secure operation of Georgia’s voting system. Among this information was the

entire voter registration database for Georgia’s millions of registered voters. This

database contained every registered voter’s name, driver license or state




5
  Senate Ethics Committee hearing, March 1, 2020
https://www.youtube.com/watch?v=jC0x7lchU3Q.

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identification number, full or partial social security number, full date of birth, and

residence address.

      131. The information hosted on the CES/SOS server was not authorized to

be publicly accessible. But between at least August 2016 and March 2017, and

likely for a much longer period of time, this server—and all the files on it,

including the voter registration database—was fully accessible to any computer

user with Internet access.

      132. In late August 2016, cybersecurity researcher Logan Lamb (“Lamb”)

used an automated script to access the publicly available files hosted on the

CES/SOS elections server at KSU. Upon inspecting the files his script had

downloaded, Lamb discovered that they included the voter registration database

containing voting histories and personal registration information of every Georgia

voter. Lamb’s subsequent investigation revealed that the files his script

downloaded had been publicly exposed for so long that Google’s automated search

engine had actually cached (i.e., saved digital backup copies of) the pages

containing many of them, meaning that these approximately 6 million voter files

are still available likely from numerous sources. Thus, the personal voter

registration information of millions of registered Georgia voters—including driver

license numbers and birthdates—has been freely available “in the wild” for at least

four years as of the filing of this Amended Complaint.



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                    Covid-19 in Georgia

      133.    The ongoing COVID-19 pandemic continues to affect Georgia

elections in significant ways.

      134. Georgia’s Governor Brian Kemp first declared a Public Health State

of Emergency in response to the pandemic on March 14, 2020. He has

subsequently extended the Public Health State of Emergency and imposed a

number of restrictions on common activities through an evolving series of

executive orders.

      135. On April 23, 2021, Governor Kemp issued his most recent renewal of

the ongoing Public Health State of Emergency, which extended the period of

emergency until May 30, 2021.

      136. Under the currently applicable restrictions imposed by Governor

Kemp, individuals exposed to or themselves contracting COVID-19 are required to

self-quarantine for a period of fourteen days.

      137. This quarantine period potentially conflicts with the right to vote if it

occurs near an election. A voter who is exposed to COVID close to Election Day,

and must therefore self-quarantine, is rendered unable to vote in person and must

instead apply for and obtain an absentee ballot to vote.

      138. Governor Kemp himself was exposed to COVID shortly prior to the

November 2020 general election and was required to apply for an absentee ballot



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on the Friday before Election Day. Governor Kemp’s absentee ballot application

was duly processed over the weekend before Election Day, and his absentee ballot

arrived the Monday before Election Day, enabling Governor Kemp to vote and

preventing him from being disenfranchised in the November 2020 election.6 Had

the absentee ballot rules enacted by SB202 been in place, Governor Kemp (and

doubtless many other Georgians in his same situation) would have been

disenfranchised in the November 2020 election.



VI.   SPECIFIC ALLEGATIONS OF THREATENED INJURY TO
      PLAINTIFFS

      A.     Defendants’ Intention to Enforce SB202’s Provisions

      139. Defendants who are SEB Voting Members, acting in their official

capacities as voting members of the State Election Board, intend to enforce the

laws established by SB202, including each provision of SB202 that is challenged

herein as unconstitutional.

      140. Defendant RAFFENSPERGER intends to “provide any and all

necessary support and assistance that the State Election Board, in its sole

discretion, determines is necessary to enforce [the Georgia Election Code] or to




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  https://www.ajc.com/politics/politics-blog/kemp-receives-absentee-ballot-while-
in-quarantine-will-vote-after-all/LIUXJBW4O5AK5MQQLNBVWVUU34/ (last
visited Apr. 28, 2021).

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carry out or conduct any of its duties” established by SB202, including enforcing

each provision of SB202 that is challenged herein as unconstitutional. O.C.G.A. §

21–2–33.1(h) (2021).

      141. Defendant RAFFENSPERGER and members of his staff have

repeatedly stated that certain county boards of elections are “habitual offenders,”

are “failing,” and that, if given the necessary authority, Defendant

RAFFENSPERGER will intervene in such counties’ election management.

      142. Defendant RAFFENSPERGER and the Defendants who are SEB

Voting Members have prejudged the Fulton County Board, in particular, to be one

of the first superintendents targeted for suspension and removal by the SEB under

SB202’s Takeover Provisions based on violations of the Election Code that

occurred before SB202 was even enacted. During the legislative consideration of

SB202, legislators and RAFFENSPERGER were aware that the SEB already had

at least 27 pending cases against the Fulton County Board investigating election

law violations. Secretary RAFFENSPERGER is investigating Fulton County

voting records for the June and August 2020 elections to determine whether at least

123 voters may have voted twice. The SEB’s findings in these pre-existing cases,

along with numerous Fulton cases previously heard over the last two election

cycles, will count as “any audit or investigation” under the Takeover Provisions




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and may be invoked immediately by the SEB as grounds for the suspension or

removal of the Fulton County Board.

      143. Defendant RAFFENSPERGER and his staff do not intend to

implement the “method to allow secure electronic transmission” of absentee ballot

request forms that is called for by SB202, O.C.G.A. § 21–2–381(a)(1)(C)(i)

(2021), in time for that method to be utilized to handle absentee ballot applications

in all 159 counties of Georgia during any elections to be held in 2021.

      B.     Plaintiffs’ Direct Standing

      144. Enforcement of the challenged provisions of SB202 threatens each

Plaintiff with real and immediate injuries-in-fact that are neither conjectural,

hypothetical, nor contingent, including the following:

                    Plaintiff Coalition for Good Governance

      145. Plaintiff CGG is a non-profit corporation organized and existing under

the laws of the State of Colorado.

      146. Plaintiff CGG’s purpose is to preserve and advance the constitutional

liberties and individual civil rights of United States citizens, with an emphasis on

preserving and protecting the civil rights of its members that are exercised through

their participation in public elections and oversight of government activities.

      147. Plaintiff CGG is a membership organization, with a membership that

consists of both individuals and other organizations, residing in Georgia and other


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States. Individuals and organizations become members of Plaintiff CGG by

providing their contact information and indicating a desire to associate with the

organization. Members donate money, contribute time, and share information and

intelligence with the organization to the extent they are able and motivated to do

so. Members receive informational communications from Plaintiff CGG and

benefit from Plaintiff CGG’s facilitation and coordination of members’ individual

participation in civic activities that serve the organization’s purpose, such as poll

watching and ballot monitoring, auditing election results, participating in CGG-

sponsored educational seminars, and publishing opinion pieces. Members utilize

Plaintiff CGG as a resource to answer a wide range of questions about voting

rights, voting processes, open meetings law, public records law, recalls, petition

processes, election legislation, poll watcher training, and how to navigate election

issues and challenge election law violations that they encounter.

      148. Plaintiff CGG serves its purpose in a variety of ways, including, for

example, by providing information and education to its members; by serving as a

non-partisan educational and informational resource for the public, county election

officials, poll watchers, press, campaigns, candidates, and political parties; by

monitoring nationwide developments in election law and technology; by providing

speakers for events at educational institutions; by providing commentary from its

leadership on election issues; by collaborating in voting rights and election



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integrity initiatives with other nonpartisan nonprofits and academics; by

developing and sharing research and investigation of reported election problems

with the press, public and other members of the election-integrity community; by

routinely formally proposing election rule-making to the Georgia State Election

Board; by drafting proposed election-related legislation; and by facilitating and

coordinating the engagement of members and prospective members as non-partisan

participants in the electoral process through poll watching, attendance and

participation at public meetings of county election boards, and other civic

activities.

       149. Plaintiff CGG’s leaders seek to develop and maintain relationships

with individual board members of Georgia county boards of election and election

directors and frequently communicate with them regarding election administration

policies and decisions.

       150. Plaintiff CGG, acting on its own behalf, has direct organizational

standing to bring each of its claims for prospective declaratory and injunctive relief

that are stated herein.

       151. The Challenged Provisions of SB202 impair Plaintiff CGG’s ability to

engage in its own projects by forcing the organization to divert resources in

response.




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       152. Specifically, all voter education and advocacy projects in North

Carolina related to voter privacy problems and electronic voting system security

have been deferred or curtailed immediately to undertake this action.

       153. CGG’s project to provide subject matter expertise to a non-profit

organization plaintiff challenging North Carolina’s voting system certification had

to be dramatically curtailed in order to address the harmful impacts of SB202.

       154.    CGG’s project to prepare Georgia poll watcher training materials

related to voting system technology has also been postponed in order to undertake

this legal action.

       155.   Because of the need to focus on the challenge to SB202, CGG had to

decline recent requests to assist in the preparation of advocacy materials urgently

needed to challenge Colorado’s legislative efforts to adopt certain types of internet

voting. This project would have been undertaken except for the urgency of this

action to address SB202.

       156. As a result of the need to challenge SB202, CGG had to reduce its

time commitment and scope of its leadership role in planning and co-hosting a

national election security seminar for election officials.

       157.   CGG had to decline invitations to work with other non-profit

organizations to craft proposed amendments to HR1 and SB1 in order to devote

resources to challenging SB202.



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       158. CGG’s Executive Director was unable to assist in the Windham, New

Hampshire audit of the November 2020 election anomalies, because of undertaking

the challenge of SB2020.

       159.    Projects to write opinion pieces concerning Georgia’s need for post-

election auditing standards for submission to certain Georgia community

newspapers have been reduced and deferred because of the need to take this legal

action, as have plans for follow up educational webinars regarding SB202 for

Georgia’s county election officials because of the required diversion of resources

for this legal action.

       160.    CGG’s project to draft, at the request of individual lawmakers,

proposed Georgia legislation for improved election transparency have been

deferred and reduced because of the resources required to focus on this legal

action.

       161. Management of CGG has diverted considerable time from the day-to-

day operations and the above-mentioned projects to raise funds for legal fees and

expenses for this legal action, considerably beyond its previously anticipated 2021

fund raising requirements.

       162. The SB202 challenge also required CGG resources to be diverted

from the following: the overhaul of CGG’s website; preparation of newsletters to

donors about CGG projects on voter privacy and election security; educational



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efforts geared to municipal election superintendents and city councils on the need

for hand marked paper ballot voting systems. This substantial and continuing

diversion of CGG’s resources is further described below by Plaintiff DUFORT and

Plaintiff THROOP, both CGG volunteers.

                   Plaintiff SHIRLEY

      163. Plaintiffs SHIRLEY, LANG, PULLAR, THOMAS-CLARK, and

MCNICHOLS have protected property interests in their positions as members of

county election boards that are protected by the Fourteenth Amendment. See

DeKalb County Sch. Dist. v. Ga. Bd. of Educ., No. 1:13-CV-544-RWS, 2013 U.S.

Dist. LEXIS 29535, at *8–9, 2013 WL791266 (Mar. 4, 2013) (citing Bd. of Educ.

v. Allen, 392 U.S. 236, 241 n.5 (1968); Finch v. Miss. State Med. Ass’n, Inc., 585

F.2d 765, 773 (5th Cir. 1978)).

      164. Plaintiff SHIRLEY was appointed to his current term as a member of

the Athens-Clarke County Board in December 2020 by the Athens-Clerk County

Commission. The Athens-Clarke County Board is a combined board with duties of

a board of registration (O.C.G.A. §21-2-212) and duties of an election

superintendent (O.C.G.A. §21-2-70). As a member Athens-Clarke County Board,

Plaintiff SHIRLEY receives compensation for each meeting of the board that he

attends in his official capacity. Plaintiff SHIRLEY’s current term expires on

December 31, 2024.



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      165. Plaintiff SHIRLEY participates in all meetings of the Athens-Clarke

County Board which are conducted in public, generally broadcast on the internet,

with a formal agenda and publicly available board meeting materials. The meetings

routinely permit public comment on election-related matters.

      166. Plaintiff SHIRLEY, as a member of the Athens-Clarke County Board,

is facing the real threat of removal by the SEB under the Takeover Provisions of

SB202. Within the two election cycles preceding the date of filing of this

Complaint, the SEB has brought proceedings to sanction the Athens-Clarke County

Board for alleged election law violations which the SEB may claim are sufficient

to support the findings described in O.C.G.A. § 21–2–33.2(c). In March 2020, the

SEB found the Athens-Clarke County Board in violation of the requirement for

uniform voting equipment when the Athens-Clarke County Board adopted the use

of hand marked paper ballots to provide ballot secrecy in the face of the failure of

the BMD touchscreen units to provide for ballot secrecy. The findings, along with

findings in other recent and pending investigations, expose the Athens-Clarke

County Board to immediate suspension or removal by the SEB at any time on the

SEB’s own motion.

      167. If the SEB follows through on its expressed intention to suspend or

remove superintendents with existing violations, such as the Athens-Clarke County

Board, Plaintiff SHIRLEY will be injured because he:



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• will be subjected to deprivation of his personal property and liberty interest

   in his role as a member of the Athens-Clarke County Board without any

   predeprivation due process right to notice and an opportunity to be heard;

• will be deprived of postdeprivation due process because SB202 only permits

   a corporate superintendent such as the Athens-Clarke County Board, and not

   its constituent individual members, to seek reinstatement;

• will be deprived of the ability to have his interests represented by the

   Athens-Clarke County Board itself, since SB202 renders removed corporate

   superintendents incapable of meeting, making decisions and taking actions

   (such as petitioning the SEB for corporate reinstatement) as a public body

   and in compliance with the Georgia Open Meetings Law;

• will be deprived of the ability to have his interest represented by counsel for

   the removed Athens-Clarke County Board itself, since SB202 prohibits

   public funds from being used to contest a suspension or removal and also

   prohibits superintendents from accepting private funds or gifts that could be

   used for such purposes;

• will be deprived of income as a result of being unable to attend the Athens-

   Clarke County Board meetings in an official capacity (the basis for

   SHIRLEY’s compensation as a board member), because the Athens-Clarke

   County Board will itself be unable to meet while suspended or removed;


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   • will be deprived of the due process benefits of 1993 Ga. Act 216, § 5(c) and

      O.C.G.A. § 21–2–212(a), which together provide that members of the

      Athens-Clarke County Board are removable from office only for cause after

      notice and a hearing and only by the judge of the superior court; and

   • will be deprived of the due process benefits of O.C.G.A. § 21–2–32(f),

      which mandates a judicial process that must be followed by the SEB before

      the SEB can directly supervise the official election duties undertaken by a

      superintendent like Athens-Clarke County Board.

      168. Plaintiff SHIRLEY, who frequently observes election operations such

as absentee ballot processing in his capacity as a member of the Athens-Clarke

County Board, will be injured by SB202’s prior restraints on his First Amendment

right of free speech and right to petition the government, which are imposed under

penalty of misdemeanor by O.C.G.A. § 21–2–386(a)(2)(B)(vii) (the Gag Rule).

      169. Plaintiff SHIRLEY is registered to vote and is an eligible elector of

the State of Georgia and Athens-Clarke County and intends to vote in all upcoming

elections for which he is eligible to vote.

      170. Plaintiff SHIRLEY, in his personal capacity as a voter, is threatened

with imminent injury in the event he votes in person during upcoming elections.

Additionally, when he visits the polling place as a member of the Athens-Clarke

Board, he is threatened with the same injury. Specifically, each time he enters the


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polling place, Plaintiff SHIRLEY will see other voters voting on giant BMD

touchscreens, which will expose Plaintiff SHIRLEY to felony prosecution for

violating SB202’s Elector Observation Felony, which prohibits “intentionally

observ[ing] an elector while casting a ballot in a manner that would allow such

person to see for whom or what the elector is voting.” O.C.G.A. § 21–2–568.1

(2021).

      171. Plaintiff SHIRLEY’s Georgia driver’s license number and date of

birth were disclosed to unknown persons in repeated breaches of the Georgia

Secretary of State’s elections server in 2016 and 2017.

      172. Plaintiff SHIRLEY, in his personal capacity as a voter, is threatened

with a substantial risk that his ballot—and thus his right to vote—will be stolen

from him by someone in possession of his driver license and date of birth, since

these two pieces of personal information are in circulation as a result of lapses of

security by the Georgia Secretary of State. This injury is threatened because

SB202 eliminated the previous absentee-by-mail signature verification check and

adopted in its place the applicant’s provision of these two pieces of information as

the sole means of authenticating a voter’s request for an absentee-by-mail ballot.

Should he choose to vote absentee by mail, without a truly secure transmission

method for applications first being implemented by Defendant

RAFFENSPERGER, Plaintiff SHIRLEY will be compelled “to consent to the



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possibility of a profound invasion of privacy when exercising the fundamental

right to vote” in violation of substantive due process. Greidinger v. Davis, 988

F.2d 1344, 1354 (4th Cir. 1993).

       173. Plaintiff SHIRLEY, in his personal capacity as a voter, is also

threatened with imminent injury by SB202’s narrowing of the time within which to

apply for an absentee-by-mail ballot for a runoff election, when the announcement

of a runoff election will not be made in some elections until the deadline for

applying for a runoff mail ballot.

                      Plaintiff THOMAS-CLARK

       174. Plaintiff THOMAS-CLARK was appointed to the Coffee County

Board and her current term expires in 2022. As a Coffee County Board member,

Plaintiff THOMAS-CLARK receives compensation for her work as a board

member. In addition, in her role as Chair of the Coffee County Board, Plaintiff

THOMAS-CLARK assists the election staff in numerous administrative election-

related activities.

       175. Plaintiff THOMAS-CLARK participates in all meetings of the Coffee

County Board which are conducted in public with a formal agenda and publicly

available board meeting materials. The meetings routinely permit public comment

on election-related matters.




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      176. Defendant RAFFENSPERGER recently announced that the Coffee

County Board, of which Plaintiff THOMAS-CLARK is a member, is under

investigation, and that counties under investigation for loss of chain of custody of

ballots will be brought before the State Election Board for prosecution. The

Coffee County Board is exposed to immediate suspension or removal by the SEB

at any time on the SEB’s own motion.

      177. If the SEB follows through on its expressed intention to suspend or

remove superintendents that it claims have existing violations, such as the Coffee

County Board, Plaintiff THOMAS-CLARK will be injured in the same manner

alleged above for Plaintiff SHIRLEY.

      178. Plaintiff THOMAS-CLARK is threatened with injuries arising from

SB202’s prior restraints on her First Amendment right of free speech and right to

petition the government under O.C.G.A. § 21–2–386(a)(2)(B)(vii) in the same

manner as is alleged above for Plaintiff SHIRLEY.

      179. Plaintiff THOMAS-CLARK is registered to vote and is an eligible

elector of the State of Georgia and Coffee County and intends to vote in all

upcoming elections for which he is eligible to vote.

      180. Plaintiff THOMAS-CLARK’s Georgia driver’s license number and

date of birth were disclosed to unknown persons in repeated breaches of the

Georgia Secretary of State’s elections server in 2016 and 2017.



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      181. Plaintiff THOMAS-CLARK, in her personal capacity as a voter, is

threatened with a substantial risk that her ballot—and thus her right to vote—will

be stolen from her in the same manner as is alleged above for Plaintiff SHIRLEY.

Should she choose to vote absentee by mail, without a truly secure transmission

method for applications first being implemented by Defendant

RAFFENSPERGER, Plaintiff THOMAS-CLARK will be compelled “to consent to

the possibility of a profound invasion of privacy when exercising the fundamental

right to vote” in violation of substantive due process. Greidinger v. Davis, 988

F.2d 1344, 1354 (4th Cir. 1993).

      182. Plaintiff THOMAS-CLARK, in her personal capacity as a voter, and

when she visits polling places in her role as a board member, is threatened with

prosecution for the Elector Observation Felony in the same manner as is alleged

above for Plaintiff SHIRLE.

      183. Plaintiff THOMAS-CLARK, in her personal capacity as a voter, is

threatened with injury arising from SB202’s restriction of the window for

absentee-by-mail ballot applications in the same manner as is alleged above for

Plaintiff SHIRLEY.

                   Plaintiff LANG

      184. Plaintiff LANG’s current term on the Chatham County Board started

in January 2019 and ends December 31, 2022. As a Chatham County Board



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member, Plaintiff LANG receives monthly compensation for his service on the

board.

         185. Plaintiff LANG participates in all meetings of the Chatham County

Board which are conducted in public with a formal agenda and publicly available

board meeting materials. The meetings routinely permit public comment on

election-related matters.

         186. If the SEB follows through on its expressed intention to suspend or

remove superintendents that it claims has existing violations, such as potentially

the Chatham County Board, Plaintiff LANG will be injured in the same manner

alleged above for Plaintiff SHIRLEY.

         187. Plaintiff LANG is threatened with injuries arising from SB202’s prior

restraints on his First Amendment right of free speech and right to petition the

government under O.C.G.A. § 21–2–386(a)(2)(B)(vii) (2021) in the same manner

as is alleged above for Plaintiff SHIRLEY.

         188. Plaintiff LANG is registered to vote and is an eligible elector of the

State of Georgia and Chatham County and intends to vote in all upcoming

elections for which he is eligible to vote.

         189. Plaintiff LANG’s Georgia driver’s license number and date of birth

were disclosed to unknown persons in repeated breaches of the Georgia Secretary

of State’s elections server in 2016 and 2017.



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      190. Plaintiff LANG, in his personal capacity as a voter, is threatened with

a substantial risk that his ballot – and thus his right to vote – will be stolen from

him in the same manner as is alleged above for Plaintiff SHIRLEY. Should he

choose to vote absentee by mail, without a truly secure transmission method for

applications first being implemented by Defendant RAFFENSPERGER, Plaintiff

LANG will be compelled “to consent to the possibility of a profound invasion of

privacy when exercising the fundamental right to vote” in violation of substantive

due process. Greidinger v. Davis, 988 F.2d 1344, 1354 (4th Cir. 1993).

      191. Plaintiff LANG, in his personal capacity as a voter, and when he is

visiting the polling places in his role as a Chatham County Board member, is

threatened with prosecution for the Elector Observation Felony in the same manner

as is alleged above for Plaintiff SHIRLEY.

      192. Plaintiff LANG, in his personal capacity as a voter, is threatened with

injury arising from SB202’s restriction of the window for absentee-by-mail ballot

applications in the same manner as is alleged above for Plaintiff SHIRLEY.

      193. In his personal capacity as a voter, Plaintiff LANG is threatened with

injury because SB202 permits the SEB to remove the Chatham County Board of

Registrars without cause, but does not permit the SEB to appoint a replacement to

handle the registration and absentee ballot issuance duties. Plaintiff LANG, like




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all other voters, will suffer from the lack of a functioning department to manage

voter registration and absentee ballot issuance.

                   Plaintiff PULLAR

      194. Plaintiff PULLAR’s current term as a member of the Clayton County

Board expires in 2022. Plaintiff PULLAR receives compensation for each meeting

she attends of the Clayton County Board in her official capacity.

      195. Plaintiff PULLAR participates in all meetings of the Clayton County

Board which are conducted in public with a formal agenda and publicly available

board meeting materials. The meetings routinely permit public comment on

election-related matters.

      196. Within the two election cycles preceding the date of filing of this

Complaint, the SEB has conducted at least 48 alleged incidents of Clayton County

voters double voting, and one investigation of violations of the Georgia Election

Code by the Clayton County Board. The findings in these investigations, along

with findings in any other recent and pending investigations, expose the Clayton

County Board to the risk of immediate suspension or removal by the SEB at any

time on the SEB’s own motion.

      197. If the SEB follows through on its expressed intention to suspend or

remove superintendents that it claims has existing violations, such as potentially




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the Clayton County Board, Plaintiff PULLAR will be injured in the same manner

alleged above for Plaintiff SHIRLEY.

      198. Plaintiff PULLAR is threatened with injuries arising from SB202’s

prior restraints on her First Amendment right of free speech and right to petition

the government under O.C.G.A. § 21–2–386(a)(2)(B)(viii) in the same manner as

is alleged above for Plaintiff SHIRLEY.

      199. Plaintiff PULLAR is registered to vote and is an eligible elector of the

State of Georgia and Clayton County and intends to vote in all upcoming elections

for which he is eligible to vote.

      200. Plaintiff PULLAR’s Georgia driver’s license number and date of birth

were disclosed to unknown persons in repeated breaches of the Georgia Secretary

of State’s elections server in 2016 and 2017.

      201. Plaintiff PULLAR, in her personal capacity as a voter, is threatened

with a substantial risk that her ballot—and thus her right to vote—will be stolen

from her in the same manner as is alleged above for Plaintiff SHIRLEY. Should

she choose to vote absentee by mail, without a truly secure transmission method

for applications first being implemented by Defendant RAFFENSPERGER,

Plaintiff PULLAR will be compelled “to consent to the possibility of a profound

invasion of privacy when exercising the fundamental right to vote” in violation of




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substantive due process. Greidinger v. Davis, 988 F.2d 1344, 1354 (4th Cir.

1993).

      202. Plaintiff PULLAR, in her personal capacity as a voter, and as she

observes polling place activities as a Clayton Board member, is threatened with

prosecution for the Elector Observation Felony in the same manner as is alleged

above for Plaintiff SHIRLEY.

      203. Plaintiff PULLAR, in her personal capacity as a voter, is threatened

with injury arising from SB202’s restriction of the window for absentee-by-mail

ballot applications in the same manner as is alleged above for Plaintiff SHIRLEY.

                    Plaintiff MCNICHOLS

      204. Plaintiff MCNICHOLS’ current term as a member of the Jackson

County Board expires on January 31, 2023. Plaintiff MCNICHOLS is

compensated for her service on the Jackson County Board.

      205. Plaintiff MCNICHOLS participates in all meetings of the Jackson

County Board which are conducted in public with a formal agenda and publicly

available board meeting materials. The meetings routinely permit public comment

on election-related matters.

      206. On behalf of the Jackson County Board, Plaintiff MCNICHOLS

participates in the processing of Jackson County’s mail ballots, including the

collection of mail ballots from the drop boxes. If she detects any problems, her



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practice is to inform the Jackson County elections staff and to alert Pete Fuller, the

Chairman of Plaintiff JDCD.

      207. Within the two election cycles preceding the date of filing of this

Complaint, the SEB has brought at least three cases against the Jackson County

Board, of which Plaintiff MCNICHOLS is a member, alleging violations of the

Georgia Election Code. The Secretary of State is conducting an investigation

alleging double voting by 5 Jackson County voters in August 2020. The findings

in these cases, along with findings in other recent and pending investigations,

expose the Jackson County Board to immediate suspension or removal by the SEB

at any time on the SEB’s own motion.

      208. If the SEB follows through on its expressed intention to suspend or

remove superintendents with existing violations, such as the Jackson County

Board, Plaintiff MCNICHOLS will be injured in the same manner alleged above

for Plaintiff SHIRLEY.

      209. Plaintiff MCNICHOLS is threatened with injuries arising from

SB202’s prior restraints on her First Amendment right of free speech and right to

petition the government under O.C.G.A. § 21–2–386(a)(2)(B)(vii) in the same

manner as is alleged above for Plaintiff SHIRLEY.




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      210. Plaintiff MCNICHOLS is registered to vote and is an eligible elector

of the State of Georgia and Jackson County and intends to vote in all upcoming

elections for which she is eligible to vote.

      211. Plaintiff MCNICHOLS’s Georgia driver’s license number and date of

birth were disclosed to unknown persons in repeated breaches of the Georgia

Secretary of State’s elections server in 2016 and 2017.

      212. Plaintiff MCNICHOLS, in her personal capacity as a voter, is

threatened with a substantial risk that her ballot—and thus her right to vote—will

be stolen from her in the same manner as is alleged above for Plaintiff SHIRLEY.

Should she choose to vote absentee by mail, without a truly secure transmission

method for applications first being implemented by Defendant

RAFFENSPERGER, Plaintiff MCNICHOLS will be compelled “to consent to the

possibility of a profound invasion of privacy when exercising the fundamental

right to vote” in violation of substantive due process. Greidinger v. Davis, 988

F.2d 1344, 1354 (4th Cir. 1993).

      213. Plaintiff MCNICHOLS, in her personal capacity as a voter and as she

visits polling places in her role as a Jackson Board member, is threatened with

prosecution for the Elector Observation Felony in the same manner as is alleged

above for Plaintiff SHIRLEY.




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      214. Plaintiff MCNICHOLS, in her personal capacity as a voter, is

threatened with injury arising from SB202’s restriction of the time within which to

apply for absentee-by-mail ballots in the same manner as is alleged above for

Plaintiff SHIRLEY.

                   Plaintiff JACKSON COUNTY DEMOCRATIC
                   COMMITTEE

      215. Plaintiff JCDC has the right under Georgia law to appoint two

members of the Jackson County Board, who help protect the interests of JCDC’s

candidates and members and ensure transparent and accurate elections.

      216. Within the two election cycles preceding the date of filing of this

Complaint, the SEB has conducted multiple investigations involving allegations of

violations of the Georgia Election Code by the Jackson County Board. The

findings in these investigations, along with findings in other recent and pending

cases, expose the Jackson County Board to the risk of immediate suspension or

removal by the SEB at any time on the SEB’s own motion.

      217. If the SEB follows through on its expressed intention to suspend or

remove superintendents with existing violations, such as the Jackson County

Board, Plaintiff JCDC:

   • will be deprived of its current and future appointments to the Jackson

      County Board without any pre-deprivation due process right to notice and an

      opportunity to be heard;


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   • will be deprived of post-deprivation due process because SB202 only

      permits a corporate superintendent such as the Jackson County Board, and

      not appointers of the superintendent’s constituent individual members, to

      petition for the superintendent’s reinstatement;

   • will be deprived of the due process benefits of local Acts and O.C.G.A. §

      21–2–212(a), which together provide that members of the Jackson County

      Board are removable from office only for cause after notice and a hearing

      and only by the judge of the superior court; and

   • will be deprived of its ability to participate in the public formulation of

      decisions by the public authority responsible for administering Jackson

      County elections since any appointee of the SEB, by virtue of being an

      individual, will be exempted from the transparency requirements of the

      Georgia Open Meetings Law. Plaintiff JCDC has direct organizational

      standing to bring each of its claims for prospective declaratory and

      injunctive relief.

                    Plaintiff GEORGIA ADVANCING PROGRESS
                    POLITICAL ACTION COMMITTEE

      218. GEORGIA ADVANCING PROGRESS POLITICAL ACTION

COMMITTEE (“GAPPAC”) is a non-profit organization incorporated in 2017.

GAPPAC is organized as a qualified state and local political organization pursuant

to IRC Section 527 and Georgia's Ethics in Government Act.

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      219. Plaintiff GAPPAC is a membership organization with the purpose of

advancing the representation and advancement of Asian Americans and Pacific

Islanders (“AAPI”) to elected office in Georgia, and elected officials who advocate

for AAPI issues.

      220. Plaintiff GAPPAC’s members are concentrated in Gwinnett, Fulton,

Cobb, DeKalb, and Forsyth Counties in Georgia.

      221. Plaintiff GAPPAC’s members dedicate a significant portion of their

volunteer efforts to help AAPI voters whose primary language is not English by

translating voting and mail ballot instructions. GAPPAC also helps its members

and others who are AAPI voters to properly and timely request and return mail

ballots, which are popular with AAPI voters who may prefer to take their time to

translate and study their ballot in their home, without the time pressure of a polling

place. GAPPAC also assists its members and others who are AAPI voters in

curing mail ballots rejected by officials for discrepancies that may have been

caused by the voter’s misunderstanding of the instructions.

      222. Plaintiff GAPPAC prepares video and printed voter education

materials in multiple languages to help its members and others who are AAPI

voters to participate in the voting process.

      223. GAPPAC, acting on its own behalf, has direct organizational standing

to bring each of its claims for prospective declaratory and injunctive relief.



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      224. Plaintiff GAPPAC has diverted, and will continue diverting,

organizational resources away from its other projects to counteract the Defendants’

enforcement of SB202’s unconstitutional provisions.

      225. Specifically, GAPPAC serves a community of voters that includes

many fairly new voters and voters whose native language is not English. Massive

changes in SB202’s rules for voting, particularly the new dangerous threat of a

felony accusation for seeing the touchscreen vote choices of other voters, requires

significant and immediate diversion of resources for educational outreach to voters

to explain the new rules and deadlines, and help voters understand how to try to

participate and protect themselves from these wrongful threats, and from mail

ballot disenfranchisement. Such efforts must start immediately to address SB202’s

unconstitutional provisions, some of which will be in effect as early as May 24

when early voting begins for various June 15 elections.

      226. Educational efforts must include how to vote by mail under the new

deadlines and how to take precautions to reduce the high risk of identity theft.

Educational materials must be updated and produced in multiple languages.

Additional funds must be raised to pay for these unplanned educational efforts.

Such efforts are diverting GAPPAC resources from its day-to-day activities such as

candidate and issue advocacy. GAPPAC will also continue to divert resources to

obtain legal advice relating to the preparation of the educational material and to



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communications to the Gwinnett Board of Elections to urge it to protect voters

from disenfranchisement because of SB202, and defend itself against takeover

threats. GAPPAC management is diverting resources to contact potential vendors

regarding determining the costs for the unplanned overhauling its educational

materials required by the changes created by SB202.

      227. This litigation and the unanticipated voter education effort will divert

resources from GAPPAC’s planned core activities of recruiting AAPI candidates,

campaigning for AAPI candidates, advocacy for GAPPAC’s key issues, and

helping new AAPI voters get registered to vote in anticipation of the upcoming

November municipal elections and the 2022 midterm elections.

                   Plaintiff GRAHAM

      228. Plaintiff GRAHAM in his role as the Chair of the Libertarian Party of

Georgia (“LPG”) recruits and appoints poll workers and mail ballot monitors who

observe the conduct of elections across the State. The primary focus of LPG in

poll watching is voting system security, accuracy, and operations, as well as efforts

to improve voter privacy. LPG poll watchers and mail ballot monitors report to

Plaintiff GRAHAM about observed election irregularities, election administration

problems, ballot secrecy violations, and election security deficiencies. Plaintiff

Graham relies on these reports to inform what actions he must take as a Chair to

protect the interests of the Libertarian Party in Georgia. Plaintiff Graham intends



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to continue to perform these activities in 2021 and in future elections to the extent

permitted by law.

      229. Plaintiff GRAHAM is already being injured by SB202, as experienced

poll watchers and mail ballot observers whom he has appointed in the past to

observe election activities are expressing hesitancy to act as such observers

because they fear allegations of “intentionally observing” displayed votes, leading

to criminal prosecution.

      230. Plaintiff GRAHAM wishes to appoint experienced poll watchers and

monitors for the upcoming June 15, 2021 elections, including the House District 34

election in Cobb County, in which there is a Libertarian candidate. Early voting for

that election begins May 24, 2021, with mail ballot processing permitted to being

on May 31, 2021. Experienced poll watchers are hesitant and fearful of retribution

from the Secretary of State, as many have previously publicly criticized the BMD

voting system after observing for LPG in the polling places.

      231. Plaintiff GRAHAM wishes to appoint mail ballot monitors in

upcoming elections, including the June 15, 2021 elections for which mail ballot

processing begins May 24, 2021. Monitors observe mail ballot processing to

protect LPG’s interest in fair elections and to protect the interests of its candidates,

members and Georgia voters. Such appointed monitors are threatened with

injuries arising from SB202’s prior restraints on their First Amendment right of



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free speech and right to petition the government under O.C.G.A. § 21–2–

386(a)(2)(B)(vi) (2021) and (vii) in the same manner as is alleged above for

Plaintiff SHIRLEY. GRAHAM’s efforts to appoint monitors is harmed by the

threatened harm to the monitors.

      232. Plaintiff GRAHAM will be deprived of the information required to act

on mail ballot processing problems or discrepancies because of restraints on his

monitors’ exercise of free speech.

      233. In his role as Chair of LPG it is important that Plaintiff GRAHAM be

able to monitor the decision-making of the county election boards across the state.

Upon the takeover of any county board of elections, Plaintiff GRAHAM will lose

his ability to monitor the election management process on behalf of the LPG and to

make informed decisions to protect the interests of the party, its candidates and its

members.

      234. Plaintiff GRAHAM is a registered Fulton County voter. Given the

Defendants’ stated intentions to suspend or remove superintendents like the Fulton

County Board of Registration and Election (“the Fulton County Board”), Plaintiff

GRAHAM is threatened with injury in the form of the deprivation of his right to

attend and participate in public meetings of the Fulton County Board at which

election administration and governance decisions for Fulton County voters will be

decided.



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      235. Plaintiff GRAHAM’s Georgia driver’s license and date of birth were

disclosed to unknown person in repeated breaches of the Georgia Secretary of

State’s elections server in 2016 and 2017.

      236. Plaintiff GRAHAM generally chooses to vote in person during early

voting, and is now subject to the risk of felony allegations merely by glancing

around the polling place.

      237. In the November 2020 general election, the Defendant Secretary of

State permitted absentee ballot applicants to submit online applications that did not

require pen and ink signatures but did require the applicant to provide a Georgia

driver license number and date of birth. In other words, the Secretary conducted

what was effectively a trial run of SB202’s absentee ballot request provisions,

requiring sensitive personal identifying information to be transmitted.

      238. In the November 2020 general election Plaintiff GRAHAM went to

the Fulton County Metropolitan Library polling place during early voting and was

told that records showed he had applied for and been issued a mail absentee ballot.

Plaintiff GRAHAM had not done so and insisted on being able to vote in the

polling place. Officials gave him two choices—either not vote, or sign a form

affidavit that stated (falsely) that he had requested an absentee ballot but wished to

vote in person instead. Plaintiff GRAHAM objected to being forced to sign a false




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affidavit to exercise his fundamental right to vote. Plaintiff GRAHAM has never

been told why official records recorded him as requesting an absentee ballot.

      239. It is not known whether Plaintiff GRAHAM’S identity was stolen for

purposes of obtaining a fraudulent mail ballot causing GRAHAM to be

inaccurately told that he had requested a mail ballot. GRAHAM’S experience

demonstrates the real threat of mail ballot identity theft when widely available

identification numbers and dates of birth can be used to obtain a ballot. Should he

choose to vote absentee by mail, without a truly secure transmission method for

applications first being implemented by Defendant RAFFENSPERGER, Plaintiff

GRAHAM will be compelled “to consent to the possibility of a profound invasion

of privacy when exercising the fundamental right to vote” in violation of

substantive due process. Greidinger v. Davis, 988 F.2d 1344, 1354 (4th Cir. 1993)

                    Plaintiff MARTIN

      240. Plaintiff MARTIN is registered to vote and is an eligible elector of the

State of Georgia and Fulton County and intends to vote in all upcoming elections

for which she is eligible to vote.

      241. Plaintiff MARTIN is a frequent poll watcher and mail ballot monitor

appointed to that role by Plaintiff GRAHAM. Plaintiff MARTIN routinely attends

the Fulton County Board meetings, generally reviews the board materials available

to the public, and frequently offers comments and recommendations during the



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board’s public comment period. Plaintiff MARTIN has repeatedly filed formal

complaints or declarations in litigation regarding the failure to protect the secret

ballot and various election security violations. She has been publicly critical of the

secret ballot violations on local television news.7

      242. Within the 12 months preceding the date of filing of this Complaint,

the SEB has instituted investigations for election law violations (wrongly) alleged

to have been committed by Plaintiff MARTIN. These baseless investigations show

the SEB’s willingness to arbitrarily and unjustifiably abuse its powers to retaliate

against its critics, such as Plaintiff MARTIN.

      243. Plaintiff MARTIN, in her personal capacity as a voter, is threatened

with prosecution for the Elector Observation Felony in the same manner as is

alleged above for Plaintiff SHIRLEY.

      244. Plaintiff MARTIN will also be deterred from continuing poll

watching activity so long as she is at risk of being arbitrarily accused of a felony

for intentionally observing a voter’s selections on the touchscreen voting machines.

      245. Plaintiff MARTIN will be deterred from continuing mail ballot

processing monitoring activities so long as she cannot report mail balloting




7
 https://www.11alive.com/article/news/georgia-voting-privacy/85-01f0e401-7864-
46ec-9389-ac88323f6254 (last visited Apr. 29, 2021).


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discrepancies or findings to anyone other than the superintendent, which makes the

activities of little value.

       246. Plaintiff MARTIN will be deterred from continuing to monitor mail

ballot processes so long as she can be accused of “estimating” or “attempting to

estimate” any of the votes on absentee ballots cast” by any election official who

dislikes her presence. O.C.G.A.§ 21–2–386(a)(2)(A); O.C.G.A. § 21–2–

386(a)(2)(B)(vi).

       247. As both an election observer and a voter, Plaintiff MARTIN is

threatened with injuries arising from SB202’s prior restraints on her First

Amendment right of free speech and right to petition the government under

O.C.G.A. § 21–2–386(a)(2)(B)(vii) (2021) in the same manner as is alleged above

for Plaintiff SHIRLEY.

       248. Secretary RAFFENSPERGER has clearly indicated his desire to

intervene in Fulton County’s election administration, a goal echoed by members of

the General Assembly in advocating for the passage of SB202.

       249. Given the Defendants’ stated intentions to suspend or remove

superintendents like the Fulton County Board, Plaintiff MARTIN is threatened

with injury in the form of the deprivation of her right to attend and participate in

public meetings of the Fulton County Board at which election administration and

governance decisions for Fulton County voters will be decided.



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      250. Plaintiff MARTIN’s Georgia driver’s license number and date of birth

were disclosed to unknown persons in repeated breaches of the Georgia Secretary

of State’s elections server in 2016 and 2017.

      251. Plaintiff MARTIN, in her personal capacity as a voter, is threatened

with a substantial risk that her ballot—and thus her right to vote—will be stolen

from her in the same manner as is alleged above for Plaintiff SHIRLEY. Should

she choose to vote absentee by mail, without a truly secure transmission method

for applications first being implemented by Defendant RAFFENSPERGER,

Plaintiff MARTIN will be compelled “to consent to the possibility of a profound

invasion of privacy when exercising the fundamental right to vote” in violation of

substantive due process. Greidinger v. Davis, 988 F.2d 1344, 1354 (4th Cir. 1993)

      252. Plaintiff MARTIN, in her personal capacity as a voter, is threatened

with injury arising from SB202’s restriction of the window for absentee-by-mail

ballot applications in the same manner as is alleged above for Plaintiff SHIRLEY.

MARTIN has repeatedly had problems obtaining a timely absentee ballot from

Fulton County, despite properly applying weeks in advance. The narrowed window

for application, and the inability to securely transmit applications electronically,

makes it likely that MARTIN will be injured by an inability to obtain an absentee

ballot, particularly in runoff elections, and will be forced to choose between voting

in person with the associated risk of a felony accusation or not voting.



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                    Plaintiff DUFORT

      253. Plaintiff DUFORT is registered to vote and is an eligible elector of the

State of Georgia and Morgan County and intends to vote in all upcoming elections

for which she is eligible to vote.

      254. Plaintiff DUFORT is a Vice-Chair of the Morgan County Democratic

Committee (“MCDC”). In this role, Plaintiff DUFORT recruits and supervises

poll watchers and mail ballot monitors who observe the conduct of elections in

Morgan County. The MCDC’s poll watchers and mail ballot monitors report to

Plaintiff DUFORT about observed election irregularities, election administration

problems, and election security deficiencies.

      255. Plaintiff DUFORT regularly attends the meetings of the Morgan

County Board of Elections and Registration (the “Morgan County Board”).

Plaintiff DUFORT generally reviews the board materials available to the public,

and frequently offers comments and recommendations during the board’s public

comment period. Plaintiff DUFORT personally knows each of the members of the

Morgan County Board and often calls or meets with them to offer information and

suggestions and to lodge objections to decision made by the Morgan County

Board.

      256. Plaintiff DUFORT also routinely acts as a poll watcher and mail

ballot monitor herself on behalf of the MCDC. Plaintiff DUFORT has repeatedly



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filed formal complaints or declarations in litigation regarding the failure to protect

the secret ballot, and challenging various election security violations.

       257. Plaintiff DUFORT will be deterred from continuing poll watching

activity so long as she is at risk of being accused of a felony for intentionally

observing a voter’s selections on the touchscreen voting machines.

       258. Plaintiff DUFORT will be deterred from continuing to monitor mail

ballot processes so long as she can be accused of “estimating” or “attempting to

estimate any of the votes on absentee ballots cast” by any election official who

dislikes her presence. O.C.G.A.§ 21–2–386(a)(2)(A); O.C.G.A. § 21–2–386(a)

(2)(B)(vi). These vague prohibitions constituting misdemeanors subject Plaintiff

DUFORT to arbitrary enforcement in her role as a mail ballot monitor.

       259. Plaintiff DUFORT will be deterred from continuing mail ballot

processing monitoring activities so long as she cannot report mail balloting

discrepancies or findings to anyone other than the superintendent, which makes the

activities of little value.

       260. Plaintiff DUFORT routinely serves on the mail ballot Vote Review

Panel in Morgan County, a bi-partisan team that reviews mail ballots with vote

marks not easily interpreted by the scanners. In that role, she has discovered and

reported systemwide problems in scanner accuracy, resulting in some scanner

improvement, but also ongoing litigation. The Gag Rule, making such reporting a



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misdemeanor, will prohibit DUFORT from publicly reporting such problems in the

future.

      261. The threat of criminal prosecution will impair Plaintiff DUFORT’s

ability to observe polling places and mail ballot processing and fulfill her

responsibilities to recruit and appoint watchers and monitors on behalf of the

Morgan County Democratic Committee.

      262. As both an election observer and a voter, Plaintiff DUFORT is

threatened with injuries arising from SB202’s prior restraints on her First

Amendment right of free speech and right to petition the government under

O.C.G.A. § 21–2–386(a)(2)(B)(vi) (2021) and (vii) in the same manner as is

alleged above for Plaintiff SHIRLEY.

      263. Plaintiff DUFORT, in her personal capacity as a voter, is threatened

with prosecution for the Elector Observation Felony in the same manner as is

alleged above for Plaintiff SHIRLEY.

      264. Plaintiff DUFORT’s Georgia driver’s license number and date of birth

were disclosed to unknown persons in repeated breaches of the Georgia Secretary

of State’s elections server in 2016 and 2017.

      265. Plaintiff DUFORT, in her personal capacity as a voter, is threatened

with a substantial risk that her ballot—and thus her right to vote—will be stolen

from her in the same manner as is alleged above for Plaintiff SHIRLEY. Should



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she choose to vote absentee by mail, without a truly secure transmission method

for applications first being implemented by Defendant RAFFENSPERGER,

Plaintiff DUFORT will be compelled “to consent to the possibility of a profound

invasion of privacy when exercising the fundamental right to vote” in violation of

substantive due process. Greidinger v. Davis, 988 F.2d 1344, 1354 (4th Cir. 1993)

      266. Plaintiff DUFORT, in her personal capacity as a voter, is threatened

with injury arising from SB202’s restriction of the window for absentee-by-mail

ballot applications in the same manner as is alleged above for Plaintiff SHIRLEY.

      267. Plaintiff DUFORT is a frequently requested speaker for organizations

focused on voting rights, voter education, and election security. In her role as an

active member of CGG, she frequently speaks on behalf of CGG on these topics.

After the enactment of SB202, she has had to divert her volunteer time from other

CGG activities to devote to education and litigation efforts related to SB202,

creating injury to CGG’s planned activities. Such planned but now deferred CGG

activities include reviewing the accuracy of the tabulation of Morgan County

scanned ballot images in the 2020 elections, drafting proposed election rules for

CGG’s SEB rule-making advocacy efforts, analyzing county election cost

increases related to the BMD voting system, and fundraising for CGG.




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                      Plaintiff NAKAMURA

       268. Plaintiff NAKAMURA is registered to vote and is an eligible elector

of the State of Georgia and Fulton County and intends to vote in all upcoming

elections for which she is eligible to vote

       269. Plaintiff NAKAMURA is frequently appointed by Plaintiff

GRAHAM as a poll watcher and mail ballot monitor and has repeatedly filed

formal complaints or declarations in litigation regarding the failure to protect the

secret ballot and various election security violations. She has been publicly critical

of the secret ballot violations in her public comments at SEB meetings and Fulton

County Board of Elections meetings.

       270. Plaintiff NAKAMURA does not intend to continue poll watching

activity so long as she is at risk of being accused of a felonious act of intentionally

observing a voter’s selections on the touchscreen voting machines.

       271. Plaintiff NAKAMURA does not intend to continue mail ballot

processing monitoring activities so long as she cannot report mail balloting

discrepancies or findings to anyone other than the superintendent, which makes the

activities of little value.

       272. Plaintiff NAKAMURA does not intend to continue to monitor mail

ballot processes so long as she can be accused of the misdemeanor of “estimating”




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or “attempting to estimate any of the votes on absentee ballots cast” in violation of

O.C.G.A. §21-2-386(a)(2)(B)(vi).

      273. Given the high risk of SEB takeover of the Fulton County Board,

Plaintiff NAKAMURA risks losing her right, which she frequently exercises, to

monitor and participate in the Fulton County Board’s public meetings to personally

and on behalf of CGG advocate for fair, secure and transparent elections.

      274. As both an election observer and a voter, Plaintiff NAKAMURA is

threatened with injuries arising from SB202’s prior restraints on her First

Amendment right of free speech and right to petition the government under

O.C.G.A. § 21–2–386(a)(2)(B)(vi) (2021) and (vii) in the same manner as is

alleged above for Plaintiff SHIRLEY.

      275. Plaintiff NAKAMURA, in her personal capacity as a voter, is

threatened with prosecution for the Elector Observation Felony in the same manner

as is alleged above for Plaintiff SHIRLEY.

      276. Plaintiff NAKAMURA’s Georgia driver’s license number and date of

birth were disclosed to unknown persons in repeated breaches of the Georgia

Secretary of State’s elections server in 2016 and 2017.

      277. Plaintiff NAKAMURA, in her personal capacity as a voter, is

threatened with a substantial risk that her ballot—and thus her right to vote—will

be stolen from her in the same manner as is alleged above for Plaintiff SHIRLEY.



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Should she choose to vote absentee by mail, without a truly secure transmission

method for applications first being implemented by Defendant

RAFFENSPERGER, Plaintiff NAKAMURA will be compelled “to consent to the

possibility of a profound invasion of privacy when exercising the fundamental

right to vote” in violation of substantive due process. Greidinger v. Davis, 988

F.2d 1344, 1354 (4th Cir. 1993)

      278. Plaintiff NAKAMURA, in her personal capacity as a voter, is

threatened with injury arising from SB202’s restriction of the window for

absentee-by-mail ballot applications in the same manner as is alleged above for

Plaintiff SHIRLEY. NAKAMURA has repeatedly had problems obtaining a

timely absentee ballot from Fulton County, despite properly applying weeks in

advance. The narrowed window for application, and the inability to securely

transmit applications electronically, makes it likely that NAKAMURA will be

injured by an inability to obtain an absentee ballot, particularly in runoff elections,

and will be forced to choose between voting in person with the associated risk of a

felony accusation or not voting.

      279. Plaintiff NAKAMURA has not, to her knowledge, ever contracted

COVID-19. Because of chronic health conditions she remains at substantial risk of

doing so, particularly in the case of variant surge, in which case she will be

required to quarantine herself immediately. The same is true of surges in influenza



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or other communicable diseases. If this happens during the eleven days prior to an

election, Plaintiff NAKAMURA will be unable to vote in person and will be

rendered unable to vote altogether because SB202 prohibits voters from obtaining

an absentee ballot during the eleven or more days prior to election day, taking into

account that email applications without a secure transmission option will require

application at least two weeks prior to election day.

                    Plaintiff THROOP

      280. Plaintiff THROOP is registered to vote and is an eligible elector of the

State of Georgia and Fulton County and intends to vote in all upcoming elections

for which she is eligible to vote.

      281. Plaintiff THROOP is frequently appointed by Plaintiff GRAHAM as a

poll watcher and mail ballot monitor and has repeatedly filed formal complaints or

declarations in litigation regarding the failure to protect the secret ballot and

challenging various election security violations.

      282. Plaintiff THROOP routinely attends the meetings of the DeKalb

County Board of Elections and Registration (the “DeKalb County Board”). She

reviews the public materials and interacts with board members to offer suggestions

and options, or to lodge objections to policies that fail to secure DeKalb’s elections

or ensure fair access to the polls.




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       283. Plaintiff THROOP does not intend to continue poll watching activity

so long as she is at risk of being accused of a felonious act of intentionally

observing a voter’s selections on the touchscreen voting machines. Plaintiff

THROOP, in her personal capacity as a voter, is threatened with prosecution for

the Elector Observation Felony in the same manner as is alleged above for Plaintiff

SHIRLEY.

       284. Plaintiff THROOP does not intend to continue mail ballot processing

monitoring activities so long as she cannot report mail balloting discrepancies or

findings to anyone other than the superintendent, which makes the activities of

little value.

       285. Plaintiff THROOP does not intend to continue to monitor mail ballot

processes so long as she can be accused of the misdemeanor of “estimating” or

“attempting to estimate any of the votes on absentee ballots cast.” (O.C.G.A. §21-

2-386(a)(2)(B)(vi).

       286. As both an election observer and a voter, Plaintiff THROOP is

threatened with injuries arising from SB202’s prior restraints on her First

Amendment right of free speech and right to petition the government under

O.C.G.A. § 21–2–386(a)(2)(B)(vi) (2021) and (vii) in the same manner as is

alleged above for Plaintiff SHIRLEY.




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      287. Secretary Raffensperger announced his view that DeKalb performed

in an “unacceptable” way in June 2020 and opened an investigation into the

DeKalb County Board’s conduct of the election. The SEB had 6 pending DeKalb

cases and investigations as of the April 28, 2021 SEB meeting, and was

investigating 137 cases of alleged double voting in DeKalb’s June and August

2020 elections

      288. Given the high risk of SEB takeover of the Dekalb County Board,

Plaintiff THROOP, as a DeKalb County voter, is subject to losing the right she

frequently exercises to monitor and participate in the DeKalb County Board’s

public meetings to personally to advocate for fair, secure and transparent elections.

      289. Plaintiff THROOP ’s Georgia driver’s license number and date of

birth were disclosed to unknown persons in repeated breaches of the Georgia

Secretary of State’s elections server in 2016 and 2017.

      290. Plaintiff THROOP is threatened with a substantial risk that her

ballot—and thus her right to vote—will be stolen from her in the same manner as

is alleged above for Plaintiff SHIRLEY. Should she choose to vote absentee by

mail, without a truly secure transmission method for applications first being

implemented by Defendant RAFFENSPERGER, Plaintiff THROOP will be

compelled “to consent to the possibility of a profound invasion of privacy when




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exercising the fundamental right to vote” in violation of substantive due process.

Greidinger v. Davis, 988 F.2d 1344, 1354 (4th Cir. 1993).

      291. Plaintiff THROOP, in her personal capacity as a voter, is threatened

with injury arising from SB202’s restriction of the window for absentee-by-mail

ballot applications in the same manner as is alleged above for Plaintiff SHIRLEY.

      292. Plaintiff THROOP is an active volunteer for CGG and often

undertakes graphic design projects for CGG’s educational materials. After the

enactment of SB202, she has had to divert her volunteer time from other CGG

activities, such as assisting in the updating of CGG’s website, to prepare CGG

educational materials for Georgia election officials relating to the challenged

provisions of SB202, to meet with concerned citizens to explain the local impact of

SB202, and to help organize this lawsuit.

                    Plaintiff FRIEDMAN

      293. Plaintiff FRIEDMAN, a journalist, will be injured by SB202’s prior

restraints on his First Amendment right of free speech and freedom of the press

which is imposed under penalty of misdemeanor by the Gag Rule, O.C.G.A. § 21–

2–386(a)(2)(B)(ii) and (vii) (2021), and Photography Ban, O.C.G.A. §21-2-568(a).




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      294. Under SB202, FRIEDMAN be prohibited from reporting mail

balloting discrepancies or security concerns that he or The BRAD BLOG or the

BradCast journalists may personally observe as members of the press.

      295. In addition, Plaintiff FRIEDMAN will be injured because the party-

appointed observers he has relied on to supply first-hand accounts, such as Plaintiff

DUFORT, are prohibited under penalty of misdemeanor from reporting their

observations to Plaintiff FRIEDMAN.

      296. The enforcement of the Photography Ban will prohibit Plaintiff

FRIEDMAN and his associates from bringing photographic equipment into the

mail ballot processing operation, a traditional place from which press

photographers and reporters document the process of the election.

      297. In recent elections, thousands of press photos were widely published

of anonymous voted mail ballots from the mail ballot workrooms and audit rooms

in Fulton County, and video recorded interviews were conducted with officials

while at work in those rooms.

      298. Plaintiff FRIEDMAN and field reporters he would otherwise engage

will be deterred from observing or photographing polling place activity so long as

reporters are at risk of being accused of a felony for observing a voter’s selections

on the touchscreen voting machines.




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      299. Plaintiff FRIEDMAN will be deterred from monitoring mail ballot

processes so long as reporters can be accused of the misdemeanors of “estimating”

or “attempting to estimate any of the votes on absentee ballots cast” by any

election official. O.C.G.A.§ 21–2–386(a)(2)(A); O.C.G.A. § 21–2–

386(a)(2)(B)(vi).

      300. Plaintiff FRIEDMAN is already injured by SB202 because the

criminalization of constitutionally protected activity has a chilling effect on his

exercise of First Amendment rights.

      301. Plaintiff FRIEDMAN is threatened with injuries arising from SB202’s

prior restraints on his First Amendment right of free speech and right of freedom of

the press.

      C.     Plaintiff CGG’s Associational Standing

                    Elements of CGG’s Associational Standing

      302. At least one of CGG’s members has standing to sue each Defendant

on each of CGG’s claim in the member’s own right.

      303. The interests CGG seeks to protect are germane to CGG’s

organizational purpose.

      304. The prospective injunctive and declaratory relief requested by CGG

does not require the participation of CGG’s individual members in this lawsuit.




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                    Individual Standing of Plaintiff Members of CGG

      305. Plaintiffs GRAHAM, DUFORT, NAKAMURA, THROOP, LANG,

SHIRLEY, PULLAR, THOMAS-CLARK, MCNICHOLS, and MARTIN are

members of Plaintiff CGG who have standing to sue in their own right due to their

threatened injuries-in-fact alleged above.

      306. Within the 12 months preceding the date of filing of this Complaint,

the SEB and Defendant RAFFENSPERGER have conducted investigations for

election law violations alleged to have been committed by Plaintiff CGG’s

executive director, by CGG board member Plaintiff MARTIN, and by an expert

witness who has testified in Court proceedings at Plaintiff CGG’s request. The

strained allegations in these investigations smack of retaliation for CGG’s

litigation activities against the SEB related to election security and voter privacy.

Because of this recent history of baseless investigations and enforcement

proceedings against Plaintiff CGG’s members, Plaintiff CGG’s members have

reasonable fears that the new, stronger criminal prohibitions established by SB202

will be invoked by the Defendant Secretary and SEB to harass and intimidate

Plaintiff CGG’s members to discourage their activities that scrutinize the voting

system and election procedures.




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                    Individual Standing of Non-Plaintiff Members of CGG

      307. Plaintiff CGG has numerous members who not named as Plaintiffs in

this litigation but who are registered Fulton County and DeKalb County voters.

Given the Defendants’ stated intentions to suspend or remove superintendents like

the Fulton and DeKalb County Boards, Plaintiff CGG’s members who are Fulton

and DeKalb County voters are threatened with injury in the form of the deprivation

of their right to attend and participate in public meetings of the Fulton County

Board and the DeKalb County Board at which election administration and

governance decisions for Fulton County and DeKalb County voters will be

decided.

      308. Each of CGG’s members who is a registered voter is threatened with

injuries arising from SB202’s prior restraints on their First Amendment right of

free speech and right to petition the government under O.C.G.A. § 21–2–

386(a)(2)(B)(vi) (2021) and (vii) in the same manner as is alleged above for

Plaintiff SHIRLEY.

      309. Each of CGG’s members who is a registered Georgia voter, in his or

her personal capacity as a voter, if they chose to or are forced to vote in person, is

threatened with prosecution for the Elector Observation Felony in the same manner

as is alleged above for Plaintiff SHIRLEY.




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      310. Each of CGG’s members who is a registered voter and whose

personal information has been exposed as a result of the Secretary of State’s data

security failures is threatened with a substantial risk that his or her ballot—and thus

his or her right to vote—will be stolen in the same manner as is alleged above for

Plaintiff SHIRLEY. Should its members choose to vote absentee by mail, without

a truly secure transmission method for applications first being implemented by

Defendant RAFFENSPERGER, Plaintiff CGG’s members will be compelled “to

consent to the possibility of a profound invasion of privacy when exercising the

fundamental right to vote” in violation of substantive due process. Greidinger v.

Davis, 988 F.2d 1344, 1354 (4th Cir. 1993)

      311. Each of CGG’s members who is a registered Georgia voter and who

wishes to vote in person, but experiences unforeseen medical or employment

demands in the 11 days prior to election day causing then to be absent from the

polls, is threatened with injury arising from SB202’s restriction of the window for

absentee-by-mail ballot applications in the same manner as is alleged above for

Plaintiff NAKAMURA

      312. Each of CGG’s members who is a registered Georgia voter and who is

vulnerable to contracting COVID-19, or to being exposed to someone with

COVID-19, is threatened with injury arising from SB202’s restriction of the




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window for absentee-by-mail ballot applications in the same manner as is alleged

above for Plaintiff NAKAMURA.

          313. Each of CGG’s members who are registered electors in counties with

a separately operating board of registration is threatened with injury arising from

SB202’s grant of authority to the SEB to remove the board of registration without

cause and without the ability to appoint a replacement registrar in the same manner

as is alleged above for Plaintiff LANG.

          314. Plaintiff CGG has members who desire to exercise their constitutional

right to cast an absolutely secret ballot, which is generally unavailable in the

polling places where BMDs are used and wish to vote a secret ballot by absentee

ballot.

          315. Plaintiff CGG has members who desire to vote in special June 15,

2021 vacancy elections and will avoid going to the polling place because of the

risk of wrongfully being accused of a felony.

          316. Plaintiff CGG has at least one member who is a candidate in the

House District 34 special election on June 15, 2021 and is concerned about

intimidation of supporters because of the risk of being accused of the felony of

observing touchscreen displays.

          317.   Plaintiff CGG has elderly members who find it physically necessary

to vote by absentee mail ballot because of the difficulty of travel to polling places,



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standing in polling place lines, and using the polling place equipment. They are

faced with the threat of innocently seeing votes on a touchscreen and being

charged with a felony. If these members do not receive an automatic roll-over

ballot, these members will be unable to obtain a mail ballot for a state office runoff

because the deadline for an absentee mail ballot application occurs on the same day

that the need for a state runoff is determined, providing no reasonable window for

requesting a mail ballot.

      318. Plaintiff CGG has at least one member who is a student at an out-of-

state university. She and similarly situated students will be unable to vote by

absentee mail ballot in state office runoff elections because the deadline for the

ballot application occurs on the same day that the related election is certified and

the need for the runoff election is determined. Even when the runoff is announced

earlier, given the requirement to mail or deliver a ballot application in person (until

a secure electronic transmission method is available), students in distant states will

be unable to apply by mail before the 11-day deadline.

      319. Plaintiff CGG has a number of members who have routinely applied

for absentee ballots by submitting their applications via email to assure prompt

delivery of their application. Until the Secretary of State’s secure transmission

method can be developed and installed, the members will have even less time to

submit a timely application. The secure transmission method is essential given the



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new requirements that the voter submit driver’s license numbers and full date of

birth on the application. Without a truly secure transmission method being

implemented, members who seek to vote absentee by mail will be compelled “to

consent to the possibility of a profound invasion of privacy when exercising the

fundamental right to vote” in violation of substantive due process. Greidinger v.

Davis, 988 F.2d 1344, 1354 (4th Cir. 1993).

      320. Plaintiff CGG has a number of members whose health is impaired

because of immune system diseases making them particularly susceptible to health

risks during the current pandemic conditions. For many of CGG’s members with

such health conditions, a reliable, secure, and timely system of mail balloting is

essential to their exercise of the franchise.

      321. Plaintiff CGG has a number of members whose Georgia driver’s

license numbers and dates of birth were disclosed to unknown persons in repeated

breaches of the Georgia Secretary of State’s elections server that occurred in 2016

and 2017.

      322. Plaintiff CGG has a number of members who have been publicly

protesting the enactment of SB202 and have been actively involved in seeking

SB202 sponsor Representative Barry Fleming’s removal as county or city attorney

in certain jurisdictions that he represents. These members now face the likely

increased risk of being investigated for the felony act of “intentionally” observing



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others’ votes on the oversized touchscreens when they vote in the polling place.

Several members, some of them African American, now fear entering the polling

place to vote, for fear that another voter, official, or observer seeking retribution

may falsely allege intentional observation---an allegation against which the voter

cannot defend.

      323. Plaintiff CGG has members who are voters in counties with separate

boards of registration subject to removal without cause and risk the loss of

functioning voter registration and absentee balloting activities.

      324. Plaintiff CGG has several members including officers, who regularly

act as poll watchers and mail ballot processing observers on behalf of political

parties or candidates. As such, they have submitted multiple declarations detailing

election discrepancies and security issues to the Court in other cases and provided

public comment in such cases. These members, like the members who have

protested SB202 and fear retribution, are also concerned about targeted

enforcement of the punitive law, fearing that they may be charged with felonies for

simply looking toward the machines in conjunction with their duties to watch for

tampering and machine malfunctions. Member poll watchers expect that the risk of

alleged felonies will cause them to curtail their volunteer poll-watching duties.




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      325. Because of the foregoing threatened injuries, each of CGG’s members

described above would have standing to sue in their own right.

      D.     Plaintiff JCDC’s Associational Standing

                   Elements of JCDC’s Associational Standing

      326. At least one of JCDC’s members has standing to sue each Defendant

on each of JCDC’s claim in the member’s own right.

      327. The interests JCDC seeks to protect are germane to JCDC’s

organizational purpose.

      328. The prospective injunctive and declaratory relief requested by JCDC

does not require the participation of JCDC’s individual members in this lawsuit.

                   Individual Standing of Plaintiff Members of JCDC

      329. Plaintiff MCNICHOLS is a member of Plaintiff JCDC who has

standing to sue in her own right due to her threatened injuries-in-fact alleged

above.

                   Individual Standing of Non-Plaintiff Members of JCDC

      330. Plaintiff JCDC has numerous members who not named as Plaintiffs in

this litigation but who are registered Georgia and Jackson County voters.

      331. Each of JCDC’s members who is a registered voter is threatened with

injuries arising from SB202’s prior restraints on her First Amendment right of free

speech and right to petition the government under O.C.G.A. § 21–2–



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386(a)(2)(B)(vi) (2021) and (vii) in the same manner as is alleged above for

Plaintiff SHIRLEY.

      332. Each of JCDC’s members who is a registered voter, in his or her

personal capacity as a voter, is threatened with prosecution for the Elector

Observation Felony in the same manner as is alleged above for Plaintiff SHIRLEY.

      333. Each of JCDC’s members who is a registered voter and whose

personal information has been exposed as a result of the Secretary of State’s data

security failures is threatened with a substantial risk that his or her ballot—and thus

his or her right to vote—will be stolen in the same manner as is alleged above for

Plaintiff SHIRLEY. Should its members choose to vote absentee by mail, without

a truly secure transmission method for applications first being implemented by

Defendant RAFFENSPERGER, Plaintiff JCDC’s members will be compelled “to

consent to the possibility of a profound invasion of privacy when exercising the

fundamental right to vote” in violation of substantive due process. Greidinger v.

Davis, 988 F.2d 1344, 1354 (4th Cir. 1993)

      334. Each of JCDC’s members who is a registered Georgia voter and who

wishes to vote in person, but experiences unforeseen medical or employment

demands in the 11 days prior to election day causing then to be absent from the

polls, is threatened with injury arising from SB202’s restriction of the window for




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absentee-by-mail ballot applications in the same manner as is alleged above for

Plaintiff NAKAMURA.

       335. Each of JCDC’s members who is a registered voter and who is

vulnerable to contracting COVID-19, or to being exposed to someone with

COVID-19, is threatened with injury arising from SB202’s restriction of the

window for absentee-by-mail ballot applications in the same manner as is alleged

above for Plaintiff NAKAMURA.

       336. Members of Plaintiff JCDC, including its Chairman, Larry “Pete”

Fuller, frequently attend the meetings of the Jackson County Board, review the

board meeting materials, and take advantage of the public comment period to

advocate for the JCDC’s policy positions or to raise concerns about discrepancies

and problem areas, including unlawful efforts to remove eligible voters from the

voter rolls.

       337. Plaintiff JCDC has members whose Georgia driver’s license and date

of birth were disclosed to unknown persons in repeated breaches of the Georgia

Secretary of State’s election server in 2016 and 2017.

       338. Plaintiff JCDC appoints poll watchers and who observe the conduct of

elections in Jackson County. In addition, Chairman Fuller routinely visits polling

places on behalf of the JCDC to ensure that any problems are reported to the

Jackson County Board. Chairman Fuller and JCDC’s appointed watchers are



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threatened with prosecution for the Elector Observation Felony in the same manner

as is alleged above for Plaintiff SHIRLEY.

      339. Plaintiff JCDC has individual voter members who will be threatened

with, and intimidated by, the allegation of the felonious activity of “intentionally

observing” a display screen.

      340. Plaintiff JCDC’s ability to appoint poll watchers given the threat of

the allegation of felonious observation while poll watching will undoubtedly have

a chilling effect on the recruitment of watchers, impairing JCDC’s ability to protect

its members and candidates interests by monitoring polling places.

      341. Plaintiff JCDC’s has the right to appoint mail ballot monitors to

observe mail ballot processing to protect JCDC’s interest in fair elections and to

protect the interests of its candidates, members and Jackson County voters. Such

appointed monitors are threatened with injuries arising from SB202’s prior

restraints on their First Amendment right of free speech and right to petition the

government under O.C.G.A. § 21–2–386(a)(2)(B)(vi) and (vii) (2021) in the same

manner as is alleged above for Plaintiff SHIRLEY.

      342. Plaintiff JCDC will be deprived of the information required to act on

mail ballot processing problems or discrepancies because of its monitors’ restraints

on free speech.




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      343.    Plaintiff JCDC anticipates experiencing difficulty recruiting mail

ballot monitors because of SB202’s prohibition on monitors reporting problems or

discrepancies to JCDC.

      344.    Plaintiff JCDC’s members are threatened with injury arising from

SB202’s restriction of the time within which to apply for absentee-by-mail ballots,

including for a runoff, in the same manner as is alleged above for Plaintiff

SHIRLEY.

      345. SB202’s restriction of time to apply for mail ballots, and the

impossibility of doing so in certain runoffs, creates injury to JCDC’s efforts to

inform its voters of the complex rules, and to help get its candidates elected.

      346. Plaintiff JCDC’s resources are being diverted from its day-to-day

operating activities and advocacy for its candidates to engage in this legal action to

protect its interests. Further, JCDC is diverting resources and will continue to do so

to educate its voters on the complex changes in the law that will impact how and

when they vote. Resources will be required to be diverted to attempt to explore

mitigating strategies to the voter intimidation that is certain to be experienced

because of the threat of felony allegations for observing display screens in the

polling place.

      347. Because of the foregoing threatened injuries, each of JCDC’s

members described above would have standing to sue in their own right.



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      E.        Plaintiff GAPPAC’s Associational Standing

                     Elements of GAPPAC’s Associational Standing

      348. At least one of GAPPAC’s members has standing to sue each

Defendant on each of GAPPAC’s claim in the member’s own right.

      349. The interests GAPPAC seeks to protect are germane to GAPPAC’s

organizational purpose.

      350. The prospective injunctive and declaratory relief requested by

GAPPAC does not require the participation of GAPPAC’s individual members in

this lawsuit.

                     Individual Standing of Plaintiff Members of GAPPAC

      351. Plaintiff NAKAMURA is a member of Plaintiff GAPPAC who has

standing to sue in her own right due to her threatened injuries-in-fact alleged

above.

                     Individual Standing of Non-Plaintiff Members of GAPPAC

      352. Plaintiff GAPPAC has numerous members who are not named as

Plaintiffs in this litigation but who are registered Gwinnett and Fulton County

voters. Given the Defendants’ stated intentions to suspend or remove

superintendents like the Fulton County Board, Plaintiff GAPPAC’s members who

are Fulton County voters are threatened with injury in the form of the deprivation

of their right to attend and participate in public meetings of the Fulton County



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Board at which election administration and governance decisions for Fulton

County voters will be made.

      353. Each of GAPPAC’s members who is a registered voter is threatened

with injuries arising from SB202’s prior restraints on their First Amendment right

of free speech and right to petition the government under O.C.G.A. § 21–2–

386(a)(2)(B)(vii) (2021) and (vii) in the same manner as is alleged above for

Plaintiff SHIRLEY.

      354. Each of GAPPAC’s members who is a registered voter, in his or her

personal capacity as a voter, is threatened with prosecution for the Elector

Observation Felony in the same manner as is alleged above for Plaintiff SHIRLEY.

      355. Each of GAPPAC’s members who is a registered voter and whose

personal information has been exposed as a result of the Secretary of State’s data

security failures is threatened with a substantial risk that his or her ballot—and thus

his or her right to vote—will be stolen in the same manner as is alleged above for

Plaintiff SHIRLEY.

      356. Each of GAPPAC’s members who is a registered voter and who is

vulnerable to contracting COVID-19, or to being exposed to someone with

COVID-19, is threatened with injury arising from SB202’s restriction of the

window for absentee-by-mail ballot applications in the same manner as is alleged

above for Plaintiff NAKAMURA.



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       357. Each of GAPPAC’s members who is a registered Georgia voter and

who wishes to vote in person, but experiences unforeseen medical or employment

demands in the 11 days prior to election day causing then to be absent from the

polls, is threatened with injury arising from SB202’s restriction of the window for

absentee-by-mail ballot applications in the same manner as is alleged above for

Plaintiff NAKAMURA.



       358. Plaintiff GAPPAC has a number of members whose Georgia Driver’s

License numbers and Dates of Birth were disclosed to unknown persons in

repeated breaches of the Georgia Secretary of State’s elections server that occurred

in 2016 and 2017.

       359. Plaintiff GAPPAC has members who are frightened to go to the

polling place because of the threat of purposely false and menacing felony

allegations against them as Asian Americans, alleging that they “intentionally

observed” another voter’s touchscreen machine.

       360. GAPPAC, acting on behalf of members who are threatened with

imminent injury-in-fact and who would have standing in their own right, has

associational standing to bring each of its claims for prospective declaratory and

injunctive relief.




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      361. Because of the foregoing threatened injuries, each of GAPPAC’s

members described above would have standing to sue in their own right.

      F.      Causation

      362. Each of the foregoing threatened injuries-in-fact to the Plaintiffs

alleged for purposes of standing is occurring, or is likely to occur, because and as a

result of the Defendants’ intended enforcement of SB202’s unconstitutional

provisions.

      G.      Redressability

      363. Each of the foregoing threatened injuries-in-fact to the Plaintiffs

alleged for purposes of standing will be, or is likely to be, avoided in whole or in

part if the Plaintiffs are granted the prospective declaratory and injunctive relief

requested by this Complaint.

      H.      Actual Controversy (Declaratory Relief)



      364. Each of the foregoing threatened injuries-in-fact to the Plaintiffs

alleged for purposes of standing establishes the existence of a substantial

continuing controversy between Plaintiffs and Defendants, who have adverse legal

interests. Each of the threatened injuries-in-fact is sufficient to entitle the Plaintiff

who is threatened by it to seek and obtain declaratory judgment pursuant to 28

U.S.C. § 2201.



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      VII. CLAIMS


      365. As used in the following counts, the “Board Member Plaintiffs” are

Plaintiffs LANG, PULLAR, MCNICHOLS, SHIRLEY AND THOMAS-CLARK;

the “Voter Plaintiffs” are the Board Member Plaintiffs and Plaintiffs CGG, JCDC,

GAPPAC, GRAHAM, MARTIN, DUFORT, NAKAMURA, and THROOP.


      A.     TAKEOVER PROVISION CLAIMS


                                        COUNT I

                         Violations of Procedural Due Process
                              (U.S. Const. Amend. XIV)

                         42 U.S.C. § 1983 and 28 U.S.C. § 2201

                (The Board Member Plaintiffs against All Defendants)

      366. The foregoing Paragraphs 1 to 365 are incorporated and restated here.

      367. The Board Member Plaintiffs are members of county boards which

are “superintendents” under Georgia law.

      368. The Board Member Plaintiffs have protected property and liberty

interests in their tenure as members of the county boards.

      369. SB202’s Takeover Provisions violate the Board Member Plaintiffs’

rights under the procedural protections of the Fourteenth Amendment Due Process

Clause of the U.S. Constitution because the Takeover Provisions, among other

things:

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      •      do not provide superintendent board members with the constitutional

minima of predeprivation notice and hearing prior to the removal of the

superintendent board members from office;

      •      do not provide superintendent board members in their individual

capacities with any postdeprivation remedy for obtaining reinstatement to office

after a removal;

      •      do not provide the superintendent board members acting through their

county boards with any meaningful postdeprivation remedy for obtaining

reinstatement because organizations that are parties to administrative hearings and

superior court proceedings must be represented by counsel, but the Takeover

Provisions bar any county board from engaging or paying for any counsel to

represent them.

      370. SB202 also violates procedural due process in that it allows the SEB

to remove board members, like the Board Member Plaintiffs, based upon the action

or inaction of other current board members, or other former board members, and

not upon the action or inaction of the board members themselves.

      371. County board members like the Board Member Plaintiffs are entitled,

at a bare minimum, prior to any deprivation of their liberty and any property

interests in their public office, to adequate notice of the grounds for suspension or

removal, the right to be heard in a full public hearing and to address the merits of


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the issues presented to an impartial tribunal, written findings based on substantial

evidence of their own action or inaction, judicial review, meaningful rights to

appeal, and the right to engage counsel at their employer county’s expense.

        372. County board members like the Board Member Plaintiffs are also

entitled to a postdeprivation remedy, including adequate notice, the right to be

heard in a public hearing and to address the merits of the issues presented, written

findings based on substantial evidence of their own action or inaction, judicial

review, and the right to engage counsel at their employer county’s expense.

        373. The Board Member Plaintiffs are at substantial risk of imminent

injury and thus are entitled to prospective injunctive relief against Defendants

acting in their official capacities under color of state law pursuant to 42 U.S.C. §

1983.

        374. Defendants’ intended enforcement of SB202’s unconstitutional

provisions, together with the Board Member Plaintiffs’ substantial risk of being

targeted by such enforcement, creates an actual controversy between Defendants

and the Board Member Plaintiffs that entitles the Board Member Plaintiffs to seek

declaratory relief pursuant to 28 U.S.C. § 2201.

        WHEREFORE, the Board Member Plaintiffs respectfully request that this

Court enter the relief requested in the Prayer.




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                                    COUNT II
                      Violations of Substantive Due Process
                            (U.S. Const. Amend. XIV)

                      42 U.S.C. § 1983 and 28 U.S.C. § 2201

             (The Board Member Plaintiffs and the Voter Plaintiffs
                          against All Defendants)

      375. The foregoing Paragraphs 1 to 365 are incorporated and restated here.

      376. Violations of state statutes or constitutional laws implicating the very

integrity of the electoral process constitute a denial of substantive due process

under the Fourteenth Amendment to the U.S. Constitution.

      377. The Takeover Provisions constitute a delegation of legislative

functions to the executive in violation of the Separation of Powers Clause of the

Georgia Constitution, Ga. Const. Art. I, § II, Para. III.

      378. Under Georgia law, the Georgia General Assembly has the authority

to determine the election management body for each of Georgia’s 159 counties by

local acts. O.C.G.A. § 21-2-40. Pursuant to this authority, the General Assembly

has in 127 counties created three to five member boards of elections, or boards of

election and registration, as the “superintendents.” In the remaining 32 counties,

by default, the county probate judge is the superintendent, and a board of

registration conducts voter registration the issuance of absentee ballots. O.C.G.A.

§§ 21-2-212, 21-2-35(A).




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      379. To change the election management body for a particular county, the

General Assembly must pass a new local act amending the prior law.

      380. Determining the election management body for a county is a

legislative function, belonging solely to the General Assembly

      381. Although determining the election management body for a particular

county is a legislative function, the Takeover Provisions grant to the SEB the

power to determine and change the election management body for any of

Georgia’s 159 counties. Unlike the legislative process, in the SEB’s takeover

process changing the election management body, citizens are afforded little notice

of such an important and drastic change and are granted no rights to participate in

the public hearing. Under the Takeover Provisions, the SEB may exercise this

power by making an unreviewable finding that a county or municipal

superintendent has “committed at least three violations” of Georgia’s election laws

or the State Election Board Rules, regardless of the materiality of the law allegedly

violated or the circumstances of their alleged violation. Thus, when it is exercising

its power to appoint a replacement supervisor for a county superintendent, the SEB

is exercising the functions of the legislature, in contravention of the Separation of

Powers Clause of the Georgia Constitution.




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      382. SB202 allows the SEB to takeover a county election superintendent

upon a finding of three violation of Election Board Rules, which include minor

offenses, as examples, the following:

      • failure to print an individual badge for each poll watcher. Rule 183-1-13-
        .04;

      • failure to swear in voting system programmers. Rule 183-1-12-.17;

      • failure to conduct an hourly sweep of each voting station to find any
        unauthorized materials left behind. Rule 183-1-12-.11(3));

      • equipment storage room exceeded 80% humidity on rainy day. Rule 183-
        1-12-.04(2).

      383. The threshold for triggering the SEB’s power to replace a county

election superintendent is so low that the SEB for all practical purposes has the

power to select whatever counties it wants to take over and to rapidly change and

remove the entire election management body of any county in Georgia at will.

      384. In addition, the SEB is itself empowered to make the very Election

Rules, the violation of which triggers the SEB’s power to exercise its (executive)

enforcement functions. This too constitutes an unconstitutional delegation to the

SEB of legislative power and a prohibited conflation of executive and legislative

functions.

      385. SB202 further gives the SEB the power to select any county that has a

separate board of registration and remove such a board for no reason, with no



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provision for the appointment of a substitute board of registration, which would

shut down voter registration and stop the issuance of absentee ballots. Granting

the power to the State Election Board to effectively halt voter registration,

registration changes, and absentee balloting is a power that the General Assembly

does not have and certainly may not delegate.

      386. Giving those in control of the State Government the power, through

the SEB, to select the county election superintendents and remove (but not replace)

boards of registrars threatens the very integrity of the electoral process in Georgia.

The SEB’s appointee, who will not be accountable to anyone, will have the power

to make many decisions that can influence citizens’ access to the polls and the

outcome of an election. For example, the appointee will have the power to

determine how many early and election day polling places there will be, where

they will be located, how much voting equipment to allocate to each site, whether

the county will offer Sunday voting or extended early voting hours, and how each

polling place will be staffed. In addition, the appointee will have the power to

determine which mail ballots to reject for arriving too late, and which provisional

ballots to count, and, ultimately, whether to certify the election results. Appointees

replacing a combined board of registration and elections will have the unilateral

power to hear and decide challenges to voter eligibility, a duty heretofore carefully




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delegated to a public body required to conduct deliberative public hearings on such

challenges.

      387. Because delegating this power to the SEB violates the Separation of

Powers Clause of the Georgia Constitution and implicates the very integrity of the

electoral process, the Takeover Provisions constitute a denial of substantive due

process under the Fourteenth Amendment to the U.S. Constitution.

      388. The Takeover Provisions also violate Article II, Section 1, Paragraph

II of the Georgia Constitution, which provides: “The General Assembly shall

provide by law for the registration of voters.”

      389. As discussed above, the Takeover Provisions allow the SEB to

remove a board of registration but do not provide any mechanism for the SEB (or

anyone else) to replace a board of registration. The Takeover Provisions thus give

the SEB the power to stop the registration of voters in a particular county by

removing the board of registrars, rather than providing for the registration of

voters, as the Georgia Constitution requires.

      390. Plaintiffs, as residents of counties where the local superintendent is at

substantial risk of being targeted by Defendants’ invocation of the Takeover

Provisions, are at substantial risk of imminent injury and thus are entitled to

prospective injunctive relief against Defendants acting in their official capacities

under color of state law pursuant to 42 U.S.C. § 1983.



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      391. Defendants’ intended enforcement of SB202’s unconstitutional

provisions, together with the substantial risk that Plaintiffs’ local superintendent

will be targeted by such enforcement, creates an actual controversy between

Defendants and Plaintiffs that entitles Plaintiff to declaratory relief pursuant to 28

U.S.C. § 2201.

      WHEREFORE, the Plaintiffs respectfully request that this Court enter the

relief requested in the Prayer.

      B.     INDIVIDUAL FEDERAL CLAIMS


                                     COUNT III

                      Violations of Substantive Due Process
                          & Fundamental Right to Vote
                            (U.S. Const. Amend. XIV)

                      42 U.S.C. § 1983 and 28 U.S.C. § 2201

                     (Voter Plaintiffs against All Defendants)



      392. The foregoing Paragraphs 1 to 365 and 376 to 391 are incorporated

and restated here.

      393. In counties where boards of registration are separate from boards of

election, boards of registration handle absentee ballot issuance, application

acceptance, ballot issuance, and ballot acceptance, and then turn the accepted

absentee ballots over to the election superintendent for counting.


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      394.    By permitting the SEB to remove, but not replace, boards of

registration, the Takeover Provisions give the SEB the power to disenfranchise

voters who, in good faith reliance upon Georgia laws providing for absentee

voting, decide to vote absentee in a county where the SEB has decided to remove,

but cannot replace, the board of registration.

      395. The Takeover Provisions allowing the SEB to remove, but not

replace, a board of registration violate the fundamental right to vote that is

protected by the substantive application of the Due Process Clause of the

Fourteenth Amendment to the U.S. Constitution by imposing a burden on voting

that is not justified by any sufficiently weighty government interest.

      396.    These provisions of SB202 are unconstitutional on their face and as

applied to the Voter Plaintiffs.

      397. The Voter Plaintiffs, as residents of counties where the local

superintendent is at substantial risk of being targeted by Defendants’ invocation of

the Takeover Provisions, are at substantial risk of imminent injury and thus are

entitled to prospective injunctive relief against Defendants acting in their official

capacities under color of state law pursuant to 42 U.S.C. § 1983.

      398. Defendants’ intended enforcement of SB202’s unconstitutional

provisions, together with the substantial risk that Plaintiffs’ local superintendent

will be targeted by such enforcement, creates an actual controversy between



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Defendants and the Voter Plaintiffs that entitles Plaintiffs to seek declaratory relief

pursuant to 28 U.S.C. § 2201.

      WHEREFORE, the Voter Plaintiffs respectfully request that this Court enter

the relief requested in the Prayer.

                                      COUNT IV

                      Violations of Substantive Due Process
                          & Fundamental Right to Vote
                            (U.S. Const. Amend. XIV)

                      42 U.S.C. § 1983 and 28 U.S.C. § 2201

                     (Voter Plaintiffs against All Defendants)

      399. The foregoing Paragraphs 1 to 365 are incorporated and restated here.

      400. SB202’s “Elector Observation Felony” provision makes it a felony to

“intentionally observe an elector while casting a ballot in a manner that would

allow such person to see for whom or what the elector is voting.” O.C.G.A. § 21–

2–568.1 (2021).

      401.    Given the large size of the Dominion BMD touchscreens, and small

size of many polling places, it is frequently not possible to vote in person without

appearing to commit this felony.

      402. Figure 4 is a true and correct photograph of the inside of the Gwinnett

Elections Office polling place in Gwinnett County, Georgia, taken in early voting

in the March 2020, Presidential Primary.



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      Figure 4. Gwinnett Elections Office Polling Place

      403. Figure 5 is a true and correct photograph taken by an Atlanta Journal

Constitution photographer of the inside of the Cartersville polling place, in

Cartersville, Georgia, taken in early voting in October 2019, during the November

2019 election.




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Figure 5. Cartersville, Georgia Polling Place

      404. Figure 6 is a true and correct photograph of the inside of the State

Farm Arena polling place in Fulton County, Georgia, taken in October 2020,

during early voting for the General Election.




Figure 6. State Farm Arena

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       405. Any of the thousands of voters who entered these polling place to vote

could have been charged with the felony of “intentionally observ[ing] an elector

while casting a ballot in a manner that would allow such person to see for whom or

what the elector is voting.” Id. Had the Elector Observation Felony Felony

Provision been in effect, they could not have voted in these polling places without

a substantial risk of arrest.

       406. Had the Elector Observation Felony Provision been in effect, dozens

of members of the press and hundreds of poll workers could also have charged

with a felony merely by entering these polling places.

       407. The Elector Observation Felony Provision violates the fundamental

right to vote that is protected by the substantive application of the Due Process

Clause of the Fourteenth Amendment to the U.S. Constitution by imposing a

burden on voting that is not justified by any sufficiently weighty government

interest.

       408. The Elector Observation Felony Provision is unconstitutional on its

face and as applied to the Voter Plaintiffs.

       409. The Voter Plaintiffs are at substantial risk of imminent injury and thus

are entitled to prospective injunctive relief against Defendants acting in their

official capacities under color of state law pursuant to 42 U.S.C. § 1983.



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        410. Defendants’ intended enforcement of SB202’s unconstitutional

provisions, together with the Voter Plaintiffs’ substantial risk of being targeted by

such enforcement, creates an actual controversy between Defendants and the Voter

Plaintiffs that entitles Plaintiffs to seek declaratory relief pursuant to 28 U.S.C. §

2201.

        WHEREFORE, the Voter Plaintiffs respectfully request that this Court

enter the relief requested in the Prayer.

                                      COUNT V

                  Violation of Due Process – Void for Vagueness
                            (U.S. Const. Amend. XIV)

                       42 U.S.C. § 1983 and 28 U.S.C. § 2201

                     (Voter Plaintiffs against All Defendants)

        411. The foregoing Paragraphs 1 to 365 and 400 to 410 are incorporated

and restated here.

        412. SB202’s Elector Observation Felony provision violates Due Process

because it is void for vagueness in that it potentially criminalizes any action in a

polling place, or even mere entry into a polling place, where elector’s choices on

the oversized Dominion BMD touchscreens are clearly displayed for anyone to

see.




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        413. The Elector Observation Felony provision encourages arbitrary and

discriminatory enforcement and permits a standardless sweep that allows State

officials to pursue their personal agendas in violation of Due Process.

        414. This provision of SB202 is unconstitutional on its face and as applied

to the Voter Plaintiffs.

        415. The Voter Plaintiffs are at substantial risk of imminent injury and thus

are entitled to prospective injunctive relief against Defendants acting in their

official capacities under color of state law pursuant to 42 U.S.C. § 1983.

        416. Defendants’ intended enforcement of SB202’s unconstitutional

provisions, together with the Voter Plaintiffs’ substantial risk of being targeted by

such enforcement, creates an actual controversy between Defendants and the Voter

Plaintiffs that entitles Plaintiffs to seek declaratory relief pursuant to 28 U.S.C. §

2201.

        WHEREFORE, the Voter Plaintiffs respectfully request that this Court

enter the relief requested in the Prayer.




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                                    COUNT VI

                           Unlawful Voter Intimidation
                               (52 U.S.C. § 10307)

                      42 U.S.C. § 1983 and 28 U.S.C. § 2201

                    (Voter Plaintiffs against All Defendants)

      417. The foregoing Paragraphs 1 to 396, 400 to 410, and 412 to 416, are

incorporated and restated here.

      418. SB202’s Elector Observation Felony Provision can be invoked to

selectively criminalize mere entry into a polling place or even approaching a

polling place with large windows. The mere existence of the law will intimidate

voters.

      419. The provision unlawfully intimidates voters because it gives law

enforcement officials the authority to charge voters arbitrarily and capriciously for

the felony intentionally observing another elector’s screen.

      420. The provision also subjects voters to intimidation from persons who

are not governmental authorities. Any person who is hostile to the voter – for any

reason – can plausibly allege that the voter intentionally observed another elector

voting.

      421. Most voters have limited ways to defend themselves against arbitrary

and capricious enforcement of such an allegation.




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        422. The Defendants’ intended enforcement of SB202’s Elector

Observation Felony accordingly will constitute unlawful voter intimidation under

color of law in violation of 52 U.S.C. § 10307.

        423. This provision of SB202 is unlawful on its face and as applied to the

Voter Plaintiffs.

        424. The Voter Plaintiffs are at substantial risk of imminent injury and thus

are entitled to prospective injunctive relief against Defendants acting in their

official capacities under color of state law pursuant to 42 U.S.C. § 1983.

        425. Defendants’ intended enforcement of SB202’s unlawful provisions,

together with the Voter Plaintiffs’ substantial risk of being targeted by such

enforcement, creates an actual controversy between Defendants and the Voter

Plaintiffs that entitles Plaintiffs to seek declaratory relief pursuant to 28 U.S.C. §

2201.

        WHEREFORE, the Voter Plaintiffs respectfully request that this Court

enter the relief requested in the Prayer.

                                     COUNT VII

                           Violation of First Amendment
                              (U.S. Const. Amend. I)

                       42 U.S.C. § 1983 and 28 U.S.C. § 2201

                       (All Plaintiffs against All Defendants)

        426. The foregoing Paragraphs 1 to 365 are incorporated and restated here.


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      427. Each Plaintiff intended, until enactment of SB202, to serve as a

“monitor” or “observer” under O.C.G.A. § 21–2–386(a)(2)(B)(vii), (the Gag Rule)

which prohibits “monitors” and “observers,” under penalty of criminal

misdemeanor, from “[c]ommunicating any information that they see while

monitoring the processing and scanning of the absentee ballots, whether

intentionally or inadvertently, about any ballot, vote, or selection to anyone other

than an election official who needs such information to lawfully carry out his or

her official duties.”

      428. Plaintiffs do not challenge restrictions on the disclosure of

information about tallies of contests, including vote tally estimates and trends that

a monitor or observer obtains observing the processing of absentee ballot before

the close of the polls. SB202, however, criminalizes far more, and includes any

information about absentee ballot processing or scanning.

      429. For example, if a monitor or observer (including the public and

members of the press) witnessed scanning machine malfunctions, unsecured

ballots, mishandling of ballots, or improperly rejected ballots, such information

must not be concealed from the Secretary of State, law enforcement, interested

parties and the public. Under SB202, however, if the monitor or observer reported

such discrepancies to someone other than the election official who was responsible




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for the failure, the monitor or observer would be potentially guilty of a criminal

misdemeanor.

       430. The communications criminalized by SB202 occupy the core of

protection afforded by the First Amendment; they penalize conduct that constitutes

protected speech and petitioning of the government.

       431. SB202’s prohibition on protected speech is a prior restraint that

violates the First Amendment to the U.S. Constitution.

       432. This provision of SB202 is unconstitutional on its face and as applied

to the Plaintiffs.

       433. Plaintiffs are at substantial risk of imminent injury and thus are

entitled to prospective injunctive relief against Defendants acting in their official

capacities under color of state law pursuant to 42 U.S.C. § 1983.

       434. Defendants’ intended enforcement of SB202’s unconstitutional

provisions, together with the Plaintiffs’ substantial risk of being targeted by such

enforcement, creates an actual controversy between Defendants and Plaintiffs that

entitles Plaintiff to declaratory relief pursuant to 28 U.S.C. § 2201.

       WHEREFORE, the Plaintiffs respectfully request that this Court enter the

relief requested in the Prayer.




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                                    COUNT VIII

                 Violations of Due Process – Void for Vagueness
                            (U.S. Const. Amend. XIV)

                      42 U.S.C. § 1983 and 28 U.S.C. § 2201

                      (All Plaintiffs against All Defendants)

      435. The foregoing Paragraphs 1 to 365 are incorporated and restated here.

      436. The Estimating Bans, O.C.G.A. § 21–2–386(a)(2)(A) & (B), make it a

misdemeanor for “monitors and observers” to, among other things, tally, tabulate,

estimate, or attempt to tally, tabulate, or estimate, “whether partial or otherwise,

any of the votes on the absentee ballots cast.”

      437. The Estimating Bans violate due process because they criminalizes

the act of thinking about or attempting to think about a tally or tabulation, without

the requirement of any external manifestation or communication of such thoughts.

      438. The Estimating Bans are void for vagueness because they do not

define the criminal offense with sufficient definiteness that ordinary people can

understand what conduct is prohibited.

      439. The Estimating Bans are void for vagueness because they encourages

arbitrary and discriminatory enforcement and permit a standardless sweep that

allows election officials and other state actors to pursue their personal

predilections.




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      440. These provisions of SB202 are unconstitutional on their face and as

applied to the Plaintiffs.

      441. Plaintiffs are at substantial risk of imminent injury and thus are

entitled to prospective injunctive relief against Defendants acting in their official

capacities under color of state law pursuant to 42 U.S.C. § 1983.

      442. Defendants’ intended enforcement of SB202’s unconstitutional

provisions, together with the Plaintiffs’ substantial risk of being targeted by such

enforcement, creates an actual controversy between Defendants and Plaintiffs that

entitles Plaintiff to declaratory relief pursuant to 28 U.S.C. § 2201.

      WHEREFORE, Plaintiffs respectfully request that this Court enter the

relief requested in the Prayer.

                                     COUNT IX

                             Violation of First Amendment
                                (U.S. Const. Amend. I)

                       42 U.S.C. § 1983 and 28 U.S.C. § 2201

                       (All Plaintiffs against All Defendants)

      443. The foregoing Paragraphs 1 to 365 are incorporated and restated here.

      444. The Photography Ban, O.C.G.A. §21-2-568.2 (2)(B), makes it a

misdemeanor to “[p]hotograph or record the face of an electronic ballot marker

while a ballot is being voted or while an elector’s votes are displayed on such

electronic market,” or to “[p]hotograph or record a voted ballot.”


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       445. The Photography Ban violates the First Amendment because it

criminalizes constitutionally protected speech. Photographs of election officials

counting ballots and of voters in the act of voting has been an expected element of

routine election press coverage for well over 100 years across the world.

       446. SB202’s prohibition on protected speech is a prior restraint that

violates the First Amendment to the U.S. Constitution.

       447. This provision of SB202 is unconstitutional on its face and as applied

to the Plaintiffs.

       448. Plaintiffs are at substantial risk of imminent injury and thus are

entitled to prospective injunctive relief against Defendants acting in their official

capacities under color of state law pursuant to 42 U.S.C. § 1983.

       449. Defendants’ intended enforcement of SB202’s unconstitutional

provisions, together with the Plaintiffs’ substantial risk of being targeted by such

enforcement, creates an actual controversy between Defendants and Plaintiffs that

entitles Plaintiff to declaratory relief pursuant to 28 U.S.C. § 2201.

       WHEREFORE, the Plaintiffs respectfully request that this Court enter the

relief requested in the Prayer.




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                                     COUNT X

                 Violations of Due Process – Void for Vagueness
                            (U.S. Const. Amend. XIV)

                       42 U.S.C. § 1983 and 28 U.S.C. § 2201

                       (All Plaintiffs against All Defendants)

      450. The foregoing Paragraphs 1 to 365 and 444 to 449 are incorporated

and restated here.

      451. The Photography Ban is void for vagueness because it does not define

the criminal offense with sufficient definiteness that ordinary people can

understand what conduct is prohibited.

      452. The only reasonable prohibition on photography in polling places,

ballot counting operations, ballot adjudication, or election audits is one that

specifically and narrowly prevents the photography of electronic or hand marked

legible votes on ballots that can be connected to a specific voter. The vague ban on

photographing or “recording” a “voted ballot” is unjustified by any legitimate

government interest, given the fact that ballots are required to be “absolutely

secret” where no one may know who cast any individual ballot. For over 100

years, press photographers have published pictures of voted ballots and voters

standing at voting machines, but with appropriate prohibition on capturing the

votes on the face of the machine in the pre-BMD rare instance that another voter’s

votes could be seen.


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       453. The Photography Ban is void for vagueness because it encourages

arbitrary and discriminatory enforcement and permits a standardless sweep that

allows election officials and other state actors to pursue their personal

predilections. It may ensnare citizens conducting routine activities who have no

intention of or ability to connect a voter and a ballot. For example, required video

surveillance of polling places may capture images of ballots and faces of

touchscreens. Video interviews of poll officials in the polling place or mail ballot

processing locations may easily capture innocuous but prohibited images of voted

ballots and machines.

       454. This provision of SB202 is unconstitutional on its face and as applied

to the Plaintiffs.

       455. Plaintiffs are at substantial risk of imminent injury and thus are

entitled to prospective injunctive relief against Defendants acting in their official

capacities under color of state law pursuant to 42 U.S.C. § 1983.

       456. Defendants’ intended enforcement of SB202’s unconstitutional

provisions, together with the Plaintiffs’ substantial risk of being targeted by such

enforcement, creates an actual controversy between Defendants and Plaintiffs that

entitles Plaintiff to declaratory relief pursuant to 28 U.S.C. § 2201.

       WHEREFORE, Plaintiffs respectfully request that this Court enter the

relief requested in the Prayer.



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                                      COUNT XI

                      Violations of Substantive Due Process
                          & Fundamental Right to Vote
                            (U.S. Const. Amend. XIV)

                      42 U.S.C. § 1983 and 28 U.S.C. § 2201

                 (By the Voter Plaintiffs against All Defendants)

      457. The foregoing Paragraphs 1 to 365 are incorporated and restated here.

      458. The Relaxed Voter ID Rule, O.C.G.A. § 21-2-381(a)(1)(C)(i),

changes the identification that voters must provide to be issued an absentee ballot

from a verifiable signature to the voter’s name, date of birth, address, and voter’s

Georgia’s driver’s license or identification.

      459. Because of the massive breaches of the Secretary of State’s election

servers in the past, the information that is now required to obtain one or more

absentee ballots which will be accepted and counted is available to anyone bent on

voting illegally. As a consequence, there is a substantial risk that the Voter

Plaintiffs will be disenfranchised.

      460. This provision violates the fundamental right to vote that is protected

by the substantive application of the Due Process Clause of the Fourteenth

Amendment to the U.S. Constitution by imposing a burden on voting that is not

justified by any sufficiently weighty government interest.




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        461. This provision of SB202 is unconstitutional on its face and as applied

to the Voter Plaintiffs.

        462. The Voter Plaintiffs are at substantial risk of imminent injury and thus

are entitled to prospective injunctive relief against Defendants acting in their

official capacities under color of state law pursuant to 42 U.S.C. § 1983.

        463. Defendants’ intended enforcement of SB202’s unconstitutional

provisions, together with the Voter Plaintiffs’ substantial risk of being targeted by

such enforcement, creates an actual controversy between Defendants and the Voter

Plaintiffs that entitles Plaintiffs to seek declaratory relief pursuant to 28 U.S.C. §

2201.

        WHEREFORE, the Voter Plaintiffs respectfully request that this Court

enter the relief requested in the Prayer.

                                     COUNT XII

                       Violations of Substantive Due Process
                           & Fundamental Right to Vote
                             (U.S. Const. Amend. XIV)

                       42 U.S.C. § 1983 and 28 U.S.C. § 2201

                  (By the Voter Plaintiffs against All Defendants)

        464. The foregoing Paragraphs 1 to 365 and 458 to 463 are incorporated

and restated here.




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      465. SB202’s unreasonable narrowing of the absentee-by-mail ballot

application window violates the fundamental right to vote that is protected by the

substantive application of the Due Process Clause of the Fourteenth Amendment to

the U.S. Constitution by imposing a burden on voting that is not justified by any

sufficiently weighty government interest.

      466. The ability to vote by absentee ballot is essential for many voters

because of the traditional reasons of age, health, travel, or employment related

conflicts.

      467.    Georgia voters who desire to exercise their constitutional right to a

secret ballot are not offered that option in the polling place and must vote by

absentee ballot, making it crucial that absentee ballots are fully available to all

voters.

      468. Given the intimidation of the polling place as a result of the threat of

prosecution for the Elector Observation Felony, all voters must be given a fair

opportunity to obtain an absentee ballot.

      469. The 11-day pre-election day deadline denies the right to vote by

absentee ballot in most recounts for elections in which the Secretary of State

certifies the election result on the certification deadline.




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        470. The 11-day pre-election day deadline denies the right to vote to voters

who experience unexpected conflicts and cannot be present at the polling place to

vote.

        471. This provision of SB202 is unconstitutional on its face and as applied

to the Voter Plaintiffs.

        472. The Voter Plaintiffs are at substantial risk of imminent injury and thus

are entitled to prospective injunctive relief against Defendants acting in their

official capacities under color of state law pursuant to 42 U.S.C. § 1983.

        473. Defendants’ intended enforcement of SB202’s unconstitutional

provisions, together with the Voter Plaintiffs’ substantial risk of being targeted by

such enforcement, creates an actual controversy between Defendants and the Voter

Plaintiffs that entitles Plaintiff to declaratory relief pursuant to 28 U.S.C. § 2201.

        WHEREFORE, the Voter Plaintiffs respectfully request that this Court

enter the relief requested in the Prayer.

                                    COUNT XIII

                       Violation of Equal Protection Clause
                            (U.S. Const. Amend. XIV)

                       42 U.S.C. § 1983 and 28 U.S.C. § 2201

                  (By the Voter Plaintiffs against all Defendants)

        474. The foregoing Paragraphs 1 to 365, 458 to 463 and 465 to 473 are

incorporated and restated here.


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       475. SB202’s narrowing of the absentee-by-mail ballot application window

violates the Equal Protection Clause of the Fourteenth Amendment to the U.S.

Constitution because, it treats identifiable classes of voters differently than other,

similarly situated voters and creates a substantial risk that some voters’ votes will

be less effective as a result.

       476. The identifiable classes of voters who are disadvantaged by the

narrowed window for mail ballot applications include:

          • voters requiring an absentee ballot in a state office runoff;

          • voters wishing to exercise their right to vote a secret ballot;

          • voters who are intimidated by the risk of the Elector Observation

              Felony;

          • voters who encounter unforeseen medical, employment, or civic duty

              obligations after the 11-day deadline;

          • voters who must mail their runoff election ballot applications from

              long distances; and

          • voters who are at a high risk of COVID-19 infection and cannot be

              vaccinated or who are quarantined.

       477. This provision of SB202 is unconstitutional on its face and as applied

to the Voter Plaintiffs.




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      478. The Voter Plaintiffs are at substantial risk of imminent injury and thus

are entitled to prospective injunctive relief against Defendants acting in their

official capacities under color of state law pursuant to 42 U.S.C. § 1983.

      479. Defendants’ intended enforcement of SB202’s unconstitutional

provisions, together with the Plaintiffs’ substantial risk of being targeted by such

enforcement, creates an actual controversy between Defendants and the Voter

Plaintiffs that entitles Plaintiff to declaratory relief pursuant to 28 U.S.C. § 2201.

      WHEREFORE, the Voter Plaintiffs respectfully request that this Court

enter the relief requested in the Prayer.

                                    COUNT XIV

                       Violation of Equal Protection Clause
                            (U.S. Const. Amend. XIV)

                      42 U.S.C. § 1983 and 28 U.S.C. § 2201

                 (By the Voter Plaintiffs against All Defendants)


      480. The foregoing Paragraphs 1 to 365, 458 to 463, 465 to 473, and 475 to

479 are incorporated and restated here.

      481. SB202’s narrowing of the absentee-by-mail ballot application window

violates the Equal Protection Clause of the Fourteenth Amendment to the U.S.

Constitution because, in the circumstances of the present COVID-19 pandemic,

restricting the pre-existing window for absentee-by-mail voting exposes an



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identifiable class of voters to arbitrary and disparate risk of being completely

disenfranchised.

        482. This provision of SB202 is unconstitutional on its face and as applied

to the Voter Plaintiffs.

        483. The Voter Plaintiffs are at substantial risk of imminent injury and thus

are entitled to prospective injunctive relief against Defendants acting in their

official capacities under color of state law pursuant to 42 U.S.C. § 1983.

        484. Defendants’ intended enforcement of SB202’s unconstitutional

provisions, together with the Voter Plaintiffs’ substantial risk of being targeted by

such enforcement, creates an actual controversy between Defendants and the Voter

Plaintiffs that entitles Plaintiffs to seek declaratory relief pursuant to 28 U.S.C. §

2201.

        WHEREFORE, the Plaintiffs respectfully request that this Court enter the

relief requested in the Prayer.

                              PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs respectfully request that this Court:

        A.    Enter a judgment finding and declaring that the challenged provisions

of SB202 violate the U.S. Constitution or 52 U.S.C. § 10307, or both, on their face

and as applied to the Plaintiffs.




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      B.    Enter a preliminary and permanent injunction prohibiting Defendants

from enforcing the challenged provisions of SB202;

      F.    Retain jurisdiction to ensure all Defendants’ ongoing compliance with

the foregoing Orders;

      G.    Grant the Plaintiffs an award of their reasonable attorney’s fees, costs,

and expenses incurred in this action pursuant to 42 U.S.C. § 1988; and

      H.    Grant the Plaintiffs such other relief as the Court deems just and

proper.

      The 11th day of June, 2021.

      /s/ Bruce P. Brown                       /s/ Cary Ichter
      Bruce P. Brown                           Cary Ichter
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      /s/ Greg K. Hecht                        /s/Shea E. Roberts
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 CERTIFICATE OF SERVICE AND CERTIFICATE OF COMPLIANCE WITH
                       LOCAL RULE 5.1


      Pursuant to N.D. Ga. L.R. 5.1(C), I certify that the foregoing was prepared

using Times New Roman 14 font. I electronically filed this using CM/ECF, thus

electronically serving all counsel of record.

      This 11th day of June, 2021.



                                        /s/ Bruce P. Brown
                                        Bruce P. Brown
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                    Election Integrity Act of 2021, 2021 Ga. SB 202
                                     Enacted, March 25, 2021

Reporter
2021 Ga. ALS 9; 2021 Ga. Laws 9; 2021 Ga. Act 9; 2021 Ga. SB 202




GEORGIA ADVANCE LEGISLATIVE SERVICE > GEORGIA 156TH GENERAL ASSEMBLY
2020-21 REGULAR SESSION > ACT 9 > SENATE BILL NO. 202



Notice
Added: Text highlighted in green
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Synopsis


A BILL TO BE ENTITLED AN ACT To comprehensively revise elections and voting; to amend
Chapter 2 of Title 21 of the Official Code of Georgia Annotated, relating to elections and
primaries generally, so as to revise a definition; to provide for the establishment of a voter
intimidation and illegal election activities hotline; to limit the ability of the State Election Board
and the Secretary of State to enter into certain consent agreements, settlements, and consent
orders; to provide that the Secretary of State shall be a nonvoting ex officio member of the State
Election Board; to provide for the appointment, confirmation, term, and removal of the
chairperson of the State Election Board; to revise provisions relating to a quorum of such board;
to require the Secretary of State to support and assist the State Election Board; to provide for
the appointment of temporary and permanent replacement superintendents; to provide for
procedures; to provide for performance reviews of local election officials requested by the State
Election Board or local governing authorities; to provide for a definition; to provide for
appointment and duties of performance review boards; to provide for reports of performance
review boards; to provide for promulgation of rules and regulations; to provide additional
requirements on the State Election Board’s power to adopt emergency rules and regulations; to
provide that no election superintendents or boards of registrars shall accept private funding; to
provide that the State Election Board shall develop methods for distribution of donations; to
provide that certain persons may serve as poll workers in other than the county of their
residence; to provide for the appointment of acting election superintendents in the event of a
vacancy or incapacitation in the office of judge of the probate court of counties without a board
of elections; to provide for resumption of the duties of election superintendent upon the filling of
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such vacancy; to provide for the compensation of such acting election superintendents; to
provide for the reduction in size of certain precincts under certain circumstances; to provide for
notice when polling places are relocated; to provide for certain reports; to provide limitations on
the use of buses and other moveable facilities; to provide that the name and designation of the
precinct appears on every ballot; to provide for allocation of voting equipment by counties and
municipalities; to provide for the manner of handling the death of a candidate prior to a
nonpartisan election; to provide that no candidate shall take or be sworn into any elected public
office unless such candidate has received a majority of the votes cast for such office except as
otherwise provided by law; to provide for participation in a multistate voter registration system; to
revise procedures and standards for challenging electors; to provide for the printing of ballots on
safety paper; to provide for the time and manner for applying for absentee ballots; to provide for
certain limitations and sanctions on the distribution of absentee ballot applications; to provide for
the manner of processing of absentee ballot applications; to provide for absentee ballot drop
boxes and the requirements therefor; to provide for the time and manner of issuing absentee
ballots; to provide for the manner of voting and returning absentee ballots; to revise the times for
advance voting; to limit changes to advance voting locations in the period prior to an election; to
provide notice requirements for changes of advance voting locations; to provide for the
processing and tabulation of absentee ballots; to provide sanctions for improperly opening an
absentee ballot; to provide for certain elector identification for absentee balloting; to provide for
monitors and observers; to provide for poll watcher training; to provide for restrictions on the
distribution of certain items within close proximity to the polls on election days; to provide for the
voting and processing of provisional ballots; to provide for duplication panels for defective ballots
that cannot be processed by tabulating machines; to provide for ranked choice voting for military
and overseas voters; to revise the time for runoffs; to revise eligibility to vote in runoffs; to
provide for the deadline for election certification; to provide for a pilot program for the scanning
and publishing of ballots; to provide for the inspection and copying of original ballots by certain
persons following the completion of a recount; to provide for special primaries and special
elections to fill vacancies in certain offices; to provide for public notice and observation of
preparation of voting equipment; to provide for observation of elections and ballot processing
and counting; to provide for the filling of vacancies in certain offices; to prohibit observing or
attempting to observe how a voter marks or has marked his or her ballot or inducing a voter to
do so; to prohibit the acceptance of a ballot for return without authorization; to prohibit the
photographing or other recording of ballots and ballot markers; to amend Chapter 35 of Title of
the Official Code of Georgia Annotated, relating to home rule powers, so as to provide for the
delay of reapportionment of municipal corporation election districts when census numbers are
delayed; to amend Title 50 of the Official Code of Georgia Annotated, relating to general
provisions regarding state government, so as to provide for the submission and suspension of
emergency rules by the State Election Board; to provide that scanned ballot images are public
records; to provide for legislative findings; to provide a short title; to provide for related matters;
to provide for effective dates; to repeal conflicting laws; and for other purposes.

Text


BE IT ENACTED BY THE GENERAL ASSEMBLY OF GEORGIA:
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SECTION 1.
     This Act shall be known and may be cited as the “Election Integrity Act of 2021.”


SECTION 2.
     The General Assembly finds and declares that:
     (1) Following the 2018 and 2020 elections, there was a significant lack of confidence in
         Georgia election systems, with many electors concerned about allegations of rampant
         voter suppression and many electors concerned about allegations of rampant voter
         fraud;
     (2) Many Georgia election processes were challenged in court, including the subjective
         signature-matching requirements, by Georgians on all sides of the political spectrum
         before and after the 2020 general election;
     (3) The stress of the 2020 elections, with a dramatic increase in absentee-by-mail ballots
         and pandemic restrictions, demonstrated where there were opportunities to update
         existing processes to reduce the burden on election officials and boost voter
         confidence;
     (4) The changes made in this legislation in 2021 are designed to address the lack of
         elector confidence in the election system on all sides of the political spectrum, to
         reduce the burden on election officials, and to streamline the process of conducting
         elections in Georgia by promoting uniformity in voting. Several examples will help
         explain how these goals are achieved;
     (5) The broad discretion allowed to local officials for advance voting dates and hours led
         to significant variations across the state in total number of hours of advance voting,
         depending on the county. More than 100 counties have never offered voting on
         Sunday and many counties offered only a single day of weekend voting. Requiring
         two Saturday voting days and two optional Sunday voting days will dramatically
         increase the total voting hours for voters across the State of Georgia, and all electors
         in Georgia will have access to multiple opportunities to vote in person on the weekend
         for the first time;
     (6) Some counties in 2020 received significant infusions of grant funding for election
         operations, while other counties received no such funds. Promoting uniformity in the
         distribution of funds to election operations will boost voter confidence and ensure that
         there is no political advantage conferred by preferring certain counties over others in
         the distribution of funds;
     (7) Elections in Georgia are administered by counties, but that can lead to problems for
         voters in counties with dysfunctional election systems. Counties with long-term
         problems of lines, problems with processing of absentee ballots, and other challenges
         in administration need accountability, but state officials are limited in what they are
         able to do to address those problems. Ensuring there is a mechanism to address
         local election problems will promote voter confidence and meet the goal of uniformity;
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(8) Elections are a public process and public participation is encouraged by all involved,
    but the enthusiasm of some outside groups in sending multiple absentee ballot
    applications in 2020, often with incorrectly filled-in voter information, led to significant
    confusion by electors. Clarifying the rules regarding absentee ballot applications will
    build elector confidence while not sacrificing the opportunities for electors to
    participate in the process;
(9) The lengthy absentee ballot process also led to elector confusion, including electors
    who were told they had already voted when they arrived to vote in person. Creating a
    definite period of absentee voting will assist electors in understanding the election
    process while also ensuring that opportunities to vote are not diminished, especially
    when many absentee ballots issued in the last few days before the election were not
    successfully voted or were returned late;
(10) Opportunities for delivering absentee ballots to a drop box were first created by the
    State Election Board as a pandemic response. The drop boxes created by rule no
    longer existed in Georgia law when the emergency rules that created them expired.
    The General Assembly considered a variety of options and constructed a system that
    allows the use of drop boxes, while also ensuring the security of the system and
    providing options in emergency situations;
(11) The lengthy nine-week runoffs in 2020 were exhausting for candidates, donors, and
    electors. By adding ranked choice voting for military and overseas voters, the run-off
    period can be shortened to a more manageable period for all involved, easing the
    burden on election officials and on electors;
(12) Counting absentee ballots in 2020 took an incredibly long time in some counties.
    Creating processes for early processing and scanning of absentee ballots will
    promote elector confidence by ensuring that results are reported quickly;
(13) The sanctity of the precinct was also brought into sharp focus in 2020, with many
    groups approaching electors while they waited in line. Protecting electors from
    improper interference, political pressure, or intimidation while waiting in line to vote is
    of paramount importance to protecting the election system and ensuring elector
    confidence;
(14) Ballot duplication for provisional ballots and other purposes places a heavy burden
    on election officials. The number of duplicated ballots has continued to rise
    dramatically from 2016 through 2020. Reducing the number of duplicated ballots will
    significantly reduce the burden on election officials and creating bipartisan panels to
    conduct duplication will promote elector confidence;
(15) Electors voting out of precinct add to the burden on election officials and lines for
    other electors because of the length of time it takes to process a provisional ballot in a
    precinct. Electors should be directed to the correct precinct on election day to ensure
    that they are able to vote in all elections for which they are eligible;
(16) In considering the changes in 2021, the General Assembly heard hours of testimony
    from electors, election officials, and attorneys involved in voting. The General
    Assembly made significant modifications through the legislative process as it weighed
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          the various interests involved, including adding further weekend voting, changing
          parameters for out-of-precinct voting, and adding transparency for ballot images; and
      (17) While each of the changes in this legislation in 2021 stands alone and is severable
          under Code Section 1-1-3, the changes in total reflect the General Assembly’s
          considered judgment on the changes required to Georgia’s election system to make
          it“easy to vote and hard to cheat,” applying the lessons learned from conducting an
          election in the 2020 pandemic.


SECTION 3.

Chapter 2 of Title 21 of the Official Code of Georgia Annotated, relating to elections and
primaries generally, is amended by revising paragraph (35) of Code Section 21-2-2, relating to
definitions, as follows:
   “(35) ‘Superintendent’ means:
      (A) Either the judge of the probate court of a county or the county board of elections, the
          county board of elections and registration, the joint city-county board of elections, or
          the joint city-county board of elections and registration, if a county has such;
      (B) In the case of a municipal primary, the municipal executive committee of the political
          party holding the primary within a municipality or its agent or, if none, the county
          executive committee of the political party or its agent;
      (C) In the case of a nonpartisan municipal primary, the person appointed by the proper
          municipal executive committee; and
      (D) In the case of a municipal election, the person appointed by the governing authority
          pursuant to the authority granted in Code Section 21-2-70; and
      (E) In the case of the State Election Board exercising its powers under subsection (f) of
          Code Section 21-2-33.1, the individual appointed by the State Election Board to
          exercise the power of election superintendent.”


SECTION 4.

Said chapter is further amended by revising Code Section 21-2-3, which was previously
reserved, as follows:
   “21-2-3.
         The Attorney General shall have the authority to establish and maintain a telephone
         hotline for the use of electors of this state to file complaints and allegations of voter
         intimidation and illegal election activities. Such hotline shall, in addition to complaints
         and reports from identified persons, also accept anonymous tips regarding voter
         intimidation and election fraud. The Attorney General shall have the authority to
         review each complaint or allegation of voter intimidation or illegal election activities
         within three business days or as expeditiously as possible and determine if such
         complaint or report should be investigated or prosecuted.Reserved.”
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SECTION 5.

Said chapter is further amended by revising Code Section 21-2-30 relating to creation,
composition, terms of service, vacancies, quorum, seal, bylaws, and meetings of the State
Board of Elections as follows:
   “21-2-30.
      (a) There is created a state board to be known as the State Election Board, to be
          composed of the Secretary of Statea chairperson elected by the General Assembly,
          an elector to be elected by a majority vote of the Senate of the General Assembly at
          its regular session held in each odd-numbered year, an elector to be elected by a
          majority vote of the House of Representatives of the General Assembly at its regular
          session held in each odd-numbered year, and a member of each political party to be
          nominated and appointed in the manner provided in this Code section. No person
          while a member of the General Assembly shall serve as a member of the board.
      (a.1)
         (1) The chairperson shall be elected by the General Assembly in the following
             manner: A joint resolution which shall fix a definite time for the nomination and
             election of the chairperson may be introduced in either branch of the General
             Assembly. Upon passage of the resolution by a majority vote of the membership
             of the Senate and House of Representatives, it shall be the duty of the Speaker of
             the House of Representatives to call for the nomination and election of the
             chairperson at the time specified in the resolution, at which time the name of the
             qualified person receiving a majority vote of the membership of the House of
             Representatives shall be transmitted to the Senate for confirmation. Upon the
             qualified person’s receiving a majority vote of the membership of the Senate, he or
             she shall be declared the duly elected chairperson; and the Governor shall be
             notified of his or her election by the Secretary of the Senate. The Governoris
             directed to administer the oath of office to the chairperson and to furnish the
             chairperson with a properly executed commission of office certifying his or her
             election.
         (2) The chairperson of the board shall be nonpartisan. At no time during his or her
             service as chairperson shall the chairperson actively participate in a political party
             organization or in the campaign of a candidate for public office, nor shall he or she
             make any campaign contributions to a candidate for public office. Furthermore, to
             qualify for appointment as chairperson, in the two years immediately preceding his
             or her appointment, a person shall not have qualified as a partisan candidate for
             public office, participated in a political party organization or the campaign of a
             partisan candidate for public office, or made any campaign contributions to a
             partisan candidate for public office.
         (3) The term of office of the chairperson shall continue until a successor is elected as
             provided in paragraph (1) of this subsection. In the event of a vacancy in the
             position of chairperson at a time when the General Assembly is not in session, it
             shall be the duty of the Governor and the Governor is empowered and directed to
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       appoint a chairperson possessing the qualifications as provided in this subsection
       who shall serve as chairperson until the next regular session of the General
       Assembly, at which time the nomination and election of a chairperson shall be
       held by the General Assembly as provided in paragraph (1) of this subsection.
(b) A member elected by a house of the General Assembly shall take office on the day
    following the adjournment of the regular session in which elected and shall serve for a
    term of two years and until his or her successor is elected and qualified, unless
    sooner removed. An elected member of the board may be removed at any time by a
    majority vote of the house which elected him or her. In the event a vacancy should
    occur in the office of such a member of the board at a time when the General
    Assembly is not in session, then the President of the Senate shall thereupon appoint
    an elector to fill the vacancy if the prior incumbent of such office was elected by the
    Senate or appointed by the President of the Senate; and the Speaker of the House of
    Representatives shall thereupon appoint an elector to fill the vacancy if the prior
    incumbent of such office was elected by the House of Representatives or appointed
    by the Speaker of the House of Representatives. A member appointed to fill a
    vacancy may be removed at any time by a majority vote of the house whose presiding
    officer appointed him or her.
(c) Within 30 days after April 3, 1968, the state executive committee of each political
    party shall nominate a member of its party to serve as a member of the State Election
    Board and, thereupon, the Governor shall appoint such nominee as a member of the
    board to serve for a term of two years from the date of the appointment and until his
    or her successor is elected and qualified, unless sooner removed. Thereafter, such
    state executive committee shall select a nominee for such office on the board within
    30 days after a vacancy occurs in such office and shall also select a nominee at least
    30 days prior to the expiration of the term of each incumbent nominated by it; and
    each such nominee shall be immediately appointed by the Governor as a member of
    the board to serve for the unexpired term in the case of a vacancy, and for a term of
    two years in the case of an expired term. Each successor, other than one appointed
    to serve an unexpired term, shall serve for a term of two years; and the terms shall
    run consecutively from the date of the initial gubernatorial appointment. No person
    shall be eligible for nomination by such state executive committee unless he or she is
    an elector and a member in good standing of the political party of the committee.
    Such a member shall cease to serve on the board and his or her office shall be
    abolished if and when his or her political organization shall cease to be a ‘political
    party’ as defined in Code Section 21-2-2.
(d) The Secretary of State shall be the chairperson of the boardan ex officio nonvoting
    member of the board. Three voting members of the board shall constitute a quorum,
    and no vacancy on the board shall impair the right of the quorum to exercise all the
    powers and perform all the duties of the board. The board shall adopt a seal for its
    use and bylaws for its own government and procedure.
(e) Meetings shall be held whenever necessary for the performance of the duties of the
    board on call of the chairperson or whenever any two of its members so request.
    Minutes shall be kept of all meetings of the board and a record kept of the vote of
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          each member on all questions coming before the board. The chairperson shall give to
          each member of the board prior notice of the time and place of each meeting of the
          board.
      (f) If any member of the board, other than the Secretary of State, shall qualify as a
           candidate for any public office which is to be voted upon in any primary or election
           regulated by the board, that member’s position on the board shall be immediately
           vacated and such vacancy shall be filled in the manner provided for filling other
           vacancies on the board.”


SECTION 6.

Said chapter is further amended in Code Section 21-2-33.1, relating to enforcement of chapter,
by adding new subsections to read as follows:
   “(f) After following the procedures set forth in Code Section 21-2-33.2, the State Election
        Board may suspend county or municipal superintendents and appoint an individual to
        serve as the temporary superintendent in a jurisdiction. Such individual shall exercise all
        the powers and duties of a superintendent as provided by law, including the authority to
        make all personnel decisions related to any employees of the jurisdiction who assist with
        carrying out the duties of the superintendent, including, but not limited to, the director of
        elections, the election supervisor, and all poll officers.
   (g) At no time shall the State Election Board suspend more than four county or municipal
       superintendents pursuant to subsection (f) of this Code section.
   (h) The Secretary of State shall, upon the request of the State Election Board, provide any
       and all necessary support and assistance that the State Election Board, in its sole
       discretion, determines is necessary to enforce this chapter or to carry out or conduct any
       of its duties.”


SECTION 7.

Such chapter is further amended in Subpart 1 of Part 1 of Article 2, relating to the State Election
Board, by adding a new Code section to read as follows:
   “21-2-33.2.
      (a) The governing authority of a county or municipality, as applicable, following a
          recommendation based on an investigation by a performance review board pursuant
          to Code Section 21-2-106 may petition the State Election Board, through the
          Secretary of State, for extraordinary relief pursuant to this Code section. In addition,
          the State Election Board, on its own motion or following a recommendation based on
          an investigation by a performance review board pursuant to Part 5 of this article, may
          pursue the extraordinary relief provided in this Code section.
      (b) Upon receiving a petition or taking appropriate action pursuant to subsection (a) of
          this Code section, the State Election Board shall conduct a preliminary investigation
          to determine if sufficient cause exists to proceed to a full hearing on the petition. Such
          preliminary investigation shall be followed by a preliminary hearing which shall take
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      place not less than 30 days nor more than 90 days after the Secretary of State
      receives the petition. Service of the petition shall be made by hand delivery or by
      statutory overnight delivery to the Secretary of State’s office. At such preliminary
      hearing, the State Election Board shall determine if sufficient cause exists to proceed
      to a full hearing on the petition or if the petition should be dismissed. The State
      Election Board shall promulgate rules and regulations for conducting such preliminary
      investigation and preliminary hearing.
(c) Following the preliminary hearing described in subsection (b) of this Code section, the
    State Election Board may suspend a county or municipal superintendent pursuant to
    this Code section if at least three members of the board find, after notice and hearing,
    that:
      (1) By a preponderance of the evidence, a county or municipal superintendent has
          committed at least three violations of this title or of State Election Board rules and
          regulations, in the last two general election cycles; and the county or municipal
          superintendent has not sufficiently remedied the violations; or
      (2) By clear and convincing evidence, the county or municipal superintendent has, for
          at least two elections within a two-year period, demonstrated nonfeasance,
          malfeasance, or gross negligence in the administration of the elections.
(d) A majority of the members of a board of elections, board of elections and registration,
    or county commission; a probate judge who serves as election superintendent, or, for
    a sole commissioner form of government, a sole commissioner may petition the
    Secretary of State to continue any hearing scheduled pursuant to this Code section.
    Upon a showing of good cause, the State Election Board may in its sound discretion
    continue any such hearing. Notwithstanding any other provision of law, deliberations
    held on such petition by the State Election Board shall not be open to the public;
    provided, however, that testimony shall be taken in an open meeting and a vote on
    the recommendation shall be taken in an open meeting following the hearing or at the
    next regularly scheduled meeting.
(e)
      (1) If the State Election Board makes a finding in accordance with subsection (c) of
           this Code section, it may suspend the superintendent or board of registrars with
           pay and appoint an individual to serve as the temporary superintendent. The
           temporary superintendent who is appointed shall be otherwise qualified to serve or
           meet the necessary qualifications within three months of appointment.
      (2) Any superintendent suspended under this Code section may petition the State
          Election Board for reinstatement no earlier than 30 days following suspension and
          no later than 60 days following suspension. In the event that a suspended
          superintendent or registrar does not petition for reinstatement within the allotted
          time period, his or her suspension shall be converted into permanent removal, and
          the temporary superintendent shall become a permanent superintendent subject
          to removal by the jurisdiction not less than nine months after his or her
          appointment.
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   (3) If, after the expiration of the nine-month period following the appointment, the
        jurisdiction removes the permanent superintendent, any provisions of local or
        general law governing appointment of the superintendent shall govern the
        appointment of the superintendent.
   (4) If, at any time after the expiration of the nine-month period following the
        appointment, at least three members of the State Election Board find, after notice
        and hearing, that the jurisdiction no longer requires a superintendent appointed
        under this Code section, any provisions of local or general law governing
        appointment of the superintendent shall govern the appointment of the
        superintendent.
(f) Upon petition for reinstatement by a superintendent suspended pursuant to a finding
     under paragraph (1) of subsection (c) of this Code section, the State Election Board
     shall conduct a hearing for the purpose of receiving evidence relative to whether the
     superintendent’s continued service as superintendent is more likely than not to
     improve the ability of the jurisdiction to conduct elections in a manner that complies
     with this chapter. The suspended superintendent shall be given at least 30 days’
     notice prior to such hearing and such hearing shall be held no later than 90 days after
     the petition is filed in accordance with Chapter 13 of Title 50, the ‘Georgia
     Administrative Procedure Act,’ except that the State Election Board shall have the
     power to call witnesses and request documents on its own initiative. If the State
     Election Board denies the petition, it shall be deemed a final agency decision under
     Chapter 13 of Title 50, the ‘Georgia Administrative Procedure Act,’ and it may be
     appealed in a manner consistent with Code Section 50-13-19. The Attorney General
     or his or her designee shall represent the interests of the State Election Board in any
     such judicial review.
(g) A local government shall not expend any public funds for attorneys’ fees or expenses
    of litigation relating to the proceedings initiated pursuant to this Code section except
    to the extent such fees and expenses are incurred prior to and through the
    recommendation of the State Election Board as provided in subsection (c) of this
    Code section; provided, however, that nothing in this subsection shall be construed to
    prohibit an insurance provider from covering attorneys’ fees or expenses of litigation
    under an insurance policy. Any suspended superintendent who is reinstated by the
    State Election Board pursuant to this Code section may be reimbursed by the local
    government for his or her reasonable attorneys’ fees and related expenses incurred in
    pursuing such reinstatement.
(h) For purposes of this Code section, where a judge of probate court serves as the
    superintendent, the suspension authorized by this Code section shall apply only to
    the judge of probate court’s duties as a superintendent and not as a judge of probate
    court.
(i) When the State Election Board exercises its authority under subsection (f) of Code
    Section 21-2-33.1, the jurisdiction involved shall not diminish or reduce the funds
    already budgeted or appropriated by the jurisdiction pursuant to Code Section 21-2-
    71 and shall pay any necessary and reasonable funds over that amount, as
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          determined by the temporary superintendent, to faithfully carry out their obligations
          under Code Section 21-2-70.”


SECTION 8.

Said chapter is further amended in Subpart 1 of Part 1 of Article 2, relating to the State Election
Board, by adding new Code sections to read as follows:
   “21-2-35.
      (a) Notwithstanding any other provision of this chapter, Chapter 3 of Title 38, relating to
          emergency management, or Chapter 13 of Title 50, the“Georgia Administrative
          Procedure Act,” to the contrary, the State Election Board may only adopt emergency
          rules or regulations in circumstances of imminent peril to public health, safety, or
          welfare. To adopt any such emergency rule or regulation, in addition to any other rule-
          making requirement of this chapter or Chapter 13 of Title 50, the State Election Board
          shall:
          (1) Give notice to the public of its intended action;
          (2) Immediately upon the setting of the date and time of the meeting at which such
               emergency rule or regulation is to be considered give notice by email of its
               intended action to:
               (A) The Governor;
               (B) The Lieutenant Governor;
               (C) The Speaker of the House of Representatives;
               (D) The chairpersons of the standing committees of each house of the General
                   Assembly tasked with election matters;
               (E) Legislative counsel; and
               (F) The chief executive officer of each political party registered pursuant to
                   subsection (a) of Code Section 21-2-110; and
          (3) State in the notices required by paragraphs (1) and (2) of this subsection the
              nature of the emergency and the manner in which such emergency represents an
              imminent peril to public health, safety, or welfare.
      (b) Upon adoption or promulgation of any emergency rule or regulation pursuant to this
          Code section, a majority of the State Election Board shall certify in writing that such
          emergency rule or regulation was made in strict and exact compliance with the
          provisions of this chapter and subsection (e) of Code Section 50-13-4.
      (c) In the event of any conflict between this Code section and any provision of Chapter 13
           of Title 50, this Code section shall govern and supersede any such conflicting
           provision.
   21-2-36.
          The State Election Board, the members thereof, the Secretary of State, and any of
          their attorneys or staff, at least five business days prior to entering into any consent
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          agreement, settlement, or consent order that limits, alters, or interprets any provision
          of this chapter, shall notify the House of Representatives and Senate Committees on
          the Judiciary of such proposed consent agreement, settlement, or consent order.”


SECTION 9.

Said chapter is further amended by revising Code Section 21-2-71, relating to payment by
county or municipality of superintendent’s expenses, as follows:
   “21-2-71.
      (a) The governing authority of each county or municipality shall appropriate annually and
          from time to time, to the superintendent of such county or municipality, the funds that
          it shall deem necessary for the conduct of primaries and elections in such county or
          municipality and for the performance of his or her other duties under this chapter,
          including:
          (1) Compensation of the poll officers, custodians, and other assistants and employees
              provided for in this chapter;
          (2) Expenditures and contracts for expenditures by the superintendent for polling
              places;
          (3) Purchase or printing, under contracts made by the superintendent, of all ballots
              and other election supplies required by this chapter, or which the superintendent
              shall consider necessary to carry out the provisions of this chapter;
          (4) Maintenance of all voting equipment required by this chapter, or which the
              superintendent shall consider necessary to carry out this chapter; and
          (5) All other expenses arising out of the performance of his or her duties under this
              chapter.
      (b) No superintendent shall take or accept any funding, grants, or gifts from any source
          other than from the governing authority of the county or municipality, the State of
          Georgia, or the federal government.
      (c) The State Election Board shall study and report to the General Assembly a proposed
          method for accepting donations intended to facilitate the administration of elections
          and a method for an equitable distribution of such donations state wide by October 1,
          2021.”


SECTION 10.

Said chapter is further amended in Part 3 of Article 2, relating to superintendents, by adding a
new Code section to read as follows:
   “21-2-74.1.
      (a) If a county does not have a board of elections and:
          (1) There is a vacancy in the office of judge of the probate court that has not been
              filled pursuant to Code Section 15-9-10 or 15-9-11; or
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          (2) The judge of the probate court is incapacitated and unable to perform the duties of
              the election superintendent for a period of more than five days;
             The chief judge of the superior court in the circuit to which the county is assigned
             shall appoint a qualified individual to serve as the acting election superintendent
             during such vacancy or incapacitation.
      (b) Upon the filling of a vacancy in the office of judge of the probate court pursuant to
          Code Section 15-9-10 or 15-9-11, the judge of the probate court shall resume the
          duties of the election superintendent.
      (c) The sole county commissioner or the board of county commissioners shall fix the
          compensation of the individual who serves as acting election superintendent until the
          vacancy is filled or the incapacitation ends. The compensation shall be paid from the
          general funds of the county.”


SECTION 11.

Said chapter is further amended by revising subsection (a) of Code Section 21-2-92, relating to
qualifications of poll officers, service during municipal election or primary, and Student Teen
Election Participant (STEP) program, as follows:
   “(a)
      (1) Poll officers appointed pursuant to Code Sections 21-2-90 and 21-2-91 shall be
          judicious, intelligent, and upright citizens of the United States, residents of or
          otherwise employed by the county in which they are appointed except as otherwise
          provided in paragraph (2) of this subsection or, in the case of municipal elections,
          residents of or otherwise employed by the municipality in which the election is to be
          held or of the county in which that municipality is located, 16 years of age or over, and
          shall be able to read, write, and speak the English language. No poll officer shall be
          eligible for any nomination for public office or to be voted for at a primary or election
          at which the poll officer shall serve. No person who is otherwise holding public office,
          other than a political party office, shall be eligible to be appointed as or to serve as a
          poll officer. A parent, spouse, child, brother, sister, father-in-law, mother-in-law, son-
          in-law, daughter-in-law, brother-in-law, or sister-in-law of a candidate shall not be
          eligible to serve as a poll officer in any precinct in which such candidate’s name
          appears on the ballot in any primary or election.
      (2) A poll officer may be allowed to serve in a county that adjoins the county in which
          such poll officer resides if, in the discretion of the election superintendent of the
          county in which such person resides, the waiver of such county residency or county
          employment requirements of paragraph (1) of this subsection do not impair the ability
          of the county to provide adequate staff for the performance of election duties under
          this chapter and if, in the discretion of the county election superintendent in which
          such person wishes to serve, sufficient need for more poll officers exists.”


SECTION 12.
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Said chapter is further amended in Article 2, relating to supervisory boards and officers, by
adding a new part to read as follows:”
   Part 5
      21-2-105.
               As used in this part, the term ‘local election official’ means:
               (1) A county board of elections or a county board of elections and registration
                   established pursuant to Code Section 21-2-40;
               (2) A judge of the probate court fulfilling the role of election superintendent; or
               (3) A municipal election superintendent.
      21-2-106.
            (a) The following officials may request that a performance review of a local election
                official be conducted:
               (1) The governing authority of the same jurisdiction as the local election official;
               (2) For counties represented by more than three members of the Georgia House of
                   Representatives and Georgia Senate, at least two members of the Georgia
                   House of Representatives and two members of the Georgia Senate who
                   represent the county; and
               (3) For counties represented by fewer than four members of the Georgia House of
                   Representatives and Georgia Senate, at least one member of the Georgia
                   House of Representatives and one member of the Georgia Senate who
                   represent the county.
                   Such request shall be transmitted to the State Election Board which shall
                   appoint an independent performance review board within 30 days after
                   receiving such resolution. The State Election Board shall appoint three
                   competent persons to serve as members of the performance review board, one
                   of whom shall be an employee of the elections division of the Secretary of
                   State and two of whom shall be local election officials, provided that no such
                   appointee shall be a local election official for the county or municipality, as
                   applicable, under review.
            (b) It shall be the duty of a performance review board to make a thorough and
                complete investigation of the local election official with respect to all actions of the
                local election official regarding the technical competency in the maintenance and
                operation of election equipment, proper administration and oversight of
                registration and elections, and compliance with state law and regulations. The
                performance review board shall issuea written report of its findings to the
                Secretary of State, the State Election Board, and the local governing authority
                which shall include such evaluations, judgments, and recommendations as it
                deems appropriate. The local governing authority shall reimburse the members of
                the performance review board for reasonable expenses incurred in the
                performance of their duties, including mileage, meals, lodging, and costs of
                materials.
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          (c) The findings of the report of the review board under subsection (b) of this Code
              section or of any audit or investigation performed by the State Election Board may
              be grounds for removal of one or more local election officials pursuant to Code
              Section 21-2-33.2.
      21-2-107.
          (a) The State Election Board shall appoint an independent performance review board
              on its own motion if it determines that there is evidence which calls into question
              the competence of a local election official regarding the oversight and
              administration of elections, voter registration, or both, with state law and
              regulations.
          (b) The State Election Board shall appoint three competent persons to serve as
              members of the performance review board, one of whom shall be an employee of
              the elections division of the office of Secretary of State and two of whom shall be
              local election officials, provided that none of the three appointees shall be a local
              election official for the county or municipality under review.
          (c) The performance review board shall issue a written report of its findings to the
              State Election Board and the Secretary of State and the applicable local governing
              authority, which shall include such evaluations, judgments, and recommendations
              as it deems appropriate. The local governing authority shall reimburse the
              members of the performance review board for reasonable expenses incurred in
              the performance of their duties, including mileage, meals, lodging, and costs of
              materials.
          (d) The findings of the report of the performance review board under subsection (c) of
              this Code section or of any audit or investigation performed by the State Election
              Board may be grounds for removal of a local election official pursuant to Code
              Section 21-2-33.2.
      21-2-108.
             The State Election Board shall promulgate such rules and regulations as may be
             necessary for the administration of this part.”


SECTION 13.

Said chapter is further amended in Code Section 21-2-134, relating to withdrawal, death, or
disqualification of candidate for office, return of qualifying fee, and nomination certificate, by
adding a new subsection to read as follows:
   “(g) In the event of the death of a candidate on the ballot in a nonpartisan election priorto
       such nonpartisan election, such candidate’s name shall remain on the ballot and all votes
       cast for such candidate shall be counted. If the deceased candidate receives the
       requisite number of votes to be elected, such contest shall be handled as a failure to fill
       the office under Code Section 21-2-504. If the deceased candidate receives enough
       votes to be in a run-off election, such run-off election shall be conducted as provided in
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       Code Section 21-2-501 and the candidates in such runoff shall be determined in
       accordance with paragraph (2) of subsection (a) of Code Section 21-2-501.”


SECTION 14.

Said chapter is further amended by revising subsection (f) of Code Section 21-2-212, relating to
county registrars, appointment, certification, term of service, vacancies, compensation and
expenses of chief registrar, registrars, and other officers and employees, and budget estimates,
as follows:
   “(f) The board of registrars of each county shall prepare annually a budget estimate in which
        it shall set forth an itemized list of its expenditures for the preceding two years and an
        itemized estimate of the amount of money necessary to be appropriated for the ensuing
        year and shall submit the same at the time and in the manner and form other county
        budget estimates are required to be filed. No board of registrars shall take or accept any
        funding, grants, or gifts from any source other than from the governing authority of the
        county, the State of Georgia, or the federal government.”


SECTION 15.

Said chapter is further amended by revising Code Section 21-2-229, relating to challenge of
applicant for registration by other electors, notice and hearing, and right of appeal, as follows:
   “21-2-229.
      (a) Any elector of a county or municipality may challenge the qualifications of any person
          applying to register to vote in the county or municipality and may challenge the
          qualifications of any elector of the county or municipality whose name appears on the
          list of electors. Such challenges shall be in writing and shall specify distinctly the
          grounds of the challenge. There shall not be a limit on the number of persons whose
          qualifications such elector may challenge.
      (b) Upon such challenge being filed with the board of registrars, the registrars shall set a
          hearing on such challenge within ten business days after serving notice of the
          challenge. Notice of the date, time, and place of the hearing shall be served upon the
          person whose qualifications are being challenged along with a copy of such challenge
          and upon the elector making the challenge within ten business days following the
          filing of the challenge. The person being challenged shall receive at least three days’
          notice of the date, time, and place of the hearing. Such notice shall be served either
          by first-class mail addressed to the mailing address shown on the person’s voter
          registration records or in the manner provided in subsection (c) of Code Section 21-2-
          228.
      (c) The burden shall be on the elector making the challenge to prove that the person
          being challenged is not qualified to remain on the list of electors. The board of
          registrars shall have the authority to issue subpoenas for the attendance of witnesses
          and the production of books, papers, and other material upon application by the
          person whose qualifications are being challenged or the elector making the challenge.
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          The party requesting such subpoenas shall be responsible to serve such subpoenas
          and, if necessary, to enforce the subpoenas by application to the superior court. Any
          witness so subpoenaed, and after attending, shall be allowed and paid the same
          mileage and fee as allowed and paid witnesses in civil actions in the superior court.
       (d) After the hearing provided for in this Code section, the registrars shall determine said
           challenge and shall notify the parties of their decision. If the registrars uphold the
           challenge, the person’s application for registration shall be rejected or the person’s
           name removed from the list of electors, as appropriate. The elector shall be notified of
           such decision in writing either by first-class mail addressed to the mailing address
           shown on the person’s voter registration records or in the manner provided in
           subsection (c) of Code Section 21-2-228 for other notices.
       (e) Either party shall have a right of appeal from the decision of the registrars to the
           superior court by filing a petition with the clerk of the superior court within ten days
           after the date of the decision of the registrars. A copy of such petition shall be served
           upon the other parties and the registrars. Unless and until the decision of the
           registrars is reversed by the court, the decision of the registrars shall stand.
       (f) Failure to comply with the provisions of this Code section by the board of registrars
            shall subject such board to sanctions by the State Election Board.”


SECTION 16.

Said chapter is further amended by revising Code Section 21-2-230, relating to challenge of
persons on list of electors by other electors, procedure;, hearing, and right of appeal, as follows:
   “21-2-230.
       (a) Any elector of the county or municipality may challenge the right of any other elector
           of the county or municipality, whose name appears on the list of electors, to vote in an
           election. Such challenge shall be in writing and specify distinctly the grounds of such
           challenge. Such challenge may be made at any time prior to the elector whose right
           to vote is being challenged voting at the elector’s polling place or, if such elector cast
           an absentee ballot, prior to 5:00 P.M. on the day before the electionabsentee ballots
           are to begin to be scanned and tabulated; provided, however, that challenges to
           persons voting by absentee ballot in person at the office of the registrars or the
           absentee ballot clerk shall be made prior to such person’s voting. There shall not be a
           limit on the number of persons whose qualifications such elector may challenge.
       (b) Upon the filing of such challenge, the board of registrars shall immediately consider
           such challenge and determine whether probable cause exists to sustain such
           challenge. If the registrars do not find probable cause, the challenge shall be denied.
           If the registrars find probable cause, the registrars shall notify the poll officers of the
           challenged elector’s precinct or, if the challenged elector voted by absentee ballot,
           notify the poll officers at the absentee ballot precinct and, if practical, notify the
           challenged elector and afford such elector an opportunity to answer.
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(c) If the challenged elector appears at the polling place to vote, such elector shall be
     given the opportunity to appear before the registrars and answer the grounds of the
     challenge.
(d) If the challenged elector does not cast an absentee ballot and does not appear at the
    polling place to vote and if the challenge is based on grounds other than the
    qualifications of the elector to remain on the list of electors, no further action by the
    registrars shall be required.
(e) If the challenged elector cast an absentee ballot and it is not practical to conduct a
     hearing prior to the close of the polls and the challenge is based upon grounds other
     than the qualifications of the elector to remain on the list of electors, the absentee
     ballot shall be treated as a challenged ballot pursuant to subsection (e) of Code
     Section 21-2-386. No further action by the registrars shall be required.
(f) If the challenged elector does not cast an absentee ballot and does not appear at the
     polling place to vote and the challenge is based on the grounds that the elector is not
     qualified to remain on the list of electors, the board of registrars shall proceed to hear
     the challenge pursuant to Code Section 21-2-229.
(g) If the challenged elector cast an absentee ballot and the challenge is based upon
    grounds that the challenged elector is not qualified to remain on the list of electors,
    the board of registrars shall proceed to conduct a hearing on the challenge on an
    expedited basis prior to the certification of the consolidated returns of the election by
    the election superintendent. The election superintendent shall not certify such
    consolidated returns until such hearing is complete and the registrars have rendered
    their decision on the challenge. If the registrars deny the challenge, the
    superintendent shall proceed to certify the consolidated returns. If the registrars
    uphold the challenge, the name of the challenged elector shall be removed from the
    list of electors and the ballot of the challenged elector shall be rejected and not
    counted and, if necessary, the returns shall be adjusted to remove any votes cast by
    such elector. The elector making the challenge and the challenged elector may
    appeal the decision of the registrars in the same manner as provided in subsection
    (e) of Code Section 21-2-229.
(h) If the challenged elector appears at the polls to vote and it is practical to conduct a
    hearing on the challenge prior to the close of the polls, the registrars shall conduct
    such hearing and determine the merits of the challenge. If the registrars deny the
    challenge, the elector shall be permitted to vote in the election notwithstanding the
    fact that the polls may have closed prior to the time the registrars render their
    decision and the elector can actually vote, provided that the elector proceeds to vote
    immediately after the decision of the registrars. If the registrars uphold the challenge,
    the challenged elector shall not be permitted to vote and, if the challenge is based
    upon the grounds that the elector is not qualified to remain on the list of electors, the
    challenged elector’s name shall be removed from the list of electors.
(i) If the challenged elector appears at the polls to vote and it is not practical to conduct a
      hearing prior to the close of the polls or if the registrars begin a hearing and
      subsequently find that a decision on the challenge cannot be rendered within a
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          reasonable time, the challenged elector shall be permitted to vote by casting a
          challenged ballot on the same type of ballot that is used by the county or municipality
          for provisional ballots. Such challenged ballot shall be sealed in double envelopes as
          provided in subsection (a) of Code Section 21-2-419 and, after having the word
          ‘Challenged,’ the elector’s name, and the alleged cause of the challenge written
          across the back of the outer envelope, the ballot shall be deposited by the person
          casting such ballot in a secure, sealed ballot box notwithstanding the fact that the
          polls may have closed prior to the time the registrars make such a determination,
          provided that the elector proceeds to vote immediately after such determination of the
          registrars. In such cases, if the challenge is based upon the grounds that the
          challenged elector is not qualified to remain on the list of electors, the registrars shall
          proceed to finish the hearing prior to the certification of the consolidated returns of the
          election by the election superintendent. If the challenge is based on other grounds, no
          further action shall be required by the registrars. The election superintendent shall not
          certify such consolidated returns until such hearing is complete and the registrars
          have rendered their decision on the challenge. If the registrars deny the challenge,
          the superintendent shall proceed to certify the consolidated returns. If the registrars
          uphold the challenge, the name of the challenged elector shall be removed from the
          list of electors and the ballot of the challenged elector shall be rejected and not
          counted and, if necessary, the returns shall be adjusted to remove any votes cast by
          such elector. The elector making the challenge and the challenged elector may
          appeal the decision of the registrars in the same manner as provided in subsection
          (e) of Code Section 21-2-229.
      (j) Failure to comply with the provisions of this Code section by the board of registrars
           shall subject such board to sanctions by the State Election Board.”


SECTION 17.

Said chapter is further amended in subsection (b) of Code Section 21-2-232, relating to removal
of elector’s name from list of electors, by adding a new paragraph to read as follows:
   “(3) Once becoming a member of the nongovernmental entity described in subsection (d) of
       Code Section 21-2-225, the Secretary of State shall obtain regular information from such
       entity regarding electors who may have moved to another state, died, or otherwise
       become ineligible to vote in Georgia. The Secretary of State shall use such information to
       conduct list maintenance on the list of eligible electors.”


SECTION 18.

Said chapter is further amended by revising Code Section 21-2-263, relating to reduction in size
of, or provision of additional voting equipment or poll workers to, precincts containing more than
2,000 electors when voting in such precincts at previous general election not completed one
hour after closing of polls, as follows:
   “21-2-263.
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      (a) If, at the previous general election, a precinct contained more than 2,000 electors and
           if all those electors desiring to vote had not completed voting one hour following the
           closing of the polls, the superintendent shall either reduce the size of said precinct so
           that it shall contain not more than 2,000 electors in accordance with the procedures
           prescribed by this chapter for the division, alteration, and consolidation of precincts no
           later than 60 days before the next general election or provide additional voting
           equipment or poll workers, or both, before the next general election. For administering
           this Code section, the chief manager of a precinct which contained more than 2,000
           electors at the previous general election shall submit a report thereof, under oath, to
           the superintendent as to the time required for completion of voting by all persons in
           line at the time the polls were closed. Any such change in the boundaries of a
           precinct shall conform with the requirements of subsection (a) of Code Section 21-2-
           261.1.
      (b) If, at the previous general election, a precinct contained more than 2,000 electors and
          if electors desiring to vote on the day of the election had to wait in line for more than
          one hour before checking in to vote, the superintendent shall either reduce the size of
          such precinct so that it shall contain not more than 2,000 electors in accordance with
          the procedures prescribed by this chapter for the division, alteration, and
          consolidation of precincts no later than 60 days before the next general election or
          provide additional voting equipment or poll workers, or both, before the next general
          election. For administering this Code section, the chief manager of a precinct which
          contained more than 2,000 electors at the previous general election shall submit a
          report thereof to the superintendent of the reported time from entering the line to
          checking in to vote. Such wait time shall be measured no fewer than three different
          times throughout the day (in the morning, at midday, and prior to the close of polls)
          and such results shall be recorded on a form provided by the Secretary of State. Any
          such change in the boundaries of a precinct shall conform with the requirements of
          subsection (a) of Code Section 21-2-261.1.”


SECTION 19.

Said chapter is further amended by revising subsection (a) of Code Section 21-2-265, relating to
duty of superintendent to select polling places, change, petition objecting to proposed change,
space for political parties holding primaries, facilities for disabled voters, selection of polling
place outside precinct to better serve voters, and restriction on changing polling place on or near
date of election, as follows:
   “(a) The superintendent of a county or the governing authority of a municipality shall select
       and fix the polling place within each precinct and may, either on his, her, or its own
       motion or on petition of ten electors of a precinct, change the polling place within any
       precinct. Except in case of an emergency or unavoidable event occurring within ten days
       of a primary or election, which emergency or event renders any polling place unavailable
       for use at such primary or election, the superintendent of a county or the governing
       authority of a municipality shall not change any polling place until notice of the proposed
       change shall have been published for once a week for two consecutive weeks in the
       legal organ for the county or municipality in which the polling place is located.
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       Additionally, on the first electionduring the seven days before and on the day of the first
       election following such change, a notice of such change shall be posted on the previous
       polling place and at three other places in the immediate vicinity thereof. Each notice
       posted shall state the location to which the polling place has been moved and shall direct
       electors to the new location. At least one notice at the previous polling place shall be a
       minimum of four feet by four feet in size. The occupant or owner of the previous polling
       place, or his or her agent, shall be notified in writing of such change at the time notice is
       published in the legal organ.”


SECTION 20.

Said chapter is further amended by revising subsections (a) and (b) of Code Section 21-2-266,
relating to use of public buildings as polling places, use of portable or movable facilities, and
unrestricted access to residential communities, as follows:
   “(a) In selecting polling places and advance voting locations,, the superintendent of a county
       or the governing authority of a municipality shall select, wherever practicable and
       consistent with subsection (d) of Code Section 21-2-265, schoolhouses, municipal
       buildings or rooms, or other public buildings for that purpose. In selecting polling places
       and advance voting locations, the superintendent of a county or the governing authority
       of a municipality shall give consideration to the comfort and convenience those places to
       be selected will provide to both electors and poll officers. School, county, municipal, or
       other governmental authorities, upon request of the superintendent of a county or the
       governing authority of a municipality, shall make arrangements for the use of their
       property for polling places or advance voting locations; provided, however, that such use
       shall not substantially interfere with the use of such property for the purposes for which it
       is primarily intended.
   (b) The superintendent of a county or the governing authority of a municipality shall have
       discretion to procure and provide portable or movable polling facilities of adequate size
       for any precinct; provided, however, that buses and other readily movable facilities shall
       only be used in emergencies declared by the Governor pursuant to Code Section 38-3-
       51 to supplement the capacity of the polling place where the emergency circumstance
       occurred.”


SECTION 20A.

Said chapter is further amended by revising subsection (a) of Code Section 21-2-284, relating to
form of official primary ballot and attestation regarding receiving value in exchange for vote, as
follows:
   “(a) In each primary separate official ballots shall be prepared for the political party holding
       the primary. At the top of each ballot shall be printed in prominent type the words
       ‘OFFICIAL PRIMARY BALLOT OF ______________ PARTY FOR,’ followed by the
       name and designation of the precinct for which it is prepared and the name and date of
       the primary.”
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SECTION 20B.

Said chapter is further amended by revising Code Section 21-2-284.1, relating to form of ballot
in nonpartisan municipal primaries, as follows:
   “21-2-284.1.
          In the case of nonpartisan municipal primaries, the form of the official nonpartisan
          primary ballot shall conform insofar as practicable to the form of the official primary
          ballot as detailed in Code Section 21-2-284, including the printing of the name and
          designation of the precinct on the top of the ballot, except that:
          (1) The following shall be printed at the top of each ballot in prominent type:
                 ‘OFFICIAL NONPARTISAN PRIMARY BALLOT OF
                  ______________________’;
          (2) There shall be no name or designation of any political organization nor any words,
              designation, or emblems descriptive of a candidate’s political affiliation printed
              under or after any candidate’s name which is printed on the ballot; and
          (3) The incumbency of a candidate seeking election for the public office he or she
              then holds shall be indicated on the ballot.”


SECTION 20C.

Said chapter is further amended by revising subsection (a) of Code Section 21-2-285, relating to
form of official election ballot, attestation on receipt of benefit in exchange for vote, and when an
election is not required, as follows:
   “(a) At the top of each ballot for an election shall be printed in prominent type the words
       ‘OFFICIAL BALLOT,’ followed by the name and designation of the precinct for which it is
       prepared and the name and date of the election.”

SECTION 21.

Said chapter is further amended by revising Code Section 21-2-285.1, relating to form of ballot,
run-off election, and declaration of prevailing candidate in nonpartisan elections, as follows:
   “21-2-285.1.
          The names of all candidates for offices which the General Assembly has by general
          law or local Act provided for election in a nonpartisan election shall be printed on each
          official primary ballot; and insofar as practicable such offices to be filled in the
          nonpartisan election shall be separated from the names of candidates for party
          nomination to other offices by being listed last on each ballot, with the top of that
          portion of each official primary ballot relating to the nonpartisan election to have
          printed in prominent type the words ‘OFFICIAL NONPARTISAN ELECTION BALLOT.’
          In addition, there shall be a ballot that contains just the official nonpartisan election
          ballot available for electors who choose not to vote in a party primary. Such ballot
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          shall have printed at the top the name and designation of the precinct. Directions that
          explain how to cast a vote, how to write in a candidate, and how to obtain a new ballot
          after the elector spoils his or her ballot shall appear immediately under the caption, as
          specified by rule or regulation of the State Election Board. Immediately under the
          directions, the name of each such nonpartisan candidate shall be arranged
          alphabetically by last name under the title of the office for which they are candidates
          and be printed thereunder. The incumbency of a candidate seeking election for the
          public office he or she then holds shall be indicated on the ballot. No party designation
          or affiliation shall appear beside the name of any candidate for nonpartisan office. An
          appropriate space shall also be placed on the ballot for the casting of write-in votes for
          such offices. In the event that no candidate in such nonpartisan election receives a
          majority of the total votes cast for such office, there shall be a nonpartisan election
          runoff between the candidates receiving the two highest numbers of votes; and the
          names of such candidates shall be placed on the official ballot at the general primary
          runoff in the same manner as prescribed in this Code section for the nonpartisan
          election and there shall be a separate official nonpartisan election runoffrun-off ballot
          for those electors who do not choose or are not eligible to vote in the general primary
          runoff. In the event that only nonpartisan candidates are to be placed on a run-off
          ballot, the form of the ballot shall be as prescribed by the Secretary of State or
          election superintendent in essentially the same format as prescribed for the
          nonpartisan election. Except as provided in subsection (g) of Code Section 21-2-134,
          theThe candidate having a majority of the votes cast in the nonpartisan election or the
          candidate receiving the highest number of votes cast in the nonpartisan election runoff
          shall be declared duly elected to such office.”


SECTION 21A.

Said chapter is further amended by revising paragraph (3) of subsection (b) of Code Section 21-
2-286, relating to printing specifications, numbering, and binding of ballots, as follows:
   “(3) Ballots printed by an electronic ballot marker shall be designed as prescribed by the
       Secretary of State to ensure ease of reading by electors, provided that each ballot shall
       have the name and designation of the precinct printed at the top.”


SECTION 21B.

Said chapter is further amended by revising Code Section 21-2-287, relating to form of absentee
ballot, as follows:
   “21-2-287.
          The form for the absentee ballot shall be in substantially the same form as the official
          ballots used in the precincts, except it shall be printed with only the name stub and
          without a number strip and mayshall have the precinct name and designation printed
          or stamped thereon.”


SECTION 22.
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Said chapter is further amended by revising subsection (b) of Code Section 21-2-367, relating to
installation of systems, number of systems, and good working order, as follows:
   “(b)
       (1) In each precinct in which optical scanning voting systems are used in a state-wide
            general election, the county or municipal governing authority, as appropriate,election
            superintendent shall provide at least one voting booth or enclosure for each 250
            electors therein, or fraction thereof.
       (2) For any other primary, election, or runoff, the county or municipal election
           superintendent may provide a greater or lesser number of voting booths or
           enclosures if, after a thorough consideration of the type of election, expected turnout,
           the number of electors who have already voted by advance voting or absentee ballot,
           and other relevant factors that inform the appropriate amount of equipment needed,
           such superintendent determines that a different amount of equipment is needed or
           sufficient. Such determination shall be subject to the provisions of Code Section 21-2-
           263.”

SECTION 23.

Said chapter is further amended by revising Code Section 21-2-372, relating to ballot
description, as follows:
   “21-2-372.
          Ballots shall be of suitable design, size, and stock to permit processing by a ballot
          scanner and shall be printed in black ink on clear, white, or colored material. Other
          than ballots delivered electronically to qualified electors who are entitled to vote by
          absentee ballot under the federal Uniformed and Overseas Citizens Absentee Voting
          Act, 52 U.S.C. Section 20301, et seq., the ballots shall be printed on security paper
          that incorporates features which can be used to authenticate the ballot as an official
          ballot but which do not make the ballot identifiable to a particular elector.”


SECTION 23A.

Said chapter is further amended in Code Section 21-2-379.23, relating to requirements for ballot
display for electronic ballot markers, role of Secretary of State, and printed paper ballot controls
during recount, by adding a new subsection to read as follows:
   “(e) Each ballot printed by an electronic ballot marker shall include the name and
       designation of the precinct at the top.”


SECTION 24.

Said chapter is further amended by revising subsection (c) of Code Section 21-2-379.25,
relating to programming for ballot design and style, verification, appointment of custodians, and
role of custodians, as follows:
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   “(c) On or before the third day preceding a primary or election, including special primaries,
       special elections, and referendum elections, the superintendent shall have each
       electronic ballot marker tested to ascertain that it will correctly record the votes cast for
       all offices and on all questions and produce a ballot reflecting such choices of the elector
       in a manner that the State Election Board shall prescribe by rule or regulation. Public
       notice of the time and place of the test shall be made at least five days prior thereto;
       provided, however, that, in the case of a runoff, the public notice shall be made at least
       three days prior thereto. The superintendent of each county or municipality shall publish
       such notice on the homepage of the county’s or municipality’s publicly accessible website
       associated with elections, if the county or municipality maintains a publicly accessible
       website, and in a newspaper of general circulation in the county or municipality and by
       posting in a prominent location in the county or municipality. Such notice shall state the
       date, time, and place or places where preparation and testing of the voting system
       components for use in the primary or election will commence, that such preparation and
       testing     shall  continue     from   day    to    day     until    complete,    and    that
       representativesRepresentatives of political parties and bodies, news media, and the
       public shall be permitted to observe such tests. The superintendent of the county or
       municipality shall also provide such notice to the Secretary of State who shall publish on
       his or her website the information received from superintendents stating the dates, times,
       and locations for preparation and testing of voting system components. However, such
       representatives of political parties and bodies, news media, and the public shall not in
       any manner interfere with the preparation and testing of voting system components. The
       advertisement in the newspaper of general circulation shall be prominently displayed,
       shall not be less than 30 square inches, and shall not be placed in the section of the
       newspaper where legal notices appear.”


SECTION 25.

Said chapter is further amended by revising Code Section 21-2-381, relating to making of
application for absentee ballot, determination of eligibility by ballot clerk, furnishing of
applications to colleges and universities, and persons entitled to make application, as follows:
   “21-2-381.
      (a)
            (1)
                  (A) Except as otherwise provided in Code Section 21-2-219 or for advance voting
                      described in subsection (d) of Code Section 21-2-385, not moreearlier than
                      18078 days or less than 11 days prior to the date of the primary or election, or
                      runoff of either, in which the elector desires to vote, any absentee elector may
                      make, either by mail, by facsimile transmission, by electronic transmission, or
                      in person in the registrar’s or absentee ballot clerk’s office, an application for
                      an official ballot of the elector’s precinct to be voted at such primary, election,
                      or runoff. To be timely received, an application for an absentee-by-mail ballot
                      shall be received by the board of registrars or absentee ballot clerk no later
                      than 11 days prior to the primary, election, or runoff. For advance voting in
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        person, the application shall be made within the time period set forth in
        subsection (d) of Code Section 21-2-385.
  (B) In the case of an elector residing temporarily out of the county or municipality
      or a physically disabled elector residing within the county or municipality, the
      application for the elector’s absentee ballot may, upon satisfactory proof of
      relationship, be made by such elector’s mother, father, grandparent, aunt,
      uncle, sister, brother, spouse, son, daughter, niece, nephew, grandchild, son-
      in-law, daughter-in-law, mother-in-law, father-in-law, brother-in-law, or sister-in-
      law of the age of 18 or over.
  (C)
        (i) Any person applying for an absentee-by-mail ballot shall make application in
             writing on the form made available by the Secretary of State. In order to
             confirm the identity of the voter, such form shall require the elector to
             provide his or her name, date of birth, address as registered, address
             where the elector wishes the ballot to be mailed, and the number of his or
             her Georgia driver’s license or identification card issued pursuant to Article
             5 of Chapter 5 of Title 40. If such elector does not have a Georgia driver’s
             license or identification card issued pursuant to Article 5 of Chapter of Title
             40, the elector shall affirm this fact in the manner prescribed in the
             application and the elector shall provide a copy of a form of identification
             listed in subsection (c) of Code Section 21-2-417. The form made available
             by the Secretary of State shall include a space to affix a photocopy or
             electronic image of such identification. The Secretary of State shall develop
             a method to allow secure electronic transmission of such form. The
             application shall be in writing and shall contain sufficient information for
             proper identification of the elector; the permanent or temporary address of
             the elector to which the absentee ballot shall be mailed;also include the
             identity of the primary, election, or runoff in which the elector wishes to
             vote; and the name and relationship of the person requesting the ballot if
             other than the elector; and an oath for the elector or relative to write his or
             her usual signature with a pen and ink affirming that the elector is a
             qualified Georgia elector and the facts presented on the application are
             true. Submitting false information on an application for an absentee ballot
             shall be a violation of Code Sections 21-2-560 and 21-2-571.
        (ii) A blank application for an absentee ballot shall be made available online by
             the Secretary of State and each election superintendent and registrar, but
             neither the Secretary of State, election superintendent, board of registrars,
             other governmental entity, nor employee or agent thereof shall send
             absentee ballot applications directly to any elector except upon request of
             such elector or a relative authorized to request an absentee ballot for such
             elector. No person or entity other than a relative authorized to request an
             absentee ballot for such elector or a person signing as assisting an illiterate
             or physically disabled elector shall send any elector an absentee ballot
             application that is prefilled with the elector’s required information set forth in
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         this subparagraph. No person or entity other than the elector, a relative
         authorized to request an absentee ballot for such elector, a person signing
         as assisting an illiterate or physically disabled elector with his or her
         application, a common carrier charged with returning the ballot application,
         an absentee ballot clerk, a registrar, or a law enforcement officer in the
         course of an investigation shall handle or return an elector’s completed
         absentee ballot application. Handling a completed absentee ballot
         application by any person or entity other than as allowed in this subsection
         shall be a misdemeanor. Any application for an absentee ballot sent to any
         elector by any person or entity shall utilize the form of the application made
         available by the Secretary of State and shall clearly and prominently
         disclose on the face of the form:
            ‘This is NOT an official government publication and was NOT provided
            to you by any governmental entity and this is NOT a ballot. It is being
            distributed by [insert name and address of person, organization, or other
            entity distributing such document or material].’
     (iii) The disclaimer required by division (ii) of this subparagraph shall be:
         (I) Of sufficient font size to be clearly readable by the recipient of the
              communication;
         (II) Be contained in a printed box set apart from the other contents of the
              communication; and
         (III) Be printed with a reasonable degree of color contrast between the
               background and the printed disclaimer.
  (D) Except in the case of physically disabled electors residing in the county or
      municipality or electors in custody in a jail or other detention facility in the
      county or municipality, no absentee ballot shall be mailed to an address other
      than the permanent mailing address of the elector as recorded on the elector’s
      voter registration record or a temporary out-of-county or out-of-municipality
      address. Upon request, electors held in jails or other detention facilities who
      are eligible to vote shall be granted access to the necessary personal effects
      for the purpose of applying for and voting an absentee ballot pursuant to this
      chapter.
  (E) Relatives applying for absentee ballots for electors must also sign an oath
      stating that facts in the application are true.
  (F) If the elector is unable to fill out or sign such elector’s own application because
      of illiteracy or physical disability, the elector shall make such elector’s mark,
      and the person filling in the rest of the application shall sign such person’s
      name below it as a witness.
  (G) Any elector meeting criteria of advance age or disability specified by rule or
      regulation of the State Election Board or any elector who is entitled to vote by
      absentee ballot under the federal Uniformed and Overseas Citizens Absentee
      Voting Act, 42 U.S.C. Section 1973ff, et seq., as amended, may request in
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         writing on one application a ballot for a presidential preference primary held
         pursuant to Article 5 of this chapter and for a primary as well as for any runoffs
         resulting therefrom and for the election for which such primary shall nominate
         candidates as well as any runoffs resulting therefrom. If not so requested by
         such person, a separate and distinct application shall be required for each
         primary, run-off primary, election, and run-off election. Except as otherwise
         provided in this subparagraph, a separate and distinct application for an
         absentee ballot shall always be required for any special election or special
         primary.
(2) A properly executed registration card submitted under the provisions of subsection
    (b) of Code Section 21-2-219, if submitted within 180 days of a primary or election
    in which the registrant is entitled to vote, shall be considered to be an application
    for an absentee ballot under this Code section, or for a special absentee ballot
    under Code Section 21-2-381.1, as appropriate.
(3)
      (A) All persons or entities, other than the Secretary of State, election
          superintendents, boards of registrars, and absentee ballot clerks, that send
          applications for absentee ballots to electors in a primary, election, or runoff
          shall mail such applications only to individuals who have not already
          requested, received, or voted an absentee ballot in the primary, election, or
          runoff. Any such person or entity shall compare its mail distribution list with the
          most recent information available about which electors have requested, been
          issued, or voted an absentee ballot in the primary, election, or runoff and shall
          remove the names of such electors from its mail distribution list. A person or
          entity shall not be liable for any violation of this subparagraph if such person or
          entity relied upon information made available by the Secretary of State within
          five business days prior to the date such applications are mailed.
      (B) A person or entity in violation of subparagraph (A) of this paragraph shall be
          subject to sanctions by the State Election Board which, in addition to all other
          possible sanctions, may include requiring such person or entity to pay
          restitution to each affected county or municipality in an amount up to $100.00
          per duplicate absentee ballot application that is processed by the county or
          municipality due to such violation or the actual cost incurred by each affected
          county or municipality for the processing of such duplicate absentee ballot
          applications. Reserved.
(4) In extraordinary circumstances as described in Code Section 21-2-543.1, the
     registrar or absentee ballot clerk shall determine if the applicants are eligible to
     vote under this Code section and shall either mail or issue the absentee ballots for
     the election for representative in the United States Congress to an individual
     entitled to make application for absentee ballot under subsection (d) of this Code
     section the same day any such application is received, so long as the application
     is received by 3:00 P.M., otherwise no later than the next business day following
     receipt of the application. Any valid absentee ballot shall be accepted and
     processed so long as the ballot is received by the registrar or absentee ballot clerk
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          not later than 45 days after the ballot is transmitted to the absent uniformed
          services voter or overseas voter, but in no event later than 11 days following the
          date of the election.
(b)
      (1) Upon receipt of a timely application for an absentee ballot, a registrar or absentee
          ballot clerk shall enter thereon the date received. The registrar or absentee ballot
          clerk shall verify the identity of the applicant and determine, in accordance with the
          provisions of this chapter, if the applicant is eligible to vote in the primary or
          election involved. In order to be found eligible to vote an absentee ballot by
          mailverify the identity of the applicant, the registrar or absentee ballot clerk shall
          compare the identifying informationapplicant’s name, date of birth, and number of
          his or her Georgia driver’s license or identification card issued pursuant to Article 5
          of Chapter 5 of Title 40 on the application with the information on file in the
          registrar’s officeand, if the application is signed by the elector, compare the
          signature or mark of the elector on the application with the signature or mark of
          the elector on the elector’s voter registration card. If the application does not
          contain the number of the applicant’s Georgia driver’s license or identification card
          issued pursuant to Article 5 of Chapter 5 of Title 40, the registrar or absentee
          ballot clerk shall verify that the identification provided with the application identifies
          the applicant. In order to be found eligible to vote an absentee ballot in person at
          the registrar’s office or absentee ballot clerk’s office, such person shall show one
          of the forms of identification listed in Code Section 21-2-417 and the registrar or
          absentee ballot clerk shall compare the identifying information on the application
          with the information on file in the registrar’s office.
      (2) If found eligible, the registrar or absentee ballot clerk shall certify by signing in the
           proper place on the application and then:
         (A) Shall mail the ballot as provided in this Code section;
         (B) If the application is made in person, shall issue the ballot to the elector within
             the confines of the registrar’s or absentee ballot clerk’s office as required by
             Code Section 21-2-383 if the ballot is issued during the advance voting period
             established pursuant to subsection (d) of Code Section 21-2-385; or (C) May
             deliver the ballot in person to the elector if such elector is confined to a
             hospital.
      (3) If found ineligible or if the application is not timely received, the clerk or the board
           of registrars shall deny the application by writing the reason for rejection in the
           proper space on the application and shall promptly notify the applicant in writing of
           the ground of ineligibility, a copy of which notification should be retained on file in
           the office of the board of registrars or absentee ballot clerk for at least one year.
           However, an absentee ballot application shall not be rejected solely due to an
           apparenta mismatch between the signatureidentifying information of the elector on
           the application and the signatureidentifying information of the elector on file with
           the board of registrars. In such cases, the board of registrars or absentee ballot
           clerk shall send the elector a provisional absentee ballot with the designation
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         ‘Provisional Ballot’ on the outer oath envelope and information prepared by the
         Secretary of State as to the process to be followed to cure the signature
         discrepancy. If such ballot is returned to the board of registrars or absentee ballot
         clerk prior to the closing of the polls on the day of the primary or election, the
         elector may cure the signature discrepancy by submitting an affidavit to the board
         of registrars or absentee ballot clerk along with a copy of one of the forms of
         identification enumerated in subsection (c) of Code Section 21-2-417 before the
         close of the period for verifying provisional ballots contained in subsection (c) of
         Code Section 21-2-419. If the board of registrars or absentee ballot clerk finds the
         affidavit and identification to be sufficient, the absentee ballot shall be counted as
         other absentee ballots. If the board of registrars or absentee ballot clerk finds the
         affidavit and identification to be insufficient, then the procedure contained in Code
         Section 21-2-386 shall be followed for rejected absentee ballots.
      (4) If the registrar or clerk is unable to determine the identity of the elector from
           information given on the application or if the application is not complete or if the
           oath on the application is not signed, the registrar or clerk should promptly
           writecontact the elector in writing to request the necessary additional information
           and a signed copy of the oath .
      (5) In the case of an unregistered applicant who is eligible to register to vote, the clerk
           or the board shall immediately mail a blank registration card as provided by Code
           Section 21-2-223, and such applicant, if otherwise qualified, shall be deemed
           eligible to vote by absentee ballot in such primary or election, if the registration
           card, properly completed, is returned to the clerk or the board on or before the last
           day for registering to vote in such primary or election. If the closing date for
           registration in the primary or election concerned has not passed, the clerk or
           registrar shall also mail a ballot to the applicant, as soon as it is prepared and
           available; and the ballot shall be cast in such primary or election if returned to the
           clerk or board not later than the close of the polls on the day of the primary or
           election concerned.
(c) In those counties or municipalities in which the absentee ballot clerk or board of
     registrars provides application forms for absentee ballots, the clerk or board shall
     provide such quantity of the application form to the dean of each college or university
     located in that county as said dean determines necessary for the students of such
     college or university.
(d)
      (1) A citizen of the United States permanently residing outside the United States is
          entitled to make application for an absentee ballot from Georgia and to vote by
          absentee ballot in any election for presidential electors and United States senator
          or representative in Congress:
         (A) If such citizen was last domiciled in Georgia immediately before his or her
             departure from the United States; and
         (B) If such citizen could have met all qualifications, except any qualification relating
             to minimum voting age, to vote in federal elections even though, while residing
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                 outside the United States, he or she does not have a place of abode or other
                 address in Georgia.
          (2) An individual is entitled to make application for an absentee ballot under paragraph
             (1) of this subsection even if such individual’s intent to return to Georgia may be
                 uncertain, as long as:
                (A) He or she has complied with all applicable Georgia qualifications and
                    requirements which are consistent with 42 U.S.C. Section 1973ff
                    concerning absentee registration for and voting by absentee ballots;
                (B) He or she does not maintain a domicile, is not registered to vote, and is not
                    voting in any other state or election district of a state or territory or in any
                    territory or possession of the United States; and
                (C) He or she has a valid passport or card of identity and registration issued
                    under the authority of the Secretary of State of the United States or, in lieu
                    thereof, an alternative form of identification consistent with 42 U.S.C.
                    Section 1973ff and applicable state requirements, if a citizen does not
                    possess a valid passport or card of identity and registration.
      (e) The State Election Board is authorized to promulgate reasonable rules and
          regulations for the implementation of paragraph (1) of subsection (a) of this Code
          section. Said rules and regulations may include provisions for the limitation of
          opportunities for fraudulent application, including, but not limited to, comparison of
          voter registration records with death certificates.”


SECTION 26.

Said chapter is further amended by revising Code Section 21-2-382, relating to additional sites
as additional registrar’s office or place of registration for absentee ballots, as follows:
   “21-2-382.
      (a) Any other provisions of this chapter to the contrary notwithstanding, the board of
          registrars may establish additional sites as additional registrar’s offices or places of
          registration for the purpose of receiving absentee ballots under Code Section 21-2-
          381 and for the purpose of voting absentee ballotsadvance voting under Code
          Section 21-2-385, provided that any such site is a building that is a branch of the
          county courthouse, a courthouse annex, a government service center providing
          general government services, another government building generally accessible to
          the public, or a locationbuilding that is used as an election day polling place,
          notwithstanding that such locationbuilding is not a government building.
      (b) Any other provisions of this chapter to the contrary notwithstanding, in all counties of
          this state having a population of 550,000 or more according to the United States
          decennial census of 1990 or any future such census, any building that is a branch of
          the county courthouse or courthouse annex established within any such county shall
          be an additional registrar’s or absentee ballot clerk’s office or place of registration for
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      the purpose of receiving absentee ballots under Code Section 21-2-381 and for the
      purpose of voting absentee ballotsadvance voting under Code Section 21-2-385.
(c)
      (1) A board of registrars or absentee ballot clerk shall establish at least one drop box
          as a means for absentee by mail electors to deliver their ballots to the board of
          registrars or absentee ballot clerk. A board of registrars or absentee ballot clerk
          may establish additional drop boxes, subject to the limitations of this Code section,
          but may only establish additional drop boxes totaling the lesser of either one drop
          box for every 100,000 active registered voters in the county or the number of
          advance voting locations in the county. Any additional drop boxes shall be evenly
          geographically distributed by population in the county. Drop boxes established
          pursuant to this Code section shall be established at the office of the board of
          registrars or absentee ballot clerk or inside locations at which advance voting, as
          set forth in subsection (d) of Code Section 21-2-385, is conducted in the
          applicable primary, election, or runoff and may be open during the hours of
          advance voting at that location. Such drop boxes shall be closed when advance
          voting is not being conducted at that location. All drop boxes shall be closed when
          the advance voting period ends, as set forth in subsection (d) of Code Section 21-
          2-385. The drop box location shall have adequate lighting and be under constant
          surveillance by an election official or his or her designee, law enforcement official,
          or licensed security guard. During an emergency declared by the Governor
          pursuant to Code Section 38-3-51, drop boxes may be located outside the office
          of the board of registrars or absentee ballot clerk or outside of locations at which
          advance voting is taking place, subject to the other limitations of this Code section.
      (2) The opening slot of a drop box shall not allow ballots to be tampered with or
          removed and shall be designed to minimize the ability for liquid or other
          substances that may damage ballots to be poured into the drop box. A drop box
          shall be labeled“OFFICIAL ABSENTEE BALLOT DROP BOX” and shall clearly
          display the signage developed by the Secretary of State pertaining to Georgia law
          with regard to whois allowed to return absentee ballots and destroying, defacing,
          or delaying delivery of ballots.
      (3) The board of registrars or absentee ballot clerk shall arrange for the collecting and
          return of ballots deposited at each drop box at the conclusion of each day where
          advance voting takes place. Collection of ballots from a drop box shall be made by
          a team of at least two people. Any person collecting ballots from a drop box shall
          have sworn an oath in the same form as the oath for poll officers set forth in Code
          Section 21-2-95. The collection team shall complete and sign a ballot transfer form
          upon removing the ballots from the drop box which shall include the date, time,
          location, number of ballots, confirmation that the drop box was locked after the
          removal of the ballots, and the identity of each person collecting the ballots. The
          collection team shall then immediately transfer the ballots to the board of
          registrars or absentee ballot clerk, who shall process and store the ballots in the
          same manner as absentee ballots returned by mail are processed and stored. The
          board of registrars, absentee ballot clerk, or a designee of the board of registrars
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                or absentee ballot clerk shall sign the ballot transfer form upon receipt of the
                ballots from the collection team. Such form shall be considered a public record
                pursuant to Code Section 50-18-70.
             (4) At the beginning of voting at each advance location where a drop box is present,
                 the manager of the advance voting location shall open the drop box and confirm
                 on the reconciliation form for that advance voting location that the drop box is
                 empty. If the drop box is not empty, the manager shall secure the contents of the
                 drop box and immediately inform the election superintendent, board of registrars,
                 or absentee ballot clerk, who shall inform the Secretary of State.”


SECTION 27.

Said chapter is further amended by revising Code Section 21-2-384, relating to preparation and
delivery of supplies, mailing of ballots, oath of absentee electors and persons assisting absentee
electors, master list of ballots sent, challenges, and electronic transmission of ballots, as follows:
   “21-2-384.
       (a)
             (1) The superintendent shall, in consultation with the board of registrars or absentee
                 ballot clerk, prepare, obtain, and deliver before the date specified in paragraph (2)
                 of this subsection an adequate supply of official absentee ballots to the board of
                 registrars or absentee ballot clerk for use in the primary or election or as soon as
                 possible prior to a runoff. Envelopes and other supplies as required by this article
                 may be ordered by the superintendent, the board of registrars, or the absentee
                 ballot clerk for use in the primary or election.
             (2) The board of registrars or absentee ballot clerk shall mail or issue official absentee
                 ballots to all eligible applicants not more than 4929 days but not less than 4525
                 days prior to any presidential preference primary, general primary other than a
                 municipal general primary, general election other than a municipal general
                 election, or special primary or special election in which there is a candidate for a
                 federal office on the ballot; days prior to any municipal general primary or
                 municipal general election; and as soon as possible prior to any runoff. In the case
                 of all other special primaries or special elections, the board of registrars or
                 absentee ballot clerk shall mail or issue official absentee ballots to all eligible
                 applicants within three days after the receipt of such ballots and supplies, but no
                 earlier than 22 days prior to the election; provided, however, that shouldofficial
                 absentee ballots shall be issued to any elector of the jurisdiction be permitted to
                 vote by absentee ballotwho is entitled to vote by absentee ballot under the federal
                 Uniformed and Overseas Citizen Absentee Voting Act, 52 U.S.C. Section 20301,
                 et seq., as amended, beginning 49 days prior to a federal primary or election, all
                 eligible applicants of such jurisdiction shall be entitled to vote by absentee ballot
                 beginning 49 days prior to such primary or election and not later than 45 days
                 prior to a federal primary or election. As additional applicants who submitted timely
                 applications for an absentee ballot are determined to be eligible, the board or clerk
                 shall mail or issue official absentee ballots to such additional applicants
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       immediately upon determining their eligibility ; provided, however, that no
       absentee ballot shall be mailed by the registrars or absentee ballot clerk on the
       day prior to a primary or election and provided, further, that no absentee ballot
       shall be issued on the day prior to a primary or election . For all timely received
       applications for absentee ballots, the board of registrars or absentee ballot clerk
       shall mail or issue absentee ballots, provisional absentee ballots, and notices of
       rejection as soon as possible upon determining their eligibility within the time
       periods set forth in this subsection. During the period for advance voting set forth
       in Code Section 21-2-385, the board of registrars or absentee ballot clerk shall
       make such determinations and mail or issue absentee ballots, provisional
       absentee ballots, and notices of rejection of application within three days after
       receiving a timely application for an absentee ballot. The board of registrars or
       absentee ballot clerk shall, within the same time periods specified in this
       subsection, electronically transmit official absentee ballots to all electors who have
       requested to receive their official absentee ballot electronically and are entitled to
       vote such absentee ballot under the federal Uniformed and Overseas Citizens
       Absentee Voting Act, 42 U.S.C. Section 1973ff52 U.S.C. Section 20301, et seq.,
       as amended.
   (3) The date a ballot is voted in the registrar’s or absentee ballot clerk’s office or the
       date a ballot is mailed or issued to an elector and the date it is returned shall be
       entered on the application record therefor.
   (4) Notwithstanding any other provision of this chapter, an elector confined in a
       hospital may make application for an absentee ballotThe delivery of an absentee
       ballot to a person confined in a hospital may be made by the registrar or clerk on
       the day of a primary or election or during a five-dayten-day period immediately
       preceding the day of such primary or election. Such application shall immediately
       be processed and, if such applicant is determined to be eligible, the board of
       registrars or absentee ballot clerk may deliver the absentee ballot to such elector.
   (5) In the event an absentee ballot which has been mailed by the board of registrars
        or absentee ballot clerk is not received by the applicant, the applicant may notify
        the board of registrars or absentee ballot clerk and sign an affidavit stating that the
        absentee ballot has not been received. The board of registrars or absentee ballot
        clerk shall then issue a second absentee ballot to the applicant and cancel the
        original ballot issued. The affidavit shall be attached to the original application. A
        second application for an absentee ballot shall not be required.
(b) Except for ballots voted within the confines of the registrar’s or absentee ballot clerk’s
    office, in addition to the mailing envelope addressed to the elector, the
    superintendent, board of registrars, or absentee ballot clerk shall provide two
    envelopes for each official absentee ballot, of such size and shape as shall be
    determined by the Secretary of State, in order to permit the placing of one within the
    other and both within the mailing envelope. On the smaller of the two envelopes to be
    enclosed in the mailing envelope shall be printed the words ‘Official Absentee Ballot’
    and nothing else. On the back of theThe larger of the two envelopes to be enclosed
    within the mailing envelope shall be printedcontain the form of oath of the elector and
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the oath for persons assisting electors, as provided for in Code Section 21-2-409, and
the penalties provided for in Code Sections 21-2-568, 21-2-573, 21-2-579, and 21-2-
599 for violations of oaths; and ona place for the elector to print his or her name; a
signature line; a space for the elector to print the number of his or her Georgia driver’s
license or identification card issued pursuant to Article 5 of Chapter 5 of Title 40; a
space for the elector to mark to affirm that he or she does not have a Georgia driver’s
license or identification card issued pursuant to Article 5 of Chapter 5 of Title 40; a
space for the elector to print his or her date of birth; and a space for the elector to
print the last four digits of his or her social security number, if the elector does not
have a Georgia driver’s license or state identification card issued pursuant to Article 5
of Chapter of Title 40. The envelope shall be designed so that the number of the
elector’s Georgia driver’s license or identification card issued pursuant to Article 5 of
Chapter 5 of Title 40, the last four digits of the elector’s social security number, and
the elector’s date of birth shall be hidden from view when the envelope is correctly
sealed. Any person other than the elector who requested the ballot, an authorized
person who is assisting the elector entitled to assistance in voting pursuant to Code
Section 21-2-409, an absentee ballot clerk, registrar, or law enforcement officer in the
course of an investigation who knowingly unseals a sealed absentee ballot envelope
shall be guilty of a felony. On the face of such envelope shall be printed the name and
address of the board of registrars or absentee ballot clerk. The larger of the two
envelopes shall also display the elector’s name and voter registration number. The
mailing envelope addressed to the elector shall contain the two envelopes, the official
absentee ballot, the uniform instructions for the manner of preparing and returning the
ballot, in form and substance as provided by the Secretary of State, provisional
absentee ballot information, if necessary, and a notice in the form provided by the
Secretary of State of all withdrawn, deceased, and disqualified candidates and any
substitute candidates pursuant to Code Sections 21-2-134 and 21-2-155 and nothing
else. The uniform instructions shall include information specific to the voting system
used for absentee voting concerning the effect of overvoting or voting for more
candidates than one is authorized to vote for a particular office and information
concerning how the elector may correct errors in voting the ballot before it is cast
including information on how to obtain a replacement ballot if the elector is unable to
change the ballot or correct the error. The uniform instructions shall prominently
include specific instructions stating that the elector shall mark his or her ballot in
private and sign the oath by writing his or her usual signature with a pen and ink
under penalty of false swearing that the elector has not allowed any person to
observe the marking of his or her ballot other than an authorized person lawfully
assisting the elector if the elector is entitled to assistance, the elector’s child under 18
years of age, or any child under 12 years of age and that the elector will not permit
any unauthorized person to deliver or return the voted ballot to the board of registrars.
The uniform instructions shall include a list of authorized persons who may deliver or
return the voted ballot to the board of registrars on behalf of the elector as provided in
subsection (a) of Code Section 21-2-385. The uniform instructions shall include the
contact information of the Secretary of State which may be used by the elector to
report any unauthorized person requesting to observe the elector voting his or her
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      ballot or the elector’s voted ballot or any unauthorized person offering to deliver or
      return the voted ballot to the board of registrars.
(c)
      (1) The oaths referred to in subsection (b) of this Code section shall be in substantially
          the following form:
             I, the undersigned, do swear (or affirm) under penalty of false swearing that I
             am a citizen of the United States and of the State of Georgia; that I possess the
             qualifications of an elector required by the laws of the State of Georgia; that I
             am entitled to vote in the precinct containing my residence in the primary or
             election in which this ballot is to be cast; that I am eligible to vote by absentee
             ballot; that I have not marked or mailed any other absentee ballot, nor will I
             mark or mail another absentee ballot for voting in such primary or election; nor
             shall I vote therein in person; and that I have read and understand the
             instructions accompanying this ballot; and that I have carefully complied with
             such instructions in completing this ballot; that I have marked and sealed this
             ballot in private and have not allowed any unauthorized person to observe the
             voting of this ballot or how this ballot was voted except those authorized under
             state and federal law; and that I will not give or transfer this ballot to any person
             not authorized by law to deliver or return absentee ballots. I understand that the
             offer or acceptance of money or any other object of value to vote for any
             particular candidate, list of candidates, issue, or list of issues included in this
             election constitutes an act of voter fraud and is a felony under Georgia law.
                                        ____________________________________________
                                     ____________________________________________
             Oath of Person Assisting Elector (if any):
             I, the undersigned, do swear (or affirm) that I assisted the above-named elector
             in marking such elector’s absentee ballot as such elector personally
             communicated such elector’s preference to me; and that such elector is entitled
             to receive assistance in voting under provisions of subsection (a) of Code
             Section 21-2-409.
             This, the ____________ day of ________________, ____________.
                                        ____________________________________________
                                        ____________________________________________
             Reason for assistance (Check appropriate square):
             [ ] Elector is unable to read the English language.
             [ ] Elector requires assistance due to physical disability.
             The forms upon which such oaths are printed shall contain the following
             information:
                Georgia law provides that any person who knowingly falsifies information so
                as to vote illegally by absentee ballot or who illegally gives or receives
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                assistance in voting, as specified in Code Section 21-2-568 or 21-2-573,
                shall be guilty of a felony.
      (2) In the case of absent uniformed services or overseas voters, if the presidential
           designee under Section 705(b) of the federal Help America Vote Act promulgates
           a standard oath for use by such voters, the Secretary of State shall be required to
           use such oath on absentee ballot materials for such voters and such oath shall be
           accepted in lieu of the oath set forth in paragraph (1) of this subsection.
(d) Each board of registrars or absentee ballot clerk shall maintain for public inspection a
    master list, arranged by precincts, setting forth the name and residence of every
    elector to whom an official absentee ballot has been sent. Absentee electors whose
    names appear on the master list may be challenged by any elector prior to 5:00 P.M.
    on the day before the primary or electionabsentee ballots are to begin being scanned
    and tabulated.
(e)
      (1) The election superintendent shall prepare special absentee run-off ballots for
          general primaries and general elections for use by qualified electors who are
          entitled to vote by absentee ballot under the federal Uniformed and Overseas
          Citizens Absentee Voting Act, 52 U.S.C. Section 20301, et seq.
      (2) Such special absentee run-off ballots for the general primary shall list the titles of
          all offices being contested at the general primary and the candidates qualifying for
          such general primary for each office and shall permit the elector to vote in the
          general primary runoff by indicating his or her order of preference for each
          candidate for each office. A separate ballot shall be prepared for each political
          party, but a qualified elector under this subsection shall be mailed only the ballot
          of the political party in whose primary such elector requests to vote. The Secretary
          of State shall prepare instructions for use with such special absentee run-off
          ballots, including instructions for voting by mail using an electronically transmitted
          ballot. Such ballot shall be returned by the elector in the same manner as other
          absentee ballots by such electors who are entitled to vote by absentee ballot
          under the federal Uniformed and Overseas Citizens Absentee Voting Act, 52
          U.S.C. Section 20301, et seq.
      (3) Such special absentee run-off ballots for the general election shall list the titles of
          all offices being contested at the general election and the candidates qualifying for
          such general election for each office and shall permit the elector to vote in the
          general election runoff by indicating his or her order of preference for each
          candidate for each office.
      (4) To indicate order of preference for each candidate for each office to be voted on,
          an elector shall put the numeral ‘1’ next to the name of the candidate who is the
          elector’s first choice for such office, the numeral ‘2’ for the elector’s second choice,
          and so forth, in consecutive numerical order, such that a numeral indicating the
          elector’s preferenceis written by the elector next to each candidate’s name on the
          ballot. An elector shall not be required to indicate preference for more than one
          candidate for an office if the elector so chooses.
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          (5) A special absentee run-off ballot shall be enclosed with each general primary
              absentee ballot sent to an elector who is entitled to vote by absentee ballot under
              the federal Uniformed and Overseas Citizens Absentee Voting Act, 52 U.S.C.
              Section 20301, et seq., along with instructions on how to cast the special
              absentee run-off ballot and the two envelopes to be used in returning such ballot
              as provided in subsection (b) of this Code section, provided that the envelopes
              bear the notation of ‘Official Overseas/Military General Primary Run-off Ballot.’ An
              elector shall be sent only the ballot containing the candidates of the political party
              in whose primary such elector desires to vote.
          (6) A special absentee run-off ballot shall be enclosed with each general election
              absentee ballot sent to an elector entitled to vote by absentee ballot under the
              federal Uniformed and Overseas Citizens Absentee Voting Act, 52 U.S.C. Section
              20301, et seq., along with instructions on how to cast the special absentee run-off
              ballot and the two envelopes to be used in returning such ballot as provided in
              subsection (b) of this Code section, provided that the envelopes bear the notation
              of ‘Official Overseas/Military General Election Run-off Ballot.’ The State Election
              Board shall by rule or regulation establish procedures for the transmission of blank
              absentee ballots by mail and by electronic transmission for all electors who are
              entitled to vote by absentee ballot under the federal Uniformed and Overseas
              Citizens Absentee Voting Act, 52 U.S.C. Section 2030220301, et seq., as
              amended, and by which such electors may designate whether the elector prefers
              the transmission of such ballots by mail or electronically, for use in county, state,
              and federal primaries, elections, and runoffs in this state and, if the Secretary of
              State finds it to be feasible, for use in municipal primaries, elections, and runoffs. If
              no preference is stated, the ballot shall be transmitted by mail. The State Election
              Board shall by rule or regulation establish procedures to ensure to the extent
              practicable that the procedures for transmitting such ballots shall protect the
              security and integrity of such ballots and shall ensure that the privacy of the
              identity and other personal data of such electors who are entitled to vote by
              absentee ballot under the federal Uniformed and Overseas Citizens Absentee
              Voting Act, 52 U.S.C. Section 2030220301, et seq., as amended, to whom a blank
              absentee ballot is transmitted under this Code section is protected throughout the
              process of such transmission.”


SECTION 28.

Said chapter is further amended by revising subsections (a) and (d) of and adding a new
subsection to Code Section 21-2-385, relating to procedure for voting by absentee ballot and
advance voting, to read as follows:
   “(a) At any time after receiving an official absentee ballot, but before the day of the primary
       or election, except electors who are confined to a hospital on the day of the primary or
       election, the elector shall vote his or her absentee ballot, then fold the ballot and enclose
       and securely seal the same in the envelope on which is printed ‘Official Absentee Ballot.’
       This envelope shall then be placed in the second one, on which is printed the form of the
       oath of the elector; the name and oath of the person assisting, if any; and other required
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   identifying information. The elector shall then fill out, subscribe, and swear to the oath
   printed on such envelope. In order to verify that the absentee ballot was voted by the
   elector who requested the ballot, the elector shall print the number of his or her Georgia
   driver’s license number or identification card issued pursuant to Article 5 of Chapter 5 of
   Title 40 in the space provided on the outer oath envelope. The elector shall also print his
   or her date of birth in the space provided in the outer oath envelope. If the elector does
   not have a Georgia driver’s license or state identification card issued pursuant to Article 5
   of Chapter 5 of Title 40, the elector shall so affirm in the space provided on the outer oath
   envelope and print the last four digits of his or her social security number in the space
   provided on the outer oath envelope. If the elector does not have a Georgia driver’s
   license, identification card issued pursuant to Article 5 of Chapter 5 of Title 40, or a social
   security number, the elector shall so affirm in the space provided on the outer oath
   envelope and place a copy of one of the forms of identification set forth in subsection (c)
   of Code Section 21-2-417 in the outer envelope. Such envelope shall then be securely
   sealed and the elector shall then personally mail or personally deliver same to the board
   of registrars or absentee ballot clerk, provided that mailing or delivery may be made by
   the elector’s mother, father, grandparent, aunt, uncle, brother, sister, spouse, son,
   daughter, niece, nephew, grandchild, son-in-law, daughter-in-law, mother-in-law, father-
   in-law, brother-in-law, sister-in-law, or an individual residing in the household of such
   elector. The absentee ballot of a disabled elector may be mailed or delivered by the
   caregiver of such disabled elector, regardless of whether such caregiver resides in such
   disabled elector’s household. The absentee ballot of an elector who is in custody in a jail
   or other detention facility may be mailed or delivered by any employee of such jail or
   facility having custody of such elector. An elector who is confined to a hospital on a
   primary or election day to whom an absentee ballot is delivered by the registrar or
   absentee ballot clerk shall then and there vote the ballot, seal it properly, and return it to
   the registrar or absentee ballot clerk. If the elector registered to vote for the first time in
   this state by mail and has not previously provided the identification required by Code
   Section 21-2-220 and votes for the first time by absentee ballot and fails to provide the
   identification required by Code Section 21-2-220 with such absentee ballot, such
   absentee ballot shall be treated as a provisional ballot and shall be counted only if the
   registrars are able to verify the identification and registration of the elector during the time
   provided pursuant to Code Section 21-2-419.”
“(d)
   (1) There shall be a period of advance voting that shall commence:
       (A) On the fourth Monday immediately prior to each primary or election; and
          (B) On the fourth Monday immediately prior to a runoff from a general primary;
          (C) On the fourth Monday immediately prior to a runoff from a general election in
          which there are candidates for a federal office on the ballot in the runoff; and
       (D) (B) As soon as possible prior to a runoff from any other general primary or election
           in which there are only state or county candidates on the ballot in the runoff but no
           later than the second Monday immediately prior to such runoff and shall end on
           the Friday immediately prior to each primary, election, or runoff.
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       Voting shall be conducted during normal business hoursbeginning at 9:00 A.M.
       and ending at 5:00 P.M. on weekdays, other than observed state holidays, during
       such period and shall be conducted on the second Saturdayand third Saturdays
       during the hours of 9:00 A.M. through 5:00 P.M. and, if the registrar or absentee
       ballot clerk so chooses, the second Sunday, the third Sunday, or both the second
       and third Sundays prior to a primary or election during the hours of 9:00 A.M.
       through 4:00 P.M.determined by the registrar or absentee ballot clerk, but no
       longer than 7:00 A.M. through 7:00 P.M.; provided, however, that in primaries and
       elections in which there are no federal or state candidates on the ballot, no
       Saturday voting hours shall be required; and provided, further, that, if such second
       Saturday is a public and legal holiday pursuant to Code Section 1-4-1, if such
       second Saturday follows a public and legal holiday occurring on the Thursday or
       Friday immediately preceding such second Saturday, or if such second Saturday
       immediately precedes a public and legal holiday occurring on the following Sunday
       or Monday, such advance voting shall not be held on such second Saturday but
       shall be held on the third Saturday prior to such primary or election beginning at
       9:00 A.M. and ending at 5:00 P.M. Except as otherwise provided in this paragraph,
       counties and municipalitiesthe registrars may extend the hours for voting beyond
       regular business hoursto permit advance voting from 7:00 A.M. until 7:00 P.M. and
       may provide for additional voting locations pursuant to Code Section 21-2-382 to
       suit the needs of the electors of the jurisdiction at their option; provided, however,
       that voting shall occur only on the days specified in this paragraph and counties
       and municipalities shall not be authorized to conduct advance voting on any other
       days.
(2) The registrars or absentee ballot clerk, as appropriate, shall provide reasonable notice
    to the electors of their jurisdiction of the availability of advance voting as well as the
    times, dates, and locations at which advance voting will be conducted. In addition, the
    registrars or absentee ballot clerk shall notify the Secretary of State in the manner
    prescribed by the Secretary of State of the times, dates, and locations at which
    advance voting will be conducted.
(3) The board of registrars shall publish the dates, times, and locations of the availability
    of advance voting in its jurisdiction on the homepage of the county’s publicly
    accessible website associated with elections or registrations, or if the county does not
    have such a website, in a newspaper of general circulation, and by posting in a
    prominent location in the county, no later than 14 days prior to the beginning of the
    advance voting period for a general primary, special primary, general election, or
    special election and no later than seven days prior to the beginning of the advance
    voting period for any run-off election. Any new advance voting locations added after
    that deadline shall be published in the same manner as soon as possible. The board
    of registrars shall not remove any advance voting location after the notice of such
    location is published, except in the case of an emergency or unavoidable event that
    renders a location unavailable for use. Any changes that are made due to an
    emergency or unavoidable event after a notice of a location has been published shall
    be published as soon as possible in the same manner set forth in this paragraph.
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   (e) On each day of an absentee voting period, each county board of registrars or municipal
       absentee ballot clerk shall report for the county or municipality to the Secretary of State
       and post on the county or municipal website, or if the county or municipality does not
       maintain such a website, a place of public prominence in the county or municipality, not
       later than 10:00 A.M. on each business day the number of persons to whom absentee
       ballots have been issued, the number of persons who have returned absentee ballots,
       and the number of absentee ballots that have been rejected. Additionally, on each day of
       an advance voting period, each county board of registrars or municipal absentee ballot
       clerk shall report to the Secretary of State and post on the county or municipal website,
       or if the county or municipality does not maintain sucha website, a place of public
       prominence in the county or municipality, not later than 10:00 A.M. on each business day
       the number of persons who have voted at the advance voting sites in the county or
       municipality. During the absentee voting period and for a period of three days following a
       primary, election, or runoff, each county board of registrars or municipal absentee ballot
       clerk shall report to the Secretary of State and post on the county or municipal website,
       or if the county or municipality does not maintain sucha website, a place of public
       prominence in the county or municipality, not later than 10:00 A.M. on each business day
       the number of persons who have voted provisional ballots, the number of provisional
       ballots that have verified or cured and accepted for counting, and the number of
       provisional ballots that have been rejected.”


SECTION 29.

Said chapter is further amended by revising Code Section 21-2-386, relating to safekeeping,
certification, and validation of absentee ballots, rejection of ballot, delivery of ballots to manager,
duties of managers, precinct returns, and notification of challenged elector, as follows:
   “21-2-386.
       (a)
             (1)
                   (A) The board of registrars or absentee ballot clerk shall keep safely, unopened,
                       and stored in a manner that will prevent tampering and unauthorized access all
                       official absentee ballots received from absentee electors prior to the closing of
                       the polls on the day of the primary or election except as otherwise provided in
                       this subsection.
                   (B) Upon receipt of each ballot, a registrar or clerk shall write the day and hour of
                       the receipt of the ballot on its envelope. The registrar or clerk shall then
                       compare the number of the elector’s Georgia driver’s license number or state
                       identification card issued pursuant to Article 5 of Chapter 5 of Title 40 and date
                       of birth entered on the absentee ballot envelopeidentifying information on the
                       oath with the same information on file in his or her office, shall compare the
                       signature or mark on the oath with the signature or mark on the absentee
                       elector’s voter registration card or the most recent update to such absentee
                       elector’s voter registration card and application for absentee ballot or a
                       facsimile of said signature or mark taken from said card or application, and
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     shall, if the information and signature appear to be valid and other identifying
     information appears to be correct,contained in the elector’s voter registration
     records. If the elector has affirmed on the envelope that he or she does not
     have a Georgia driver’s license or state identification card issued pursuant to
     Article 5 of Chapter 5 of Title 40, the registrar or clerk shall compare the last
     four digits of the elector’s social security number and date of birth entered on
     the envelope with the same information contained in the elector’s voter
     registration records. The registrar or clerk shall also confirm that the elector
     signed the oath and the person assisting the elector, if any, signed the required
     oath. If the elector has signed the elector’s oath, the person assisting has
     signed the required oath, if applicable, and the identifying information entered
     on the absentee ballot envelope matches the same information contained in
     the elector’s voter registration record, the registrar or clerk shall so certify by
     signing or initialing his or her name below the voter’s oath. Each elector’s
     name so certified shall be listed by the registrar or clerk on the numbered list of
     absentee voters prepared for his or her precinct.
  (C) If the elector has failed to sign the oath, or if the signatureidentifying
      information entered on the absentee ballot envelope does not appear to be
      validmatch the same information appearing in the elector’s voter registration
      record, or if the elector has failed to furnish required information or information
      so furnished does not conform with that on file in the registrar’s or clerk’s
      office, or if the elector is otherwise found disqualified to vote, the registrar or
      clerk shall write across the face of the envelope ‘Rejected,’ giving the reason
      therefor. The board of registrars or absentee ballot clerk shall promptly notify
      the elector of such rejection, a copy of which notification shall be retained in
      the files of the board of registrars or absentee ballot clerk for at least two
      years. Such elector shall have until the end of the period for verifying
      provisional ballots contained in subsection (c) of Code Section 21-2-419 to
      cure the problem resulting in the rejection of the ballot. The elector may cure a
      failure to sign the oath, an invalid signaturenonmatching identifying
      information, or missing information by submitting an affidavit to the board of
      registrars or absentee ballot clerk along with a copy of one of the forms of
      identification enumerated in subsection (c) of Code Section 21-2-417 before
      the close of such period. The affidavit shall affirm that the ballot was submitted
      by the elector, is the elector’s ballot, and that the elector is registered and
      qualified to vote in the primary, election, or runoff in question. If the board of
      registrars or absentee ballot clerk finds the affidavit and identification to be
      sufficient, the absentee ballot shall be counted.
  (D) An elector who registered to vote by mail, but did not comply with subsection
      (c) of Code Section 21-2-220, and who votes for the first time in this state by
      absentee ballot shall include with his or her application for an absentee ballot
      or in the outer oath envelope of his or her absentee ballot either one of the
      forms of identification listed in subsection (a) of Code Section 21-2-417 or a
      copy of a current utility bill, bank statement, government check, paycheck, or
      other government document that shows the name and address of such elector.
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         If such elector does not provide any of the forms of identification listed in this
         subparagraph with his or her application for an absentee ballot or with the
         absentee ballot, such absentee ballot shall be deemed to be a provisional
         ballot and such ballot shall only be counted if the registrars are able to verify
         current and valid identification of the elector as provided in this subparagraph
         within the time period for verifying provisional ballots pursuant to Code Section
         21-2-419. The board of registrars or absentee ballot clerk shall promptly notify
         the elector that such ballot is deemed a provisional ballot and shall provide
         information on the types of identification needed and how and when such
         identification is to be submitted to the board of registrars or absentee ballot
         clerk to verify the ballot.
      (E) Three copies of the numbered list of voters shall also be prepared for such
          rejected absentee electors, giving the name of the elector and the reason for
          the rejection in each case. Three copies of the numbered list of certified
          absentee voters and three copies of the numbered list of rejected absentee
          voters for each precinct shall be turned over to the poll manager in charge of
          counting the absentee ballots and shall be distributed as required by law for
          numbered lists of voters.
      (F) All absentee ballots returned to the board or absentee ballot clerk after the
          closing of the polls on the day of the primary or election shall be safely kept
          unopened by the board or absentee ballot clerk and then transferred to the
          appropriate clerk for storage for the period of time required for the preservation
          of ballots used at the primary or election and shall then, without being opened,
          be destroyed in like manner as the used ballots of the primary or election. The
          board of registrars or absentee ballot clerk shall promptly notify the elector by
          first-class mail that the elector’s ballot was returned too late to be counted and
          that the elector will not receive credit for voting in the primary or election. All
          such late absentee ballots shall be delivered to the appropriate clerk and
          stored as provided in Code Section 21-2-390.
      (G) Notwithstanding any provision of this chapter to the contrary, until the United
          States Department of Defense notifies the Secretary of State that the
          Department of Defense has implemented a system of expedited absentee
          voting for those electors covered by this subparagraph, absentee ballots cast
          in a primary, election, or runoff by eligible absentee electors who reside
          outside the county or municipality in which the primary, election, or runoff is
          held and are members of the armed forces of the United States, members of
          the merchant marine of the United States, spouses or dependents of members
          of the armed forces or merchant marine residing with or accompanying such
          members, or overseas citizens that are postmarked by the date of such
          primary, election, or runoff and are received within the three-day period
          following such primary, election, or runoff, if proper in all other respects, shall
          be valid ballots and shall be counted and included in the certified election
          results.
(2)
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  (A) Beginning at 8:00 A.M. on the third Monday prior to After the opening of the
      polls on the day of the primary, election, or runoff, the registrars or absentee
      ballot clerkselection superintendent shall be authorized to open the outer oath
      envelope on which is printed the oath of the electorof absentee ballots that
      have been verified and accepted pursuant to subparagraph (a)(1)(B) of this
      Code section, in such a manner as not to destroy the oath printed thereon;
      provided, however, that the registrars or absentee ballot clerk shall not be
      authorized to remove the contents of such outer envelope, or to open the inner
      envelope marked ‘Official Absentee Ballot,’ except as otherwise provided in
      this Code sectionand scan the absentee ballot using one or more ballot
      scanners. At least three persons who are registrars, deputy registrars, poll
      workers, or absentee ballot clerks must be present before commencing; and
      three persons who are registrars, deputy registrars, or absentee ballot clerks
      shall be present at all times while the outerabsentee ballot envelopes are being
      opened and the absentee ballots are being scanned. After opening the outer
      envelopes, the ballots shall be safely and securely stored until the time for
      tabulating such ballots.However, no person shall tally, tabulate, estimate, or
      attempt to tally, tabulate, or estimate or cause the ballot scanner or any other
      equipment to produce any tally or tabulate, partial or otherwise, of the
      absentee ballots cast until the time for the closing of the polls on the day of the
      primary, election, or runoff except as provided in this Code section. Prior to
      beginning the process set forth in this paragraph, the superintendent shall
      provide written notice to the Secretary of State in writing at least seven days
      prior to processing and scanning absentee ballots. Such notice shall contain
      the dates, start and end times, and location or locations where absentee
      ballots will be processed and scanned. The superintendent shall also post
      such notice publicly in a prominent location in the superintendent’s office and
      on the home page of the county election superintendent’s website, if the
      county election superintendent maintains such a website. The Secretary of
      State shall publish on his or her website the information he or she receives
      from superintendents stating the dates, times, and locations where absentee
      ballots will be processed.
  (B) The proceedings set forth in this paragraph shall be open to the view of the
      public, but no person except one employed and designated by the
      superintendent shall touch any ballot or ballot container. Any person involved
      in processing and scanning absentee ballots shall swear an oath, in the same
      form as the oath for poll officers provided in Code Section 21-2-95, prior to
      beginning the processing and scanning of absentee ballots. The county
      executive committee or, if there is no organized county executive committee,
      the state executive committee of each political party and political body having
      candidates whose names appear on the ballot for such election shall have the
      right to designate two persons and each independent and nonpartisan
      candidate whose name appears on the ballot for such election shall have the
      right to designate one person to act as monitors for such process. In the event
      that the only issue to be voted upon in an election is a referendum question,
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       the superintendent shall also notify in writing the chief judge of the superior
       court of the county who shall appoint two electors of the county to monitor such
       process. While viewing or monitoring the process set forth in this paragraph,
       monitors and observers shall be prohibited from:
       (i) In any way interfering with the processing or scanning of absentee ballots or
            the conduct of the election;
       (ii) Using or bringing into the room any photographic or other electronic
            monitoring or recording devices, cellular telephones, or computers;
       (iii) Engaging in any form of campaigning or campaign activity;
       (iv) Taking any action that endangers the secrecy and security of the ballots;
       (v) Touching any ballot or ballot container;
       (vi) Tallying, tabulating, estimating, or attempting to tally, tabulate, or estimate,
            whether partial or otherwise, any of the votes on the absentee ballots cast;
            and
       (vii) Communicating any information that they see while monitoring the
            processing and scanning of the absentee ballots, whether intentionally or
            inadvertently, about any ballot, vote, or selection to anyone other than an
            election official who needs such information to lawfully carry out his or her
            official duties.
   (C) The State Election Board shall promulgate rules requiring reconciliation
       procedures; prompt and undelayed scanning of ballots after absentee ballot
       envelopes are opened; secrecy of election results prior to the closing of the
       polls on the day of a primary, election, or runoff; and other protections to
       protect the integrity of the process set forth in this paragraph.
(3) A county election superintendent may, in his or her discretion, after 7:00 A.M. on
    the day of the primary, election, or runoff open the inner envelopes in accordance
    with the procedures prescribed in this subsection and begin tabulating the
    absentee ballots. If the county election superintendent chooses to open the inner
    envelopes and begin tabulating such ballots prior to the close of the polls on the
    day of the primary, election, or runoff, the superintendent shall notify in writing, at
    least seven days prior to the primary, election, or runoff, the Secretary of State of
    the superintendent’s intent to begin the absentee ballot tabulation prior to the
    close of the polls. The county executive committee or, if there is no organized
    county executive committee, the state executive committee of each political party
    and political body having candidates whose names appear on the ballot for such
    election in such county shall have the right to designate two persons and each
    independent and nonpartisan candidate whose name appears on the ballot for
    such election in such county shall have the right to designate one person to act as
    monitors for such process. In the event that the only issue to be voted upon in an
    election is a referendum question, the superintendent shall also notify in writing
    the chief judge of the superior court of the county who shall appoint two electors of
    the county to monitor such process.
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   (4) The county election superintendent shall publish a written notice in the
       superintendent’s office of the superintendent’s intent to begin the absentee ballot
       tabulation prior to the close of the polls and publish such notice at least one week
       prior to the primary, election, or runoff in the legal organ of the county.
   (5) The process for opening the innerabsentee ballot envelopes, scanning absentee
       ballots, of and tabulating absentee ballots on the day of a primary, election, or
       runoff as provided in this subsection shall be a confidential processconducted in a
       manner to maintain the secrecy of all ballots and to protect the disclosure of any
       balloting information before 7:00 P.M. on election day. No absentee ballots shall
       be tabulated before 7:00 A.M. on the day of a primary, election, or runoff.
   (6) All persons conducting the tabulation of absentee ballots during the day of a
       primary, election, or runoff, including the vote review panel required by Code
       Section 21-2-483, and all monitors and observers shall be sequestered until the
       time for the closing of the polls. All such persons shall have no contact with the
       news media; shall have no contact with other persons not involved in monitoring,
       observing, or conducting the tabulation; shall not use any type of communication
       device including radios, telephones, and cellular telephones; shall not utilize
       computers for the purpose of e-mailemail, instant messaging, or other forms of
       communication; and shall not communicate any information concerning the
       tabulation until the time for the closing of the polls; provided, however, that
       supervisory and technical assistance personnel shall be permitted to enter and
       leave the area in which the tabulation is being conducted but shall not
       communicate any information concerning the tabulation to anyone other than the
       county election superintendent; the staff of the superintendent; those persons
       conducting, observing, or monitoring the tabulation; and those persons whose
       technical assistance is needed for the tabulation process to operate.
   (7) The absentee ballots shall be tabulated in accordance with the procedures of this
       chapter for the tabulation of absentee ballots. As such ballots are tabulated, they
       shall be placed into locked ballot boxes and may be transferred to locked ballot
       bags, if needed, for security. The persons conducting the tabulation of the
       absentee ballots shall not cause the tabulating equipment to produce any count,
       partial or otherwise, of the absentee votes cast until the time for the closing of the
       polls except as otherwise provided in this Code section .
(b) When requested by the superintendent, but not earlier than the third Monday prior to a
    primary, election, or runoffAs soon as practicable after 7:00 A.M. on the day of the
    primary, election, or runoff, in precincts other than those in which optical scanning
    tabulators are used, a registrar or absentee ballot clerk shall deliver the official
    absentee ballot of each certified absentee elector, each rejected absentee ballot,
    applications for such ballots, and copies of the numbered lists of certified and rejected
    absentee electors to the manager in charge of the absentee ballot precinct of the
    county or municipality, which shall be located in the precincts containing the county
    courthouse or polling place designated by the municipal superintendent. In those
    precincts in which optical scanning tabulators are used, such absentee ballots shall
    be taken to the tabulation center or other placelocation designated by the
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   superintendent, and the superintendent or official receiving such absentee ballots
   shall issue his or her receipt therefor. Except as otherwise provided in this Code
   section, in no event shall the counting of the ballots begin before the polls close.
(c) The superintendent shall cause the verified and accepted absentee ballots to be
    opened and tabulated as provided in this Code section. AExcept as otherwise
    provided in this Code section, after the close of the polls on the day of the primary,
    election, or runoff, a manager shall then open the outer envelope in such manner as
    not to destroy the oath printed thereon and shall deposit the inner envelope marked
    ‘Official Absentee Ballot’ in a ballot box reserved for absentee ballots. In the event
    that an outer envelope is found to contain an absentee ballot that is not in an inner
    envelope, the ballot shall be sealed in an inner envelope, initialed and dated by the
    person sealing the inner envelope, and deposited in the ballot box and counted in the
    same manner as other absentee ballots, provided that such ballot is otherwise proper.
    Such manager with two assistant managers, appointed by the superintendent, with
    such clerks as the manager deems necessary shall count the absentee ballots
    following the procedures prescribed by this chapter for other ballots, insofar as
    practicable, and prepare an election return for the county or municipality showing the
    results of the absentee ballots cast in such county or municipality.
(d) All absentee ballots shall be counted and tabulated in such a manner that returns may
    be reported by precinct; and separate returns shall be made for each precinct in
    which absentee ballots were cast showing the results by each precinct in which the
    electors reside. The superintendent shall utilize the procedures set forth in this Code
    section to ensure that the returns of verified and accepted absentee ballots cast are
    reported to the public as soon as possible following the closing of the polls on the day
    of the primary, election, or runoff. Failure to utilize these procedures to ensure that
    the returns of verified and accepted absentee ballots are reported as soon as
    possible following the close of polls shall subject the superintendent to sanctions by
    the State Election Board. If a superintendent fails to report the returns of verified and
    accepted absentee ballots by the day following the election at 5:00 P.M., the State
    Election Board may convene an independent performance review board pursuant to
    Code Section 21-2-107.
(e) If an absentee elector’s right to vote has been challenged for cause, a poll officer shall
     write ‘Challenged,’ the elector’s name, and the alleged cause of challenge on the
     outer envelope and shall deposit the ballot in a secure, sealed ballot box; and it shall
     be counted as other challenged ballots are counted. Where direct recording electronic
     voting systems are used for absentee balloting and a challenge to an elector’s right to
     vote is made prior to the time that the elector votes, the elector shall vote on a paper
     or optical scanning ballot and such ballot shall be handled as provided in this
     subsection. The board of registrars or absentee ballot clerk shall promptly notify the
     elector of such challenge.
(f) It shall be unlawful at any time prior to the close of the polls for any person to disclose
     or for any person to receive any information regarding the results of the tabulation of
     absentee ballots except as expressly provided by law.”
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SECTION 30.

Said chapter is further amended in Code Section 21-2-390, relating to delivery of election
materials to clerk of superior court or city clerk after primary or election and accounting for
ballots by registrars or municipal absentee ballot clerks, by designating the existing text as
subsection (a) and adding a new subsection to read as follows:
   “(b) The Secretary of State shall be authorized to inspect and audit the information
       contained in the absentee ballot applications or envelopes at his or her discretion at any
       time during the 24 month retention period. Such audit may be conducted state wide or in
       selected counties or cities and may include the auditing of a statistically significant
       sample of the envelopes or a full audit of all of such envelopes. For this purpose, the
       Secretary of State or his or her authorized agents shall have access to such envelopes in
       the custody of the clerk of superior court or city clerk.”


SECTION 31.

Said chapter is further amended in Code Section 21-2-403, relating to time for opening and
closing of polls, by redesignating the existing text as subsection (a) and adding a new
subsection to read as follows:
   “(b) Poll hours at a precinct may be extended only by order of a judge of the superior court
       of the county in which the precinct is located upon good cause shown by clear and
       convincing evidence that persons were unable to vote at that precinct during a specific
       period or periods of time. Poll hours shall not be extended longer than the total amount of
       time during which persons were unable to vote at such precinct. Any order extending poll
       hours at a precinct beyond 9:00 P.M. shall be by written order with specific findings of
       fact supporting such extension.”


SECTION 32.

Said chapter is further amended by revising subsections (c) and (e) of Code Section 21-2-408,
relating to poll watchers, designation, duties, removal for interference with election, reports by
poll watchers of infractions or irregularities, and ineligibility of candidates to serve as poll
watchers, as follows:
   “(c) In counties or municipalities using direct recording electronic (DRE) voting systems or
       optical scanning voting systems, each political party may appoint two poll watchers in
       each primary or election, each political body may appoint two poll watchers in each
       election, each nonpartisan candidate may appoint one poll watcher in each nonpartisan
       election, and each independent candidate may appoint one poll watcher in each election
       to serve in the locations designated by the superintendent within the tabulating center.
       Such designated locations shall include the check-in area, the computer room, the
       duplication area, and such other areas as the superintendent may deem necessary to the
       assurance of fair and honest procedures in the tabulating center. The locations
       designated by the superintendent shall ensure that each poll watcher can fairly observe
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       the procedures set forth in this Code section. The poll watchers provided for in this
       subsection shall be appointed and serve in the same manner as other poll watchers.”
   “(e) No person shall be appointed or be eligible to serve as a poll watcher in any primary or
       election in which such person is a candidate. No person shall be eligible to serve as a
       poll watcher unless he or she has completed training provided by the political party,
       political body, or candidate designating the poll watcher. Upon request, the Secretary of
       State shall make available material to each political party, political body, or candidate that
       can be utilized in such training but it shall be the responsibility of the political party,
       political body, or candidate designating the poll watcher to instruct poll watchers in their
       duties and in applicable laws and rules and regulations. Each political party, political
       body, or candidate shall, in their written designation of poll watchers, certify under oath
       that the named poll watchers have completed the training required by this Code section.”


SECTION 33.

Said chapter is further amended by revising subsections (a) and (e) of Code Section 21-2-414,
relating to restrictions on campaign activities and public opinion polling within the vicinity of a
polling place, cellular phone use prohibited, prohibition of candidates from entering certain
polling places, and penalty, as follows:
   “(a) No person shall solicit votes in any manner or by any means or method, nor shall any
       person distribute or display any campaign material, nor shall any person give, offer to
       give, or participate in the giving of any money or gifts, including, but not limited to, food
       and drink, to an elector, nor shall any person solicit signatures for any petition, nor shall
       any person, other than election officials discharging their duties, establish or set up any
       tables or booths on any day in which ballots are being cast:
      (1) Within 150 feet of the outer edge of any building within which a polling place is
          established;
      (2) Within any polling place; or
      (3) Within 25 feet of any voter standing in line to vote at any polling place.
          These restrictions shall not apply to conduct occurring in private offices or areas which
          cannot be seen or heard by such electors.”
   “(e) This Code section shall not be construed to prohibit a poll officer from distributing
       materials, as required by law, which are necessary for the purpose of instructing electors
       or from distributing materials prepared by the Secretary of State which are designed
       solely for the purpose of encouraging voter participation in the election being conducted
       or from making available self-service water from an unattended receptacle to an elector
       waiting in line to vote .”


SECTION 34.

Said chapter is further amended by revising subsections (a) and (b) of Code Section 21-2-418,
relating to provisional ballots, as follows:
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   “(a) If a person presents himself or herself at a polling place, absentee polling place, or
       registration office in his or her county of residence in this state for the purpose of casting
       a ballot in a primary or election stating a good faith belief that he or she has timely
       registered to vote in such county of residence in such primary or election and the
       person’s name does not appear on the list of registered electors, the person shall be
       entitled to cast a provisional ballot in his or her county of residence in this state as
       provided in this Code section. If the person presents himself or herself at a polling place
       in the county in which he or she is registered to vote, but not at the precinct at which he
       or she is registered to vote, the poll officials shall inform the person of the polling location
       for the precinct where such person is registered to vote. The poll officials shall also
       inform such person that any votes cast by a provisional ballot in the wrong precinct will
       not be counted unless it is cast after 5:00 P.M. and before the regular time for the closing
       of the polls on the day of the primary, election, or runoff and unless the person executes
       a sworn statement, witnessed by the poll official, stating that he or she is unable to vote
       at his or her correct polling place prior to the closing of the polls and giving the reason
       therefor.
   (b) Such person voting a provisional ballot shall complete an official voter registration form
       and a provisional ballot voting certificate which shall include information about the place,
       manner, and approximate date on which the person registered to vote. The person shall
       swear or affirm in writing that he or she previously registered to vote in such primary or
       election, is eligible to vote in such primary or election, has not voted previously in such
       primary or election, and meets the criteria for registering to vote in such primary or
       election. If the person is voting a provisional ballot in the county in which he or she is
       registered to vote but not at the precinct in which he or she is registered to vote during
       the period from 5:00 P.M. to the regular time for the closing of the polls on the day of the
       primary, election, or runoff, the person shall execute a sworn statement, witnessed by the
       poll official, stating that he or she is unable to vote at his or her correct polling place prior
       to the closing of the polls and giving the reason therefor. The form of the provisional
       ballot voting certificate shall be prescribed by the Secretary of State. The person shall
       also present the identification required by Code Section 21-2-417.”


SECTION 35.

Said chapter is further amended by revising Code Section 21-2-419, relating to validation of
provisional ballots and reporting to Secretary of State, as follows:
   “21-2-419.
      (a) A person shall cast a provisional ballot on the same type of ballot that is utilized by the
          county or municipality. Such provisional ballot shall be sealed in double envelopes as
          provided in Code Section 21-2-384 and shall be deposited by the person casting such
          ballot in a secure, sealed ballot box.
      (b) At the earliest time possible after the casting of a provisional ballot, but no later than
          the day after the primary or election in which such provisional ballot was cast, the
          board of registrars of the county or municipality, as the case may be, shall be notified
          by the election superintendent that provisional ballots were cast in the primary or
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      election and the registrars shall be provided with the documents completed by the
      person casting the provisional ballot as provided in Code Section 21-2-418.
      Provisional ballots shall be securely maintained by the election superintendent until a
      determination has been made concerning their status. The board of registrars shall
      immediately examine the information contained on such documents and make a good
      faith effort to determine whether the person casting the provisional ballot was entitled
      to vote in the primary or election. Such good faith effort shall include a review of all
      available voter registration documentation, including registration information made
      available by the electors themselves and documentation of modifications or
      alterations of registration data showing changes to an elector’s registration status.
      Additional sources of information may include, but are not limited to, information from
      the Department of Driver Services, Department of Family and Children Services,
      Department of Natural Resources, public libraries, or any other agency of government
      including, but not limited to, other county election and registration offices.
(c)
      (1) If the registrars determine after the polls close, but not later than three days
           following the primary or election, that the person casting the provisional ballot
           timely registered to vote and was eligible and entitled to vote in the precinct in
           which he or she voted in such primary or election, the registrars shall notify the
           election superintendent and the provisional ballot shall be counted and included in
           the county’s or municipality’s certified election results.
      (2) If the registrars determine after the polls close, but not later than three days
           following the primary or election, that the person voting the provisional ballot
           timely registered and was eligible and entitled to vote in the primary or election but
           voted in the wrong precinct, then the board of registrars shall notify the election
           superintendent only if such person voted between the hours of 5:00 P.M. and the
           regular time for the closing of the polls on the day of the primary, election, or
           runoff and provided the sworn statement required by subsection (b) of Code
           Section 21-2-418 . The superintendent shall count such person’s votes which
           were cast for candidates in those races for which the person was entitled to vote
           but shall not count the votes cast for candidates in those races in which such
           person was not entitled to vote. The superintendent shall order the proper election
           official at the tabulating center or precinct to prepare an accurate duplicate ballot
           containing only those votes cast by such person in those races in which such
           person was entitled to vote for processing at the tabulating center or precinct,
           which shall be verified in the presence of a witness. Such duplicate ballot shall be
           clearly labeled with the word ‘Duplicate,’ shall bear the designation of the polling
           place, and shall be given the same serial number as the original ballot. The
           original ballot shall be retained and the sworn statement required by subsection
           (b) of Code Section 21-2-418 shall be transmitted to the Secretary of State with
           the certification documents required by paragraph (4) of subsection (a) of Code
           Section 21-2-497 and such statement shall be reviewed by the State Election
           Board .
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            (3) If the registrars determine that the person casting the provisional ballot did not
                 timely register to vote or was not eligible or entitled to vote in the precinct in which
                 he or she voted in such primary or election or shall be unable to determine within
                 three days following such primary or election whether such person timely
                 registered to vote and was eligible and entitled to vote in such primary or election,
                 the registrars shall so notify the election superintendent and such ballot shall not
                 be counted. The election superintendent shall mark or otherwise document that
                 such ballot was not counted and shall deliver and store such ballots with all other
                 ballots and election materials as provided in Code Section 21-2-500.
      (d)
            (1) At the earliest time possible after a determination is made regarding a provisional
                ballot, the board of registrars shall notify in writing those persons whose
                provisional ballots were not counted that their ballots were not counted because of
                the inability of the registrars to verify that the persons timely registered to vote or
                other proper reason. The registrars shall process the official voter registration form
                completed by such persons pursuant to Code Section 21-2-418 and shall add
                such persons to the electors list if found qualified.
            (2) At the earliest time possible after a determination is made regarding a provisional
                ballot, the board of registrars shall notify in writing those electors who voted in the
                wrong precinct and whose votes were partially counted of their correct precinct.
      (e) The board of registrars shall complete a report in a form designated by the Secretary
          of State indicating the number of provisional ballots cast and counted in the primary
          or election.”


SECTION 36.

Said chapter is further amended in Part 1 of Article 11, relating to general provisions regarding
preparation for and conduct of primaries and elections, by adding new Code sections to read as
follows:
   “21-2-420.
      (a) After the time for the closing of the polls and the last elector voting, the poll officials in
          each precinct shall complete the required accounting and related documentation for
          the precinct and shall advise the election superintendent of the total number of ballots
          cast at such precinct and the total number of provisional ballots cast. The chief
          manager and at least one assistant manager shall post a copy of the tabulated results
          for the precinct on the door of the precinct and then immediately deliver all required
          documentation and election materials to the election superintendent. The election
          superintendent shall then ensure that such ballots are processed, counted, and
          tabulated as soon as possible and shall not cease such count and tabulation until all
          such ballots are counted and tabulated.
      (b) The election superintendent shall ensure that each precinct notifies the election
          superintendent of the number of ballots cast and number of provisional ballots cast as
          soon as possible after the time for the closing of the polls and the last elector votes.
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          The election superintendent shall post such information publicly. The State Election
          Board shall promulgate rules and regulations regarding how such information shall be
          publicly posted to ensure transparency, accuracy, and security.
   21-2-421.
      (a) As soon as possible but not later than 10:00 P.M. following the close of the polls on
          the day of a primary, election, or runoff, the election superintendent shall report to the
          Secretary of State and post in a prominent public place the following information:
         (1) The number of ballots cast at the polls on the day of the primary, election, or
             runoff, including provisional ballots cast;
         (2) The number of ballots cast at advance voting locations during the advance voting
             period for the primary, election, or runoff; and
         (3) The total number of absentee ballots returned to the board of registrars by the
             deadline to receive such absentee ballots on the day of the primary, election, or
             runoff.
      (b) Upon the completion of the report provided for in subsection (a) of this Code section,
          the election superintendent shall compare the total number of ballots received as
          reported in subsection (a) of this Code section and the counting of the ballots in the
          primary, election, or runoff minus any rejected and uncured absentee ballots,
          uncounted provisional ballots, and any other uncounted ballots, with the total number
          of ballots cast in the primary, election, or runoff. The results of such comparison and
          all explanatory materials shall be reported to the Secretary of State. The reason for
          any discrepancy shall be fully investigated and reported to the Secretary of State.”


SECTION 37.

Said chapter is further amended by revising subsections (a) and (d) of Code Section 21-2-437,
relating to procedure as to count and return of votes generally and void ballots, as follows:
   “(a) After the polls close and as soon as all the ballots have been properly accounted for and
       those outside the ballot box as well as the voter’s certificates, numbered list of voters,
       and electors list have been sealed, the poll officers shall open the ballot box and take
       therefrom all ballots contained therein. In primaries in which more than one ballot box is
       used, any ballots or stubs belonging to another party holding its primary in the same
       polling place shall be returned to the ballot box for the party for which they were issued.
       In primaries, separate tally and return sheets shall be prepared for each party, and
       separate poll officers shall be designated by the chief manager to count and tally each
       party’s ballot. Where the same ballot box is being used by one or more parties, the
       ballots and stubs shall first be divided by party before being tallied and counted. The
       ballots shall then be counted one by one and a record made of the total number. Then
       the chief manager, together with such assistant managers and other poll officers as the
       chief manager may designate, under the scrutiny of one of the assistant managers and in
       the presence of the other poll officers, shall read aloud the names of the candidates
       marked or written upon each ballot, together with the office for which the person named
       is a candidate, and the answers contained on the ballots to the questions submitted, if
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       any; and the other assistant manager and clerks shall carefully enter each vote as read
       and keep account of the same in ink on a sufficient number of tally papers, all of which
       shall be made at the same time. All ballots, after being removed from the box, shall be
       kept within the unobstructed view of all persons in the voting room until replaced in the
       box. No person, while handling the ballots, shall have in his or her hand any pencil, pen,
       stamp, or other means of marking or spoiling any ballot. The poll officers shall
       immediately proceed to canvass and compute the votes cast and shall not adjourn or
       postpone the canvass or computation until it shall have been fully completed, except that,
       in the discretion of the superintendent, the poll officers may stop the counting after all
       contested races and questions are counted, provided that the results of these contested
       races and questions are posted for the information of the public outside the polling place
       and the ballots are returned to the ballot box and deposited with the superintendent until
       counting is resumed on the following day.”
   “(d) Any ballot marked so as to identify the voter shall be void and not counted, except a
       ballot cast by a challenged elector whose name appears on the electors list; such
       challenged vote shall be counted as prima facie valid but may be voided in the event of
       an election contest. Any ballot marked by anything but pen or pencil shall be void and not
       counted. Any erasure, mutilation, or defect in the vote for any candidate shall render void
       the vote for such candidate but shall not invalidate the votes cast on the remainder of the
       ballot, if otherwise properly marked. If an elector shall mark his or her ballot for more
       persons for any nomination or office than there are candidates to be voted for such
       nomination or office, or if, for any reason, it may be impossible to determine his or her
       choice for any nomination or office, his or her ballot shall not be counted for such
       nomination or office; but the ballot shall be counted for all nominations or offices for
       which it is properly marked. Unmarked ballots or ballots improperly or defectively marked
       so that the whole ballot is void shall be set aside and shall be preserved with other
       ballots. In primaries, votes cast for candidates who have died, withdrawn, or been
       disqualified shall be void and shall not be counted. Except as provided in subsection (g)
       of Code Section 21-2-134 regarding nonpartisan elections, in In elections, votes for
       candidates who have died or been disqualified shall be void and shall not be counted.”


SECTION 38.

Said chapter is further amended by revising subsection (a) of Code Section 21-2-438, relating to
ballots identifying voter, not marked, or improperly marked declared void, as follows:
   “(a) Any ballot marked so as to identify the voter shall be void and not counted, except a
       ballot cast by a challenged elector whose name appears on the electors list; such
       challenged vote shall be counted as prima facie valid but may be voided in the event of
       an election contest. Any ballot marked by anything but pen or pencil shall be void and not
       counted. Any erasure, mutilation, or defect in the vote for any candidate shall render void
       the vote for such candidate but shall not invalidate the votes cast on the remainder of the
       ballot, if otherwise properly marked. If an elector shall mark his or her ballot for more
       persons for any nomination or office than there are candidates to be voted for such
       nomination or office, or if, for any reason, it may be impossible to determine his or her
       choice for any nomination or office, his or her ballot shall not be counted for such
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       nomination or office; but the ballot shall be counted for all nominations or offices for
       which it is properly marked. Ballots not marked or improperly or defectively marked so
       that the whole ballot is void, shall be set aside and shall be preserved with the other
       ballots. In primaries, votes cast for candidates who have died, withdrawn, or been
       disqualified shall be void and shall not be counted. Except as provided in subsection (g)
       of Code Section 21-2-134 regarding nonpartisan elections, inIn elections, votes for
       candidates who have died or been disqualified shall be void and shall not be counted.”


SECTION 38A.

Said chapter is further amended by revising subsection (a) of Code Section 21-2-480, relating to
caption for ballots, party designations, and form and arrangement, as follows:
   “(a) At the top of each ballot for an election in a precinct using optical scanning voting
       equipment shall be printed in prominent type the words ‘OFFICIAL BALLOT,’ followed by
       the name and designation of the precinct for which it is prepared and the name and date
       of the election.”


SECTION 38B.

Said chapter is further amended by revising Code Section 21-2-482, relating to absentee ballots
for precincts using optical scanning voting equipment, as follows:
   “21-2-482.
          Ballots in a precinct using optical scanning voting equipment for voting by absentee
          electors shall be prepared sufficiently in advance by the superintendent and shall be
          delivered to the board of registrars as provided in Code Section 21-2-384. Such
          ballots shall be marked ‘Official Absentee Ballot’ and shall be in substantially the form
          for ballots required by Article 8 of this chapter, except that in counties or municipalities
          using voting machines, direct recording electronic (DRE) units, or ballot scanners, the
          ballots may be in substantially the form for the ballot labels required by Article 9 of this
          chapter or in such form as will allow the ballot to be machine tabulated. Every such
          ballot shall have printed on the face thereof the following:
             ‘I understand that the offer or acceptance of money or any other object of value to
             vote for any particular candidate, list of candidates, issue, or list of issues included
             in this election constitutes an act of voter fraud and is a felony under Georgia law.’
             The form for either ballot shall be determined and prescribed by the Secretary of
             State and shall have printed at the top the name and designation of the precinct.”


SECTION 39.

Said chapter is further amended by revising subsection (f) of Code Section 21-2-483, relating to
counting of ballots, public accessibility to tabulating center and precincts, execution of ballot
recap forms, and preparation of duplicate ballots, as follows:
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   “(f) If it appears that a ballot is so torn, bent, or otherwise defective that it cannot be
        processed by the tabulating machine, the superintendent, in his or her discretion, may
        order the proper election official at the tabulating center or precincta duplication panel to
        prepare a true duplicate copy for processing with the ballots of the same polling place,
        which shall be verified in the presence of a witness. In a partisan election, the duplication
        panel shall be composed of the election superintendent or a designee thereof and one
        person appointed by the county executive committee of each political party having
        candidates whose names appear on the ballot for such election, provided that, if there is
        no organized county executive committee for a political party, the person shall be
        appointed by the state executive committee of the political party. In a nonpartisan
        election or an election involving only the presentation of a question to the electors, the
        duplication panel shall be composed of the election superintendent or a designee thereof
        and two electors of the county or municipality. In the case of a nonpartisan county or
        municipal election or an election involving only the presentation of a question to the
        electors, the two elector members of the panel shall be appointed by the chief judge of
        the superior court of the county or municipality in which the election is held. In the case of
        a municipality which is located in more than one county, the two elector members of the
        panel shall be appointed by the chief judge of the superior court of the county in which
        the city hall of the municipality is located. The election superintendent may create
        multiple duplication panels to handle the processing of such ballots more efficiently. All
        duplicate ballots shall be clearly labeled by the word ‘duplicate,’ shall bear the
        designation of the polling place, and shall be given the same serial number as the
        defective ballotcontain a unique number that will allow such duplicate ballot to be linked
        back to the original ballot. The defective ballot shall be retained.”


SECTION 40.

Said chapter is further amended by revising Code Section 21-2-492, relating to computation and
canvassing of returns, notice of when and where returns will be computed and canvassed, blank
forms for making statements of returns, and swearing of assistants, as follows:
   “21-2-492.
          The superintendent shall arrange for the computation and canvassing of the returns of
          votes cast at each primary and election at his or her office or at some other
          convenient public place at the county seat or municipality following the close of the
          polls on the day of such primary or election with accommodations for those present
          insofar as space permits. An interested candidate or his or her representative shall be
          permitted to keep or check his or her own computation of the votes cast in the several
          precincts as the returns from the same are read, as directed in this article. The
          superintendent shall give at least one week’s notice prior to the primary or election by
          publishing same in a conspicuous place in the superintendent’s office, of the time and
          place when and where he or she will commence and hold his or her sessions for the
          computation and canvassing of the returns; and he or she shall keep copies of such
          notice posted in his or her office during such period. The superintendent shall procure
          a sufficient number of blank forms of returns made out in the proper manner and
          headed as the nature of the primary or election may require, for making out full and
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          fair statements of all votes which shall have been cast within the county or any
          precinct therein, according to the returns from the several precincts thereof, for any
          person voted for therein, or upon any question voted upon therein. The assistants of
          the superintendent in the computation and canvassing of the votes shall be first sworn
          by the superintendent to perform their duties impartially and not to read, write, count,
          or certify any return or vote in a false or fraudulent manner.”


SECTION 41.

Said chapter is further amended by revising subsections (a) and (k) of Code Section 21-2-493,
relating to computation, canvassing, and tabulation of returns, investigation of discrepancies in
vote counts, recount procedure, certification of returns, and change in returns, and adding a new
subsection to read as follows:
   “(a) The superintendent shall, at or before 12:00 Noonafter the close of the polls on the day
       following theof a primary or election, at his or her office or at some other convenient
       public place at the county seat or in the municipality, of which due notice shall have been
       given as provided by Code Section 21-2-492, publicly commence the computation and
       canvassing of the returns and continue the sameuntil all absentee ballots received by the
       close of the polls, including those cast by advance voting, and all ballots cast on the day
       of the primary or election have been counted and tabulated and the results of such
       tabulation released to the public and, then, continuing with provisional ballots as provided
       in Code Sections 21-2-418 and 21-2-419 and those absentee ballots as provided in
       subparagraph (a)(1)(G) of Code Section 21-2-386 from day to day until completed. For
       this purpose, the superintendent may organize his or her assistants into sections, each of
       whichwhom may simultaneously proceed with the computation and canvassing of the
       returns from various precincts of the county or municipality in the manner provided by
       this Code section. Upon the completion of such computation and canvassing, the
       superintendent shall tabulate the figures for the entire county or municipality and sign,
       announce, and attest the same, as required by this Code section.”
   “(j.1) The Secretary of State shall create a pilot program for the posting of digital images of
       the scanned paper ballots created by the voting system.
   (k) As the returns from each precinct are read, computed, and found to be correct or
       corrected as aforesaid, they shall be recorded on the blanks prepared for the purpose
       until all the returns from the various precincts which are entitled to be counted shall have
       been duly recorded; then they shall be added together, announced, and attested by the
       assistants who made and computed the entries respectively and shall be signed by the
       superintendent.
      The consolidated returns shall then be certified by the superintendent in the manner
      required by this chapter. Such returns shall be certified by the superintendent not later
      than 5:00 P.M. on the second FridayMonday following the date on which such election
      was held and such returns shall be immediately transmitted to the Secretary of State;
      provided, however, that such certification date may be extended by the Secretary of State
      in his or her discretion if necessary to complete a precertification audit as provided in
      Code Section 21-2-498.”
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SECTION 42.

Said chapter is further amended by revising Code Section 21-2-501, relating to number of votes
required for election, as follows:
   “21-2-501.
      (a)
            (1) Except as otherwise provided in this Code section, no candidate shall be
                nominated for public office in any primary or special primary or elected to public
                office in any election or special election or shall take or be sworn into such elected
                public office unless such candidate shall have received a majority of the votes cast
                to fill such nomination or public office. In instances where no candidate receives a
                majority of the votes cast, a run-off primary, special primary runoff, run-off
                election, or special election runoff between the candidates receiving the two
                highest numbers of votes shall be held.
               Unless such date is postponed by a court order, such run-off primary, special
               primary runoff, run-off election, or special election runoff shall be held as provided
               in this subsection.
               (2) In the case of a runoff from a general primary or a special primary or special
               election held in conjunction with a general primary, the runoff shall be held on the
               Tuesday of the ninth week following such general primary.
               (3) In the case of a runoff from a general election for a federal office or a runoff
               from a special primary or special election for a federal office held in conjunction
               with a general election, the runoff shall be held on the Tuesday of the ninth week
               following such general election.
               (4) In the case of a runoff from a general election for an office other than a federal
               office or a runoff from a special primary or special election for an office other than
               a federal office held in conjunction with a general election, the runoff shall be held
               on the twenty-eighth day after the day of holding the preceding general or special
               primary or general or special election.
               (5) In the case of a runoff from a special primary or special election for a federal
               office not held in conjunction with a general primary or general election, the runoff
               shall be held on the Tuesday of the ninth week following such special primary or
               special election.
               (6) In the case of a runoff from a special primary or special election for an office
               other than a federal office not held in conjunction with a general primary or general
               election, the runoff shall be held on the twenty-eighth day after the day of holding
               the preceding special primary or special election; provided, however, that, if such
               runoff is from a special primary or special election held in conjunction with a
               special primary or special election for a federal office and there is a runoff being
               conducted for such federal office, the runoff from the special primary or special
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       election conducted for such other office may be held in conjunction with the runoff
       for the federal office.
   (7) (2) If any candidate eligible to be in a runoff withdraws, dies, or is found to be
        ineligible, the remaining candidates receiving the two highest numbers of votes
        shall be the candidates in the runoff.
   (8) (3) The candidate receiving the highest number of the votes cast in such run-off
        primary, special primary runoff, run-off election, or special election runoff to fill the
        nomination or public office sought shall be declared the winner.
   (9) (4) The name of a write-in candidate eligible for election in a runoff shall be printed
        on the election or special election run-off ballot in the independent column.
   (10) (5) The run-off primary, special primary runoff, run-off election, or special election
       runoff shall be a continuation of the primary, special primary, election, or special
       election for the particular office concerned. Only the electors who wereare duly
       registered to vote and not subsequently deemed disqualified to vote in the
       primary, special primary, election, or special electionrunoff for candidates for that
       particular office shall be entitled to vote therein, and only those votes cast for the
       persons designated as candidates in such run-off primary, special primary runoff,
       run-off election, or special election runoff shall be counted in the tabulation and
       canvass of the votes cast. No elector shall vote in a run-off primary or special
       primary runoff in violation of Code Section 21-2-224.
(b) For the purposes of this subsection, the word ‘plurality’ shall mean the receiving by
    one candidate alone of the highest number of votes cast. If the municipal charter or
    ordinances of a municipality as now existing or as amended subsequent to
    September 1, 1968, provide that a candidate may be nominated or elected by a
    plurality of the votes cast to fill such nomination or public office, such provision shall
    prevail. Otherwise, no municipal candidate shall be nominated for public office in any
    primary or elected to public office in any election unless such candidate shall have
    received a majority of the votes cast to fill such nomination or public office.
(c) In instances in which no municipal candidate receives a majority of the votes cast and
     the municipal charter or ordinances do not provide for nomination or election by a
     plurality vote, a run-off primary or election shall be held between the candidates
     receiving the two highest numbers of votes. Such runoff shall be held on the twenty-
     eighth day after the day of holding the first primary or election, unless such run-off
     date is postponed by court order.; provided, however, that, in the case of a runoff
     from a municipal special election that is held in conjunction with a special election for
     a federal office and not in conjunction with a general primary or general election, the
     municipality may conduct such runoff from such municipal special election on the date
     of the special election runoff for the federal office. Only the electors entitled to vote in
     the first primary or election shall be entitled to vote in any run-off primary or election
     resulting therefrom; provided, however, that no No elector shall vote in a run-off
     primary in violation of Code Section 21-2-216. The run-off primary or election shall be
     a continuation of the first primary or election, and only those votes cast for the
     candidates receiving the two highest numbers of votes in the first primary or election
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            shall be counted. No write-in votes may be cast in such a primary, run-off primary, or
            run-off election. If any candidate eligible to be in a runoff withdraws, dies, or is found
            to be ineligible, the remaining candidates receiving the two highest numbers of votes
            shall be the candidates in such runoff. The municipal candidate receiving the highest
            number of the votes cast in such run-off primary or run-off election to fill the
            nomination or public office sought shall be declared the winner. The municipality shall
            give written notice to the Secretary of State of such runoff as soon as such
            municipality certifies the preceding primary, special primary, election, or special
            election.
      (d) The name of a municipal write-in candidate eligible for election in a municipal runoff
          shall be printed on the municipal run-off election ballot in the independent column.
      (e) In all cities having a population in excess of 100,000 according to the United States
           decennial census of 1980 or any future such census, in order for a municipal
           candidate to be nominated for public office in any primary or elected to public office in
           any municipal election, he or she must receive a majority of the votes cast.
      (f) Except for presidential electors, to be elected to public office in a general election, a
           candidate must receive a majority of the votes cast in an election to fill such public
           office. To be elected to the office of presidential electors, no slate of candidates shall
           be required to receive a majority of the votes cast, but that slate of candidates shall
           be elected to such office which receives the highest number of votes cast.”


SECTION 43.

Said chapter is further amended by revising Code Section 21-2-540, relating to conduct of
special elections generally, as follows:
   “21-2-540.
      (a)
            (1) Every special primary and special election shall be held and conducted in all
                respects in accordance with the provisions of this chapter relating to general
                primaries and general elections; and the provisions of this chapter relating to
                general primaries and general elections shall apply thereto insofar as practicable
                and as not inconsistent with any other provisions of this chapter. All special
                primaries and special elections held at the time of a general primary, as provided
                by Code Section 21-2-541, shall be conducted by the poll officers by the use of
                the same equipment and facilities, insofar as practicable, as are used for such
                general primary. All special primaries and special elections held at the time of a
                general election, as provided by Code Section 21-2-541, shall be conducted by
                the poll officers by the use of the same equipment and facilities, so farinsofar as
                practicable, as are used for such general election.
            (2) If a vacancy occurs in a partisan office to which the Governor is authorized to
                 appoint an individual to serve until the next general election, a special primary
                 shall precede the special election.
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(b) At least 29 days shall intervene between the call of a special primary and the holding
    of same, and at least 29 days shall intervene between the call of a special election
    and the holding of same. The period during which candidates may qualify to run in a
    special primary or a special election shall remain open for a minimum of two and one-
    half days. Special primaries and special elections which are to be held in conjunction
    with the presidential preference primary, a state-wide general primary, or state-wide
    general election shall be called at least 90 days prior to the date of such presidential
    preference primary, state-wide general primary, or state-wide general election;
    provided, however, that this requirement shall not apply to special primaries and
    special elections held on the same date as such presidential preference primary,
    state-wide general primary, or state-wide general election but conducted completely
    separate and apart from such state-wide general primary or state-wide general
    election using different ballots or voting equipment, facilities, poll workers, and
    paperwork. Notwithstanding any provision of this subsection to the contrary, special
    elections which are to be held in conjunction with the state-wide general primary or
    state-wide general election in 2014 shall be called at least 60 days prior to the date of
    such state-wide general primary or state-wide general election.
(c)
      (1) Notwithstanding any other provision of law to the contrary, a special primary or
          special election to fill a vacancy in a county or municipal office shall be held only
          on one of the following dates which is at least 29 days after the date of the call for
          the special election:
         (A) In odd-numbered years, any such special primary or special election shall only
             be held on:
             (i) The third Tuesday in March;
             (ii) The third Tuesday in June;
             (iii) The third Tuesday in September; or
             (iv) The Tuesday after the first Monday in November; and
         (B) In even-numbered years, any such special primary or special election shall
             only be held on:
             (i) The third Tuesday in March; provided, however, that in the event that a
                  special primary or special election is to be held under this provision in a
                  year in which a presidential preference primary is to be held, then any such
                  special primary or special election shall be held on the date of and in
                  conjunction with the presidential preference primary;
             (ii) The date of the general primary; or
             (iii) The Tuesday after the first Monday in November;
                provided, however, that, in the event that a special primary or special
                election to fill a federal or state office on a date other than the dates
                provided in this paragraph has been scheduled and it is possible to hold a
                special primary or special election to fill a vacancy in a county, municipal, or
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                      school board office in conjunction with such special primary or special
                      election to fill a federal or state office, the special primary or special election
                      to fill such county, municipal, or school board office may be held on the date
                      of and in conjunction with such special primary or special election to fill such
                      federal or state office, provided all other provisions of law regarding such
                      primaries and elections are met.
            (2) Notwithstanding any other provision of law to the contrary, a special election to
                present a question to the voters shall be held only on one of the following dates
                which is at least 29 days after the date of the call for the special election:
               (A) In odd-numbered years, any such special election shall only be held on the
                   third Tuesday in March or on the Tuesday after the first Monday in November;
                   and
               (B) In even-numbered years, any such special election shall only be held on:
                   (i) The date of and in conjunction with the presidential preference primary if one
                        is held that year;
                   (ii) The date of the general primary; or
                   (iii) The Tuesday after the first Monday in November.
            (3) The provisions of this subsection shall not apply to:
               (A) Special elections held pursuant to Chapter 4 of this title, the ‘Recall Act of
                   1989,’ to recall a public officer or to fill a vacancy in a public office caused by a
                   recall election; and
               (B) Special primaries or special elections to fill vacancies in federal or state public
                   offices.
      (d) Except as otherwise provided by this chapter, the superintendent of each county or
          municipality shall publish the call of the special primary or special election.
      (e)
            (1) Candidates in special elections for partisan offices that are not preceded by
                special primaries shall be listed alphabetically on the ballot and may choose to
                designate on the ballot their party affiliation. The party affiliation selected by a
                candidate shall not be changed following the close of qualifying.
            (2) Candidates in special primaries shall be listed alphabetically on the ballot.”


SECTION 44.

Said chapter is further amended by revising subsection (b) of Code Section 21-2-541, relating to
holding of special primary or election at time of general primary or election and inclusion of
candidates and questions in special primary or election on ballot, as follows:
   “(b) If the times specified for the closing of the registration list for a special primary or special
       election are the same as those for a general primary or general election, the candidates
       and questions in such special primary or special election shall be included on the ballot
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       for such general primary or general election. In such an instance, the name of the office
       and the candidates in such special primary or special election shall appear on the ballot
       in the position where such names would ordinarily appear if such contest was a general
       primary or general election.”


SECTION 45.

Said chapter is further amended by revising Code Section 21-2-542, relating to special election
for United States senator vacancy and temporary appointment by Governor, as follows:
   “21-2-542.
          Whenever a vacancy shall occur in the representation of this state in the Senate of the
          United States, such vacancy shall be filled for the unexpired term by the vote of the
          electors of the state at a special primary to be held at the time of the next general
          primary followed by a special election to be held at the time of the next November
          state-wide general election, occurring at least 40 days after the occurrence of such
          vacancy; and it shall be the duty of the Governor to issue his or her proclamation for
          such special primary and special election. Until such time as the vacancy shall be
          filled by an election as provided in this Code section, the Governor may make a
          temporary appointment to fill such vacancy.”


SECTION 46.

Said chapter is further amended in Article 14, relating to special elections and primaries
generally and municipal terms of office, by adding a new Code section to read as follows:
   “21-2-546.
          Notwithstanding any other law to the contrary, in each county in this state in which
          there is a civil and magistrate court established by local Act of the General Assembly,
          vacancies in the office of chief judge of such court caused by death, retirement,
          resignation, or otherwise shall be filled by the appointment of a qualified person by the
          Governor to serve until a successor is duly elected and qualified and until January 1 of
          the year following the next general election which is more than six months following
          such person’s appointment.”


SECTION 47.

Said chapter is further amended by revising subsection (a) of Code Section 21-2-568, relating to
entry into voting compartment or booth while another voting, interfering with elector, inducing
elector to reveal or revealing elector’s vote, and influencing voter while assisting, as follows:
   “(a) Any person who knowingly:
      (1) Goes into the voting compartment or voting machine booth while another is voting or
          marks the ballot or registers the vote for another, except in strict accordance with this
          chapter;
      (2) Interferes with any elector marking his or her ballot or registering his or her vote;
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      (3) Attempts to induce any elector before depositing his or her ballot to show how he or
          she marks or has marked his or her ballot; or
      (4) Discloses to anyone how another elector voted, without said elector’s consent, except
          when required to do so in any legal proceeding; or
      (5) Accepts an absentee ballot from an elector for delivery or return to the board of
          registrars except as authorized by subsection (a) of Code Section 21-2-385 shall be
          guilty of a felony.”


SECTION 48.

Said chapter is further amended in Article 15, relating to miscellaneous offenses, by adding new
Code sections to read as follows:
   “21-2-568.1.
      (a) Except while providing authorized assistance in voting under Code Section 21-2-409
          and except for children authorized to be in the enclosed space under subsection (f) of
          Code Section 21-2-413, no person shall intentionally observe an elector while casting
          a ballot in a manner that would allow such person to see for whom or what the elector
          is voting.
      (b) Any person who violates the provisions of subsection (a) of this Code section shall be
          guilty of a felony.
   21-2-568.2.
      (a) It shall be illegal for any person to use photographic or other electronic monitoring or
           recording devices, cameras, or cellular telephones, except as authorized by law, to:
          (1) Photograph or record the face of an electronic ballot marker while a ballot is being
              voted or while an elector’s votes are displayed on such electronic ballot marker; or
          (2) Photograph or record a voted ballot.
      (b) Any person who violates subsection (a) of this Code section shall be guilty ofa
          misdemeanor.”


SECTION 49.

Chapter 35 of Title 36 of the Official Code of Georgia Annotated, relating to home rule powers, is
amended by revising subsection (a) of Code Section 36-35-4.1, relating to reapportionment of
election districts for municipal elections, as follows:
   “(a) Subject to the limitations provided by this Code section, the governing authority of any
       municipal corporation is authorized to reapportion the election districts from which
       members of the municipal governing authority are elected following publication of the
       United States decennial census of 1980 or any future such census. Such
       reapportionment of districts shall be effective for the election of members to the municipal
       governing authority at the next regular general municipal election following the
       publication of the decennial census; provided, however, that, if the publication of the
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       decennial census occurs within 120 days of the next general or special municipal
       election, such reapportionment of districts shall be effective for any subsequent special
       election and the subsequent general municipal election.”


SECTION 50.

Title 50 of the Official Code of Georgia Annotated, relating to state government, is amended by
revising subsection (b) of Code Section 50-13-4, relating to procedural requirements for
adoption, amendment, or repeal of rules, emergency rules, limitation on action to contest rule,
and legislative override, as follows:
   “(b) If any agency finds that an imminent peril to the public health, safety, or welfare,
       including but not limited to, summary processes such as quarantines, contrabands,
       seizures, and the like authorized by law without notice, requires adoption of a rule upon
       fewer than days’ notice and states in writing its reasons for that finding, it may proceed
       without prior notice or hearing or upon any abbreviated notice and hearing that it finds
       practicable to adopt an emergency rule. Any such rule adopted relative to a public health
       emergency shall be submitted as promptly as reasonably practicable to the House of
       Representatives and Senate Committees on Judiciary, provided that any such rule
       adopted relative to a state of emergency by the State Election Board shall be submitted
       as soon as practicable but not later than 20 days prior to the rule taking effect. Any
       emergency rule adopted by the State Election Board pursuant to the provisions of this
       subsection may be suspended upon the majority vote of the House of Representatives or
       Senate Committees on Judiciary within ten days of the receipt of such rule by the
       committees . The rule may be effective for a period of not longer than 120 days but the
       adoption of an identical rule under paragraphs (1) and (2) of subsection (a) of this Code
       section is not precluded; provided, however, that such a rule adopted pursuant to
       discharge of responsibility under an executive order declaring a state of emergency or
       disaster exists as a result of a public health emergency, as defined in Code Section 38-3-
       3, shall be effective for the duration of the emergency or disaster and for a period of not
       more than 120 days thereafter.”


SECTION 51.

Said title is further amended in Code Section 50-18-71, relating to right of access to public
records, timing, fees, denial of requests, and impact of electronic records, by adding a new
subsection to read as follows:
   “(k) Scanned ballot images created by a voting system authorized by Chapter 2 of Title 21
       shall be public records subject to disclosure under this article.”


SECTION 52.
   (a) Sections 21, 23, 25, 27, 28, and 29 of this Act shall become effective on July 1, 2021.
   (b) All other sections of this Act shall become effective upon its approval by the Governor or
       upon its becoming law without such approval.
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SECTION 53.
        All laws and parts of laws in conflict with this Act are repealed.

History


Approved by the Governor March 25, 2021


Effective date: March 25, 2021



Sponsor
Senators Burns of the 23rd, Miller of the 49th, Dugan of the 30th, Ginn of the 47th, Anderson of
the 24thand others AS PASSED




GEORGIA ADVANCE LEGISLATIVE SERVICE
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